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              Plaintiffs




                        UNITED STATES DISTRICT
                        UNITED STATES DISTRICT COURT
                                               COURT

                                DISTRICT OF OREGON
                                DISTRICT OF OREGON

                                 MEDFORD
                                 MEDFORD DIVISION
                                         DIVISION

 RACHEL
 RACHEL G.   DAMIANO and
          G. DAMIANO and                          Case
                                                  Case No.
                                                       No. __________________________
 KATIE S. MEDART,
 KATIE S. MEDART,
                             Plaintiffs,
                             Plaintiffs,
                      v.
                      V.
 GRANTS
 GRANTS PASS          SCHOOL DISTRICT
              PASS SCHOOL        DISTRICT
 7,
 7, an      Oregon public
      an Oregon                 body; THE
                       public body;      THE
 MEMBERS
 MEMBERS OF            THE BOARD
                  OF THE       BOARD OF    OF          VERIFIED COMPLAINT
                                                       VERIFIED COMPLAINT
 EDUCATION
 EDUCATION OF       OF GRANTS
                          GRANTS PASS   PASS
 SCHOOL DISTRICT
 SCHOOL       DISTRICT 7    1—Scott Nelson,
                           71—Scott    Nelson,       DEMAND FOR
                                                     DEMAND FOR JURY
                                                                JURY TRIAL
                                                                     TRIAL
 Cliff
 Cliff Kuhlman,
       Kuhlman, Gary
                   Gary Richardson,    Debbie
                         Richardson, Debbie
 Brownell,
 Brownell,      Cassie
                Cassie     Wilkins,
                           Wilkins,     Brian
                                         Brian
 Delagrange,
 Delagrange, andand Casey
                     Casey Durbin—in
                            Durbin—in their
                                         their
 official and
 official and personal  capacities; KIRK
               personal capacities;  KIRK T. T.
 KOLB,
 KOLB, Superintendent,         Grants Pass
            Superintendent, Grants        Pass
 School    District 7,
 School District        in his
                     7, in       official and
                            his official   and
 personal    capacity; and
 personal capacity;     and THOMAS
                              THOMAS M.     M.
 BLANCHARD,
 BLANCHARD, Principal,
                    Principal, North   Middle
                               North Middle
 School,  Grants Pass
 School, Grants    Pass School
                        School District
                                District 7,  in
                                          7, in
 his official and
 his official and personal  capacity,
                   personal capacity,
                           Defendants.
                           Defendants.



   Members of
11 Members   of the
                the Board
                    Board ofof Education  are named
                               Education are         as Defendants
                                              named as             out of
                                                        Defendants out of an  abundance
                                                                          an abundance
 of caution
 of caution because
            because the
                     the law   is unclear
                          law is  unclear regarding
                                          regarding whether a school
                                                    whether a school district in Oregon
                                                                     district in Oregon
 is an
 is an entity subject to
       entity subject    suit under
                      to suit        Oregon law.
                               under Oregon   law.

                                  Verified Complaint,
                                  Verified            1
                                           Complaint, 1
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         P LAINTIFFS’ VERIFIED
         PLAINTIFFS'  VERIFIED C              DEMAND FOR J
                                 OMPLAINT AND DEMAND
                               COMPLAINT                       TRIAL
                                                           URY TRIAL
                                                         JURY
   Plaintiffs Rachel G.
   Plaintiffs Rachel G. Damiano
                        Damiano and
                                and Katie
                                    Katie S. Medart, for
                                          S. Medart, for their Verified Complaint
                                                         their Verified Complaint
against Defendants
against Defendants and Demand for
                   and Demand     Jury Trial,
                              for Jury        state as
                                       Trial, state as follows:
                                                       follows:

                                       INTRODUCTION
                                       INTRODUCTION
   1.
   1.   This action challenges
        This action challenges the content- and
                               the content-     viewpoint-based retaliation
                                            and viewpoint-based             by
                                                                retaliation by
Defendants against
Defendants against Plaintiffs,
                   Plaintiffs, Rachel Damiano and
                               Rachel Damiano and Katie Medart, for
                                                  Katie Medart,     their speech
                                                                for their speech on
                                                                                 on

an issue
an issue that is front
         that is front and center on
                       and center on the
                                     the local,
                                         local, state,
                                                state, and
                                                       and national
                                                           national levels:
                                                                    levels: How should
                                                                            How should
our public
our        schools address
    public schools address the
                           the many issues and
                               many issues and the
                                               the divergent and often-conflicting
                                                   divergent and often-conflicting

interests among
interests       students, parents,
          among students,          and educators
                          parents, and educators when a student
                                                 when a student struggles
                                                                struggles with
                                                                          with
gender identity?
gender identity?
   2.
   2.   Rachel and Katie,
        Rachel and        both Oregon
                   Katie, both Oregon educators in Grants
                                      educators in Grants Pass
                                                          Pass School District 7,
                                                               School District 7,
proposed
proposed what
         what they viewed as
              they viewed as a
                             a reasonable, science-based, and
                               reasonable, science-based, and loving
                                                              loving policy for local,
                                                                     policy for local,

state, and
state, and federal
           federal policymakers
                   policymakers to address these
                                to address       complex issues.
                                           these complex issues. They crafted their
                                                                 They crafted their
proposal based on
proposal based on years of experience
                  years of            as educators
                           experience as           and their
                                         educators and their deeply
                                                             deeply held
                                                                    held
philosophical
philosophical and
              and religious beliefs.
                  religious beliefs.
   3.
   3.   Rachel
        Rachel and
               and Katie
                   Katie have
                         have never claimed to
                              never claimed to have all the
                                               have all     answers on
                                                        the answers on the complex
                                                                       the complex
issues presented
issues           when students
       presented when students struggle
                               struggle with
                                        with gender identity. In
                                             gender identity. In fact, before publicly
                                                                 fact, before publicly
communicating their
communicating their proposed
                    proposed policy,
                             policy, they sought the
                                     they sought     input of
                                                 the input of Grants
                                                              Grants Pass
                                                                     Pass School
                                                                          School
District 7
District   officials, including
         7 officials, including the Defendant superintendent
                                the Defendant superintendent and
                                                             and the Defendant North
                                                                 the Defendant North
Middle School
Middle School principal.
              principal.
   4.
   4.   The
        The principal
            principal and superintendent at
                      and superintendent at first
                                            first expressed support for
                                                  expressed support for Rachel
                                                                        Rachel and
                                                                               and
Katie’s
Katie's right
        right to speak on
              to speak on gender-identity
                          gender-identity education
                                          education policy. In fact,
                                                    policy. In fact, the
                                                                     the principal
                                                                         principal
reviewed the proposed
reviewed the proposed policy
                      policy and
                             and provided
                                 provided feedback. And the
                                          feedback. And     superintendent, upon
                                                        the superintendent, upon
reading
reading the
        the proposed
            proposed policy, said he
                     policy, said    would consider
                                  he would consider bringing
                                                    bringing it
                                                             it to
                                                                to the school board
                                                                   the school board of
                                                                                    of

education for a
education for a vote.
                vote.




                                Verified Complaint,
                                Verified Complaint, 2
                                                    2
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   5.
   5.   Neither
        Neither the superintendent nor
                the superintendent nor principal hinted disapproval
                                       principal hinted             about the
                                                        disapproval about the

proposed
proposed policy or suggested
         policy or suggested that
                             that Rachel and Katie
                                  Rachel and       would violate
                                             Katie would violate any
                                                                 any school
                                                                     school district
                                                                            district
policy if they
policy if      spoke about
          they spoke about the
                           the proposed
                               proposed policy.
                                        policy.
   6.
   6.   But when Rachel
        But when Rachel and
                        and Katie
                            Katie made
                                  made their
                                       their proposed
                                             proposed policy
                                                      policy publicly
                                                             publicly known
                                                                      known
through
through a
        a gentle,
          gentle, well-communicated video that
                  well-communicated video that they
                                               they posted on the
                                                    posted on     internet in
                                                              the internet in late
                                                                              late

March 2021—a
March        video they
      2021—a video they produced on their
                        produced on       own time,
                                    their own       away from
                                              time, away from school—the
                                                              school—the

superintendent and
superintendent and principal,
                   principal, along with the
                              along with the other
                                             other Defendants,
                                                   Defendants, quickly
                                                               quickly resorted
                                                                       resorted to
                                                                                to
retaliation and censorship
retaliation and censorship to
                           to appease
                              appease public critics of
                                      public critics of Rachel and Katie’s
                                                        Rachel and         speech.
                                                                   Katie's speech.
   7.
   7.   And the
        And the principal, who led
                principal, who led the school district’s
                                   the school            investigation of
                                              district's investigation of Rachel and
                                                                          Rachel and
Katie,
Katie, even subjected them
       even subjected them to
                           to questioning on whether
                              questioning on whether their
                                                     their religious beliefs make
                                                           religious beliefs make
them
them unfit to be
     unfit to be public
                 public educators.
                        educators.
   8.
   8.   Rachel and Katie
        Rachel and       are now
                   Katie are     on administrative
                             now on administrative leave and facing
                                                   leave and facing termination
                                                                    termination of
                                                                                of

their
their employment for their
      employment for their speech
                           speech that
                                  that the
                                       the First Amendment protects.
                                           First Amendment protects.
   9.
   9.   Rachel and Katie
        Rachel and Katie also challenge two
                         also challenge two school
                                            school district
                                                   district policies—the “Original
                                                            policies—the "Original
Speech
Speech Policy” and "Amended
       Policy" and “Amended Speech
                            Speech Policy”—that
                                   Policy"—that district officials have
                                                district officials have used and
                                                                        used and
are using
are using to
          to regulate, suppress, and
             regulate, suppress, and censor
                                     censor Rachel and Katie’s
                                            Rachel and         speech.
                                                       Katie's speech.
   10. When
   10. When Rachel and Katie
            Rachel and       first expressed
                       Katie first expressed their views on
                                             their views on how
                                                            how to address gender
                                                                to address gender
identity issues
identity issues in
                in the context of
                   the context of primary and secondary
                                  primary and secondary education,
                                                        education, the Original
                                                                   the Original
Speech
Speech Policy was in
       Policy was in effect.
                     effect. The
                             The policy
                                 policy demanded
                                        demanded that
                                                 that employees, “[o]n all
                                                      employees, "[o]n all
controversial issues,
controversial issues, .. .. .. designate
                               designate that the viewpoints
                                         that the viewpoints they
                                                             they represent on the
                                                                  represent on     issues
                                                                               the issues
are personal
are          viewpoints and
    personal viewpoints     are not
                        and are not to be interpreted
                                    to be interpreted as
                                                      as the
                                                         the district’s official
                                                             district's official
viewpoint.”
viewpoint."
   11. But
   11. But the Original Speech
           the Original Speech Policy
                               Policy did
                                      did not
                                          not define what constituted
                                              define what constituted a
                                                                      a

“controversial issue
"controversial issue[[1].” Instead, district
                        ." Instead, district employees were left
                                             employees were left to
                                                                 to guess whether their
                                                                    guess whether their
speech was
speech was on
           on a
              a "controversial
                “controversial issue[
                               issue[ 1."
                                      ].” And
                                          And district officials could
                                              district officials could declare after the
                                                                       declare after the
fact the
fact     content and
     the content and viewpoint
                     viewpoint of
                               of speech
                                  speech that would be
                                         that would be deemed “controversial” and
                                                       deemed "controversial" and
thus subject to
thus subject to the
                the policy’s
                    policy's disclaimer
                             disclaimer requirement.
                                        requirement.


                                 Verified Complaint,
                                 Verified Complaint, 3
                                                     3
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   12. Defendants
   12.            are using
       Defendants are using the Original Speech
                            the Original Speech Policy
                                                Policy as a basis
                                                       as a basis to
                                                                  to justify
                                                                     justify their
                                                                             their
adverse employment
adverse            actions against
        employment actions against Rachel
                                   Rachel and
                                          and Katie
                                              Katie for
                                                    for their speech on
                                                        their speech on gender-
                                                                        gender-
identity education
identity education policy.
                   policy.
   13. The
   13.     Amended Speech
       The Amended        Policy, which
                   Speech Policy, which the board of
                                        the board of education adopted in
                                                     education adopted    late
                                                                       in late
April 2021,
April       suffers from
      2021, suffers from the
                         the same
                             same principal flaws as
                                  principal flaws    the old
                                                  as the old one:
                                                             one: The
                                                                  The policy is facially
                                                                      policy is facially

content- and
content- and viewpoint-discriminatory,
             viewpoint-discriminatory, gives school district
                                       gives school          officials unbridled
                                                    district officials unbridled
discretion
discretion to
           to regulate, suppress, and
              regulate, suppress,     censor employee
                                  and censor          speech, and
                                             employee speech, and fails
                                                                  fails to
                                                                        to give
                                                                           give district
                                                                                district
employees
employees notice about what
          notice about what speech
                            speech the
                                   the policy
                                       policy regulates and how
                                              regulates and how to
                                                                to avoid charges for
                                                                   avoid charges for
violating the
violating the policy.
              policy.
   14.
   14.    The Amended Speech
          The Amended Speech Policy
                             Policy prohibits
                                    prohibits district
                                              district employees, “[w]hile on
                                                       employees, "[w]hile on District
                                                                              District

premises or acting
premises or acting within
                   within the scope of
                          the scope of employment” from "display[ing]
                                       employment" from “display[ing] or
                                                                      or engag[ing]
                                                                         engag[ing]
in speech
in speech .. .. .. supporting
                   supporting one
                              one side
                                  side of
                                       of any
                                          any political or controversial
                                              political or controversial civil
                                                                         civil issue."
                                                                               issue.” The
                                                                                       The
policy also includes
policy also includes a
                     a disclaimer
                       disclaimer requirement
                                  requirement that
                                              that reads: “When engaged
                                                   reads: "When         in off
                                                                engaged in off duty
                                                                               duty
activities, on
activities, on all
               all controversial
                   controversial issues,
                                 issues, employees
                                         employees must
                                                   must designate
                                                        designate that the viewpoints
                                                                  that the viewpoints

they
they represent on the
     represent on     issues are
                  the issues are personal viewpoints and
                                 personal viewpoints and are
                                                         are not
                                                             not to be interpreted
                                                                 to be interpreted as
                                                                                   as

the
the district’s official viewpoint."
    district's official viewpoint.”

   15.
   15.    The Amended Speech
          The Amended Speech Policy’s flaws include
                             Policy's flaws include the fact that
                                                    the fact that it
                                                                  it circularly
                                                                     circularly defines
                                                                                defines
critical terms.
critical terms. For instance, the
                For instance, the policy
                                  policy defines “political or
                                         defines "political or civil
                                                               civil issue"
                                                                     issue” as including,
                                                                            as including,
“but not
"but     be[ing] limited
     not be[ing] limited to, any political
                         to, any           or civil
                                 political or       issue for
                                              civil issue for which
                                                              which there is more
                                                                    there is more than one
                                                                                  than one
reasonable interpretation or
reasonable interpretation or position
                             position and on which
                                      and on which reasonable
                                                   reasonable persons
                                                              persons may
                                                                      may disagree.”
                                                                          disagree."
   16. And
   16. And all
           all but
               but indistinguishable
                   indistinguishable from
                                     from that
                                          that definition is the
                                               definition is the policy’s
                                                                 policy's definition of
                                                                          definition of
“controversial civil
"controversial civil issue.” “A controversial
                     issue." "A controversial civil
                                              civil issue,”
                                                    issue," the
                                                            the policy states, "shall
                                                                policy states, “shall

specifically include
specifically include issues
                     issues which appear likely
                            which appear        to create
                                         likely to create controversy
                                                          controversy among students,
                                                                      among students,
employees or the
employees or the public
                 public .. .. .. .”
                                 ."
   17. As
   17. As district
          district employees,
                   employees, Rachel and Katie
                              Rachel and Katie must comply with
                                               must comply with the Amended
                                                                the Amended
Speech
Speech Policy.
       Policy.




                                      Verified Complaint,
                                      Verified Complaint, 4
                                                          4
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   18. Because
   18.         of the
       Because of the unbridled
                      unbridled discretion
                                discretion the Amended Speech
                                           the Amended Speech policy
                                                              policy gives
                                                                     gives to
                                                                           to
district officials to
district officials to decide what is
                      decide what is a “political issue"
                                     a "political issue” or
                                                         or a “controversial issue,"
                                                            a "controversial issue,” Rachel
                                                                                     Rachel

and Katie
and Katie have
          have discontinued
               discontinued much of their
                            much of       speech on
                                    their speech on the
                                                    the gender-identity
                                                        gender-identity issues
                                                                        issues
confronting students,
confronting students, parents,
                      parents, educators, and society
                               educators, and society as
                                                      as a
                                                         a whole.
                                                           whole.

   19. Defendants’
   19. Defendants' retaliation
                   retaliation against Rachel and
                               against Rachel and Katie for their
                                                  Katie for       speech, the
                                                            their speech, the
Original Speech
Original Speech Policy (as applied),
                Policy (as applied), and
                                     and the Amended Speech
                                         the Amended Speech policy
                                                            policy (both facially and
                                                                   (both facially and

as applied)
as applied) violate
            violate the
                    the First and Fourteenth
                        First and            Amendments to
                                  Fourteenth Amendments to the
                                                           the United
                                                               United States
                                                                      States
Constitution and Article
Constitution and Article II of
                            of the
                               the Oregon
                                   Oregon Constitution.
                                          Constitution.
   20.
   20. Rachel and Katie
       Rachel and       challenge the
                  Katie challenge     Amended Speech
                                  the Amended Speech Policy as it
                                                     Policy as it applies
                                                                  applies to
                                                                          to their
                                                                             their
speech in
speech in two
          two ways:
              ways: (1) its prohibition
                    (1) its             on discussion
                            prohibition on            of "political
                                           discussion of “political or
                                                                    or controversial
                                                                       controversial civil
                                                                                     civil

issue[s]” while
issue[s]" while on
                on district
                   district premises; and (2)
                            premises; and     its requirement
                                          (2) its requirement to speak its
                                                              to speak its disclaimer
                                                                           disclaimer
when discussing
when            “controversial” issues
     discussing "controversial" issues off
                                       off campus.
                                           campus.

   21. A temporary
   21. A temporary restraining order and
                   restraining order and preliminary and permanent
                                         preliminary and           injunctive
                                                         permanent injunctive
relief are necessary
relief are necessary to
                     to immediately stop Defendants'
                        immediately stop Defendants’ retaliation against Rachel
                                                     retaliation against        and
                                                                         Rachel and
Katie
Katie for
      for expressing
          expressing their viewpoints as
                     their viewpoints as private citizens on
                                         private citizens on a
                                                             a matter of public
                                                               matter of        concern
                                                                         public concern
and to
and to prohibit
       prohibit Defendants’
                Defendants' enforcement of the
                            enforcement of the unconstitutional
                                               unconstitutional Speech
                                                                Speech Policies.
                                                                       Policies.

                                J             & VENUE
                                  URISDICTION &
                                JURISDICTION    VENUE
   22.
   22. This civil rights
       This civil rights action
                         action raises federal questions
                                raises federal questions under
                                                         under the
                                                               the United
                                                                   United States
                                                                          States
Constitution,
Constitution, particularly
              particularly the
                           the First and Fourteenth
                               First and            Amendments, and
                                         Fourteenth Amendments, and the
                                                                    the Civil
                                                                        Civil
Rights Act of
Rights Act of 1871,
              1871, 42 U.S.C. §
                    42 U.S.C. § 1983.
                                1983.

   23.
   23. This
       This Court has original
            Court has original jurisdiction over these
                               jurisdiction over       federal claims
                                                 these federal claims under
                                                                      under 28
                                                                            28 U.S.C.
                                                                               U.S.C.
§§ 1331
§§ 1331 and
        and 1343.
            1343.

   24.
   24. This
       This Court
            Court has authority to
                  has authority to award the requested
                                   award the requested damages
                                                       damages pursuant
                                                               pursuant to 28
                                                                        to 28
U.S.C.
U.       § 1343;
   S. C. § 1343; the
                 the requested
                     requested declaratory
                               declaratory relief
                                           relief under
                                                  under 28
                                                        28 U.S.C.  §§ 2201
                                                           U.S. C. §§ 2201 and
                                                                           and 2202; the
                                                                               2202; the
requested injunctive relief
requested injunctive relief under
                            under 28 U.S.C. §
                                  28 U.S.C. § 1343
                                              1343 and
                                                   and F ED. R.
                                                       FED.  R. CIV. P.
                                                                Civ. P. 65; and costs
                                                                        65; and costs

and attorneys'
and attorneys’ fees
               fees under
                    under 42
                          42 U.S.C. § 1988.
                             U.S.C. § 1988.




                                 Verified Complaint,
                                 Verified Complaint, 5
                                                     5
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   25.
   25. This
       This Court
            Court has supplemental jurisdiction
                  has supplemental              over the
                                   jurisdiction over the state
                                                         state law
                                                               law claims
                                                                   claims under
                                                                          under 28
                                                                                28
U.S.C.
U.S.C. §§ 1367.
          1367.

   26. Venue is
   26. Venue is proper in this
                proper in this district and division
                               district and division under
                                                     under 28
                                                           28 U.S.C.
                                                              U.S.C. §§ 1391(b)
                                                                        1391(b) and D.
                                                                                and D.
Or.
Or. L.R. 3 because
    L.R. 3 because Defendants
                   Defendants reside
                              reside in
                                     in this
                                        this district and division
                                             district and          and all
                                                          division and all the
                                                                           the acts
                                                                               acts
described in this
described in this Complaint occurred in
                  Complaint occurred in this
                                        this district and division.
                                             district and division.

                                      P LAINTIFFS
                                      PLAINTIFFS
   27.
   27. Rachel Damiano is
       Rachel Damiano is a
                         a resident of Oregon
                           resident of        and an
                                       Oregon and an assistant
                                                     assistant principal at North
                                                               principal at North
Middle School,
Middle School, part of Grants
               part of Grants Pass
                              Pass School District 7.
                                   School District 7.
   28.
   28. Katie Medart is
       Katie Medart is a
                       a resident of Oregon
                         resident of        and a
                                     Oregon and a teacher at North
                                                  teacher at       Middle School.
                                                             North Middle School.

                                     DEFENDANTS
                                     DEFENDANTS
   29.
   29. Defendant
       Defendant Grants
                 Grants Pass
                        Pass School
                             School District
                                    District 77 (below “the School
                                                (below "the School District” or
                                                                   District" or
“District”) is,
"District") is, and
                and was
                    was at
                        at all
                           all times
                               times relevant
                                     relevant to this Complaint,
                                              to this            a public
                                                      Complaint, a        school district
                                                                   public school district
operated under
operated       the laws
         under the laws of
                        of Oregon and a
                           Oregon and a public body as
                                        public body as defined in Or.
                                                       defined in Or. Rev.
                                                                      Rev. Stat.
                                                                           Stat.
§§ 30.260(4)
§§           and 174.109.
   30.260(4) and 174.109.

   30.
   30. The
       The School District is
           School District is a
                              a body
                                body corporate
                                     corporate under
                                               under Oregon law. Or.
                                                     Oregon law. Or. Rev. Stat.
                                                                     Rev. Stat.
§ 332.072.
§ 332.072.
   31.
   31. Oregon law authorizes
       Oregon law authorizes the
                             the School District Board
                                 School District       of Directors
                                                 Board of Directors to
                                                                    to transact all
                                                                       transact all
business coming
business coming within
                within the
                       the jurisdiction of the
                           jurisdiction of the District,
                                               District, namely to exercise
                                                         namely to          control of
                                                                   exercise control of
District schools
District schools and
                 and take
                     take responsibility
                          responsibility for
                                         for educating children in
                                             educating children in the District. Or.
                                                                   the District. Or. Rev.
                                                                                     Rev.
Stat. § 332.072.
Stat. § 332.072.
   32.
   32. Defendants
       Defendants Scott
                  Scott Nelson,
                        Nelson, Cliff
                                Cliff Kuhlman,
                                      Kuhlman, Gary
                                               Gary Richardson,
                                                    Richardson, Debbie
                                                                Debbie Brownell,
                                                                       Brownell,
Cassie
Cassie Wilkins,
       Wilkins, Brian
                Brian Delagrange,
                      Delagrange, and
                                  and Casey
                                      Casey Durbin
                                            Durbin are,
                                                   are, and were at
                                                        and were at all
                                                                    all times
                                                                        times
relevant
relevant to
         to this
            this Complaint,
                 Complaint, members of the
                            members of the Board of Directors
                                           Board of Directors (collectively, “Board
                                                              (collectively, "Board
Defendants”) and
Defendants") and are
                 are responsible for, among
                     responsible for, among other
                                            other things,
                                                  things, the adoption and
                                                          the adoption and
authorization of
authorization of policies
                 policies that
                          that govern
                               govern employee
                                      employee expression
                                               expression for
                                                          for the
                                                              the School District,
                                                                  School District,
including the
including the Speech
              Speech Policies.
                     Policies.




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   33. As members
   33. As         of the
          members of the Board of Directors,
                         Board of Directors, the
                                             the Board
                                                 Board Defendants
                                                       Defendants have the
                                                                  have the
responsibility
responsibility for
               for final
                   final policymaking authority for
                         policymaking authority for rules and regulations
                                                    rules and regulations that
                                                                          that govern
                                                                               govern
the District and
the District and its
                 its employees, including the
                     employees, including the Speech
                                              Speech Policies. See Or.
                                                     Policies. See Or. Rev.
                                                                       Rev. Stat.
                                                                            Stat.
§ 332.072.
§ 332.072.
   34.
   34. Each of the
       Each of the Board
                   Board Defendants is responsible
                         Defendants is             for the
                                       responsible for the enactment,
                                                           enactment, amendment,
                                                                      amendment,
and repeal
and        of Board
    repeal of Board policies, including the
                    policies, including the Speech
                                            Speech Policies.
                                                   Policies.
   35. As members
   35. As         of the
          members of the Board of Directors,
                         Board of Directors, the
                                             the Board
                                                 Board Defendants
                                                       Defendants possess the
                                                                  possess the
authority to
authority    change and
          to change and enforce the Speech
                        enforce the Speech Policies.
                                           Policies.
   36.
   36. The
       The Board Defendants failed
           Board Defendants failed to
                                   to modify
                                      modify the
                                             the Original
                                                 Original Speech
                                                          Speech Policy to comply
                                                                 Policy to comply

with constitutional
with constitutional mandates.
                    mandates.
   37.
   37. The
       The Board Defendants have
           Board Defendants have enacted
                                 enacted the Amended Speech
                                         the Amended Speech Policy
                                                            Policy and
                                                                   and have
                                                                       have
failed to
failed to modify it to
          modify it    comply with
                    to comply      constitutional mandates.
                              with constitutional mandates.
   38.
   38. The
       The Board Defendants have
           Board Defendants      acquiesced in,
                            have acquiesced in, sanctioned,
                                                sanctioned, and supported, and
                                                            and supported, and

continue to
continue    acquiesce in,
         to acquiesce in, sanction,
                          sanction, and
                                    and support,
                                        support, the actions of
                                                 the actions of the other Defendants
                                                                the other Defendants
in enforcing
in enforcing the
             the policies and procedures
                 policies and procedures governing District employees,
                                         governing District            including the
                                                            employees, including the
Speech
Speech Policies.
       Policies.
   39.
   39. The
       The Board Defendants have
           Board Defendants have not instructed District
                                 not instructed District personnel, including
                                                         personnel, including
other Defendants,
other Defendants, to change or
                  to change or alter
                               alter the
                                     the Speech
                                         Speech Policies and practices
                                                Policies and           to comply
                                                             practices to comply with
                                                                                 with
constitutional mandates
constitutional          or to
               mandates or    change the
                           to change     way that
                                     the way that those
                                                  those policies
                                                        policies have been and
                                                                 have been and are
                                                                               are

being applied
being applied to
              to District
                 District employees,
                          employees, including
                                     including Rachel and Katie.
                                               Rachel and Katie.
   40. At all
   40. At all relevant
              relevant times, Defendant Kirk
                       times, Defendant Kirk Kolb is and
                                             Kolb is and was
                                                         was the superintendent of
                                                             the superintendent of

the
the School District.
    School District.
   41. As superintendent,
   41. As superintendent, Defendant
                          Defendant Kolb is the
                                    Kolb is     chief executive
                                            the chief           officer of
                                                      executive officer of Grants
                                                                           Grants
Pass
Pass School District 7.
     School District 7. Or.
                        Or. Rev.
                            Rev. Stat. § 334.225(1).
                                 Stat. § 334.225(1).
   42.
   42. Defendant
       Defendant Kolb’s authority and
                 Kolb's authority and powers include oversight
                                      powers include oversight and
                                                               and control
                                                                   control of
                                                                           of the
                                                                              the
District.
District.




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   43.
   43. Defendant
       Defendant Kolb’s
                 Kolb's duties
                        duties include,
                               include, among others, authorizing,
                                        among others, authorizing, executing,
                                                                   executing,
enforcing, and implementing
enforcing, and implementing Defendant
                            Defendant District and the
                                      District and the Board Defendants’ policies
                                                       Board Defendants' policies
governing District employees
governing District           and overseeing
                   employees and overseeing the operation and
                                            the operation and management of the
                                                              management of the
District.
District.
   44. As superintendent,
   44. As superintendent, Defendant
                          Defendant Kolb is and
                                    Kolb is and was aware of
                                                was aware of the
                                                             the retaliatory and
                                                                 retaliatory and
unconstitutional actions authorized
unconstitutional actions            by and
                         authorized by and occurring
                                           occurring under
                                                     under the
                                                           the Speech
                                                               Speech Policies and
                                                                      Policies and
has
has not instructed District
    not instructed District personnel, including the
                            personnel, including     other Defendants,
                                                 the other Defendants, to change or
                                                                       to change or

alter the
alter the Amended
          Amended Speech
                  Speech Policy or the
                         Policy or the actions
                                       actions taken
                                               taken under
                                                     under the
                                                           the Speech
                                                               Speech Policies
                                                                      Policies to
                                                                               to
comply with
comply with constitutional
            constitutional mandates.
                           mandates.
   45. As superintendent,
   45. As superintendent, Defendant
                          Defendant Kolb
                                    Kolb has
                                         has the authority to
                                             the authority to review,
                                                              review, approve, or
                                                                      approve, or
reject the decisions
reject the           of other
           decisions of other School
                              School District officials regarding
                                     District officials regarding the
                                                                  the Speech
                                                                      Speech Policies.
                                                                             Policies.
   46.
   46. Defendant
       Defendant Kolb
                 Kolb has
                      has authorized,
                          authorized, approved, and implemented
                                      approved, and implemented the
                                                                the Speech
                                                                    Speech
Policies that were
Policies that were and
                   and are being used
                       are being used to
                                      to restrict
                                         restrict Rachel and Katie’s
                                                  Rachel and Katie's expression.
                                                                     expression.
   47.
   47. Defendant
       Defendant Kolb
                 Kolb has confirmed, sanctioned,
                      has confirmed, sanctioned, and
                                                 and ratified District officials'
                                                     ratified District officials’

application of
application of the
               the Speech
                   Speech Policies
                          Policies to
                                   to Rachel and Katie
                                      Rachel and       in a
                                                 Katie in a discriminatory and
                                                            discriminatory and
retaliatory fashion.
retaliatory fashion.
   48. As
   48. As       superintendent,
                superintendent,     Defendant
                                    Defendant   Kolb
                                                Kolb   directly
                                                       directly   supervises
                                                                  supervises   Defendant
                                                                               Defendant
Blanchard.
Blanchard.
   49.
   49. Defendant
       Defendant Blanchard is, and
                 Blanchard is, and was
                                   was at
                                       at all
                                          all times
                                              times relevant to this
                                                    relevant to this Complaint,
                                                                     Complaint, the
                                                                                the
principal of North
principal of       Middle School.
             North Middle School.
   50.
   50. Defendant
       Defendant Blanchard
                 Blanchard possesses
                           possesses the authority and
                                     the authority and responsibility for
                                                       responsibility for
governing and regulating
governing and            District employees
              regulating District           at North
                                  employees at       Middle School.
                                               North Middle School.
   51.
   51. Defendant
       Defendant Blanchard’s
                 Blanchard's duties include supervising
                             duties include supervising Rachel
                                                        Rachel and
                                                               and Katie.
                                                                   Katie.
   52.
   52. Defendant
       Defendant Blanchard
                 Blanchard possessed and continues
                           possessed and continues to
                                                   to possess
                                                      possess the authority to
                                                              the authority to

interpret the
interpret the Speech
              Speech Policies.
                     Policies.
   53.
   53. Defendants
       Defendants Kolb and Blanchard,
                  Kolb and            independently and
                           Blanchard, independently     in consultation
                                                    and in consultation with
                                                                        with
each other, enforced
each other, enforced the Original Speech
                     the Original Speech Policy against Rachel
                                         Policy against Rachel and
                                                               and Katie.
                                                                   Katie.


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   54.
   54. Defendants
       Defendants Kolb and Blanchard
                  Kolb and Blanchard each
                                     each has the authority
                                          has the authority under
                                                            under the
                                                                  the Speech
                                                                      Speech
Policies to investigate,
Policies to investigate, recommend
                         recommend disciplinary actions, and
                                   disciplinary actions, and impose
                                                             impose discipline
                                                                    discipline against
                                                                               against
District employees
District employees for violating the
                   for violating the policy in effect
                                     policy in        at the
                                               effect at the time of the
                                                             time of     violation.
                                                                     the violation.
   55.
   55. Upon information and
       Upon information     belief, Defendants
                        and belief, Defendants Kolb and Blanchard
                                               Kolb and Blanchard have
                                                                  have failed
                                                                       failed to
                                                                              to
recommend
recommend any changes to
          any changes to the
                         the Speech
                             Speech Policies so that
                                    Policies so that the
                                                     the policies
                                                         policies comply with
                                                                  comply with
constitutional mandates
constitutional          or how
               mandates or how the
                               the policies were and
                                   policies were and are
                                                     are enforced
                                                         enforced to comply with
                                                                  to comply with
such mandates.
such mandates.
   56.
   56. Defendants
       Defendants Kolb and Blanchard
                  Kolb and Blanchard have failed to
                                     have failed    stop District
                                                 to stop          officials,
                                                         District officials,
including each
including      other and
          each other and the
                         the other
                             other Defendants,
                                   Defendants, from applying the
                                               from applying the Speech
                                                                 Speech Policies
                                                                        Policies to
                                                                                 to
District employees,
District            including Rachel
         employees, including Rachel and
                                     and Katie.
                                         Katie.
   57.
   57. Defendant
       Defendant Blanchard
                 Blanchard retaliated against Rachel
                           retaliated against        and Katie
                                              Rachel and       because of
                                                         Katie because of their
                                                                          their

speech.
speech.
   58.
   58. Defendant
       Defendant Blanchard
                 Blanchard placed
                           placed Rachel and Katie
                                  Rachel and       on administrative
                                             Katie on                leave and
                                                      administrative leave and

launched a
launched a formal investigation into
           formal investigation into them because of
                                     them because of their
                                                     their speech.
                                                           speech.

   59.
   59. Upon information and
       Upon information     belief, Defendant
                        and belief, Defendant Kolb acquiesced in,
                                              Kolb acquiesced in, sanctioned,
                                                                  sanctioned, and
                                                                              and
supported, and
supported,     continues to
           and continues to acquiesce
                            acquiesce in, sanction, and
                                      in, sanction, and support
                                                        support Defendant
                                                                Defendant

Blanchard’s
Blanchard's retaliation against Rachel
            retaliation against Rachel and
                                       and Katie.
                                           Katie.
   60. Defendant
   60. Defendant Kolb
                 Kolb had and has
                      had and     the authority
                              has the authority to stop Defendant
                                                to stop Defendant Blanchard from
                                                                  Blanchard from
taking adverse action
taking adverse action against
                      against Rachel and Katie,
                              Rachel and        but Defendant
                                         Katie, but Defendant Kolb
                                                              Kolb has
                                                                   has done
                                                                       done
nothing.
nothing.
   61. Upon
   61.      information and
       Upon information     belief, the
                        and belief, the Board Defendants acquiesced
                                        Board Defendants acquiesced in and
                                                                    in and
continue to
continue    acquiesce in
         to acquiesce in Defendant
                         Defendant Blanchard’s
                                   Blanchard's retaliation against Rachel
                                               retaliation against        and Katie.
                                                                   Rachel and Katie.
   62. The
   62. The Board Defendants had
           Board Defendants     and have
                            had and have the authority to
                                         the authority    stop Defendant
                                                       to stop Defendant

Blanchard
Blanchard from taking adverse
          from taking adverse action against Rachel
                              action against        and Katie,
                                             Rachel and        but the
                                                        Katie, but the Board
                                                                       Board
Defendants have
Defendants have done
                done nothing.
                     nothing.
   63. Plaintiffs
   63.            are suing
       Plaintiffs are suing each
                            each natural-person Defendant in
                                 natural-person Defendant in his or her
                                                             his or     official and
                                                                    her official and
personal capacities.
personal capacities.


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                                FACTUAL B
                                FACTUAL   ACKGROUND
                                        BACKGROUND
I.
I.    Rachel and Katie’s
      Rachel and Katie's beliefs and backgrounds
                         beliefs and backgrounds
      A. Rachel and Katie’s
         Rachel and Katie's philosophical and religious
                            philosophical and religious beliefs
                                                        beliefs
     64. Rachel
     64.        and Katie
         Rachel and       are concerned
                    Katie are concerned about the lack
                                        about the lack of
                                                       of coherent
                                                          coherent policies and
                                                                   policies and
guidance in public
guidance in        schools to
            public schools to help students, their
                              help students, their parents or guardians
                                                   parents or guardians (below
                                                                        (below
“parents”), and
"parents"), and teachers address the
                teachers address     increasing number
                                 the increasing        of school
                                                number of school children
                                                                 children who
                                                                          who

struggle with
struggle with gender identity issues.
              gender identity issues.
     65. Rachel
     65. Rachel and
                and Katie believe that
                    Katie believe that the
                                       the policies
                                           policies and
                                                    and guidance addressing the
                                                        guidance addressing     issues
                                                                            the issues
that accompany a
that accompany a student's
                 student’s struggle
                           struggle with
                                    with gender identity issues
                                         gender identity        often vary
                                                         issues often vary from
                                                                           from

school to
school to school
          school and
                 and district
                     district to
                              to district.
                                 district.
     66. They
     66. They have seen that
              have seen that policies and guidance
                             policies and guidance documents
                                                   documents addressing
                                                             addressing these issues
                                                                        these issues
often isolate
often isolate parents from the
              parents from the decisions of their
                               decisions of their minor children.
                                                  minor children.
     67. Rachel
     67.        and Katie
         Rachel and       believe that
                    Katie believe that the
                                       the lack of consistent
                                           lack of consistent and coherent policies
                                                              and coherent policies and
                                                                                    and
guidance addressing issues
guidance addressing issues that arise when
                           that arise when a student struggles
                                           a student struggles with
                                                               with gender identity
                                                                    gender identity
issues, as
issues, as well as policies
           well as          and guidance
                   policies and guidance that
                                         that alienate
                                              alienate parents from such
                                                       parents from such a
                                                                         a momentous
                                                                           momentous
decision,
decision, disserve children, their
          disserve children, their parents, and society
                                   parents, and society as
                                                        as a whole.
                                                           a whole.
     68. Rachel
     68.        and Katie
         Rachel and Katie desire
                          desire to
                                 to promote what they
                                    promote what      believe is
                                                 they believe    a reasonable,
                                                              is a reasonable,
consistent, and
consistent, and respectful
                respectful policy
                           policy about
                                  about how
                                        how to address gender
                                            to address        identity issues
                                                       gender identity issues in
                                                                              in the
                                                                                 the

context of
context of primary and secondary
           primary and secondary school.
                                 school.
     69. Rachel
     69. Rachel and
                and Katie seek to
                    Katie seek to promote fair and
                                  promote fair     inclusive policy
                                               and inclusive policy recommendations
                                                                    recommendations
to
to help accommodate the
   help accommodate     often-conflicting interests
                    the often-conflicting           and sincerely
                                          interests and sincerely held beliefs of
                                                                  held beliefs of

students, parents,
students,          and educators
          parents, and           on such
                       educators on such issues.
                                         issues.
     70.
     70. Rachel and Katie
         Rachel and       believe, based
                    Katie believe, based on
                                         on scientific
                                            scientific evidence,
                                                       evidence, that children do
                                                                 that children do not
                                                                                  not
have a fully
have a fully developed capacity to
             developed capacity to understand
                                   understand the
                                              the long-term consequences of
                                                  long-term consequences of their
                                                                            their
decisions.
decisions.
     71.
     71. Rachel and Katie
         Rachel and       want to
                    Katie want to protect children from
                                  protect children from making
                                                        making potentially
                                                               potentially
irreversible and
irreversible and life-changing
                 life-changing decisions
                               decisions that
                                         that they
                                              they may
                                                   may later
                                                       later regret.
                                                             regret.



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   72.
   72. Rachel and Katie
       Rachel and       believe that
                  Katie believe that parents, with the
                                     parents, with the assistance and support
                                                       assistance and support of
                                                                              of

educators,
educators, must
           must help children understand
                help children understand the
                                         the many and complex
                                             many and complex factors
                                                              factors surrounding
                                                                      surrounding

gender identity.
gender identity.
   73.
   73. Rachel and Katie
       Rachel and       believe that
                  Katie believe that parents
                                     parents have a fundamental
                                             have a fundamental right to control
                                                                right to control

the
the upbringing and education
    upbringing and           of their
                   education of       children.
                                their children.
   74.
   74. Rachel and Katie
       Rachel and       believe that
                  Katie believe that any gender-identity education
                                     any gender-identity education policy
                                                                   policy must
                                                                          must
account for
account for this fundamental right.
            this fundamental right.
   75.
   75. Rachel
       Rachel and
              and Katie believe that
                  Katie believe that any
                                     any gender-identity
                                         gender-identity education
                                                         education policy
                                                                   policy that
                                                                          that does
                                                                               does
not account for
not account for parents’ fundamental right
                parents' fundamental       to control
                                     right to control the
                                                      the upbringing and education
                                                          upbringing and education
of their
of       children is
   their children is deceptive and disserves
                     deceptive and           both children
                                   disserves both          and their
                                                  children and their parents.
                                                                     parents.
   76.
   76. Rachel and Katie
       Rachel and       believe educators
                  Katie believe educators have
                                          have First Amendment speech
                                               First Amendment speech and
                                                                      and

religious freedoms that
religious freedoms that may be impacted
                        may be          by gender-identity
                               impacted by gender-identity education
                                                           education policy.
                                                                     policy.
   77.
   77. Rachel and Katie
       Rachel and       believe that
                  Katie believe that gender-identity
                                     gender-identity education
                                                     education policy
                                                               policy must
                                                                      must protect
                                                                           protect
educators’ fundamental freedoms.
educators' fundamental freedoms.
   78.
   78. Rachel and Katie
       Rachel and       believe, based
                  Katie believe, based on
                                       on scientific
                                          scientific evidence,
                                                     evidence, that there are
                                                               that there are only
                                                                              only two
                                                                                   two
anatomical sex
anatomical sex presentations, which are
               presentations, which are male and female.
                                        male and female.

   79.
   79. Rachel and Katie
       Rachel and Katie also believe that
                        also believe that scientifically
                                          scientifically demonstrable and
                                                         demonstrable and
anatomically correct
anatomically correct designations of sex
                     designations of sex should
                                         should be
                                                be the basis for
                                                   the basis     a redesignation
                                                             for a               of
                                                                   redesignation of
bathroom classifications
bathroom classifications and
                         and control access to
                             control access to shared
                                               shared public-school
                                                      public-school restrooms
                                                                    restrooms and
                                                                              and
locker rooms
locker       for minors.
       rooms for minors.
   80. For
   80.     those students
       For those students who
                          who are
                              are not comfortable using
                                  not comfortable       facilities associated
                                                  using facilities associated with
                                                                              with

their
their anatomical sex, Rachel
      anatomical sex, Rachel and
                             and Katie support those
                                 Katie support those students
                                                     students having access to
                                                              having access to and
                                                                               and
using a private
using a private restroom or locker
                restroom or locker space.
                                   space.

   81. To
   81. To accommodate
          accommodate the interests of
                      the interests of students,
                                       students, parents,
                                                 parents, and
                                                          and teachers,
                                                              teachers, Rachel and
                                                                        Rachel and
Katie believe that
Katie believe that students,
                   students, with
                             with parental
                                  parental permission,
                                           permission, may ask to
                                                       may ask to be
                                                                  be called
                                                                     called by
                                                                            by a
                                                                               a

derivative of their
derivative of their legal
                    legal name and that
                          name and that teachers and student
                                        teachers and student peers can—but should
                                                             peers can—but should
not be required
not be required to—use
                to—use that
                       that name.
                            name.


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   82. To
   82. To accommodate
          accommodate the interests of
                      the interests of students,
                                       students, parents, and teachers,
                                                 parents, and teachers, Rachel and
                                                                        Rachel and
Katie believe that
Katie believe      students, with
              that students, with parental
                                  parental permission,
                                           permission, may
                                                       may ask to be
                                                           ask to be referred
                                                                     referred to by
                                                                              to by
pronouns
pronouns that
         that do
              do not correspond to
                 not correspond to the students’ biological
                                   the students' biological sex
                                                            sex and
                                                                and that
                                                                    that teachers and
                                                                         teachers and
student peers
student       can—but should
        peers can—but should not be required
                             not be required to—use
                                             to—use those
                                                    those pronouns.
                                                          pronouns.
   83. Rachel
   83.        and Katie
       Rachel and       are also
                  Katie are also professing
                                 professing Christians
                                            Christians who strive to
                                                       who strive to live
                                                                     live out
                                                                          out their
                                                                              their

faith daily.
faith daily.
   84. Because
   84.         of their
       Because of their Christian faith, Rachel
                        Christian faith, Rachel and
                                                and Katie
                                                    Katie have sincerely held
                                                          have sincerely held
religious beliefs that
religious beliefs that govern
                       govern their views about
                              their views about human
                                                human nature,
                                                      nature, marriage,
                                                              marriage, gender,
                                                                        gender,
sexuality, morality,
sexuality, morality, politics, and social
                     politics, and social issues.
                                          issues.

   85. Their
   85. Their Christian
             Christian faith informs Rachel
                       faith informs Rachel and
                                            and Katie’s convictions concerning
                                                Katie's convictions concerning

human
human nature,
      nature, the
              the purpose
                  purpose and
                          and meaning of life,
                              meaning of life, and
                                               and ethical and moral
                                                   ethical and       standards that
                                                               moral standards that

should govern
should govern human conduct.
              human conduct.
   86. Rachel
   86.        and Katie’s
       Rachel and         faith teaches
                  Katie's faith teaches them
                                        them that
                                             that God immutably creates
                                                  God immutably creates each
                                                                        each
person as male
person as      or female;
          male or female; these
                          these two
                                two distinct, complementary sexes
                                    distinct, complementary sexes reflect
                                                                  reflect the image
                                                                          the image
of God;
of      and rejection
   God; and           of one's
            rejection of one’s biological
                               biological sex
                                          sex is
                                              is a
                                                 a rejection of the
                                                   rejection of     image of
                                                                the image of God within
                                                                             God within
that
that person.
     person.
   87. Rachel
   87.        and Katie
       Rachel and Katie also believe they
                        also believe they cannot
                                          cannot affirm
                                                 affirm as
                                                        as true
                                                           true those ideas and
                                                                those ideas and
concepts that
concepts      they believe
         that they believe are
                           are not true. Doing
                               not true. Doing so,
                                               so, they
                                                   they believe,
                                                        believe, would violate biblical
                                                                 would violate biblical
commands against
commands against dishonesty and lying.
                 dishonesty and lying.

   88. Rachel
   88.        and Katie
       Rachel and       also endeavor
                  Katie also          to treat
                             endeavor to treat every
                                               every person with dignity,
                                                     person with          love, and
                                                                 dignity, love, and

care, because
care, because they
              they believe
                   believe all
                           all people are created
                               people are created in
                                                  in the
                                                     the image
                                                         image of
                                                               of God.
                                                                  God.
   89. Rachel
   89.        and Katie
       Rachel and       object to
                  Katie object to Defendants’
                                  Defendants' regulation, suppression, and
                                              regulation, suppression, and
censorship of
censorship of their
              their sincerely
                    sincerely held
                              held religious beliefs.
                                   religious beliefs.

     B. Rachel and Katie’s
        Rachel and Katie's experience
                           experience in
                                      in education
                                         education
   90.
   90. Rachel and Katie
       Rachel and       both have
                  Katie both have extensive
                                  extensive experience as educators
                                            experience as           and working
                                                          educators and working

with students.
with students. Each
               Each entered the education
                    entered the           field because
                                education field because of
                                                        of her commitment to
                                                           her commitment to




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educate
educate children and serve
        children and serve them
                           them as they develop
                                as they develop mentally,
                                                mentally, physically,
                                                          physically, and
                                                                      and
emotionally.
emotionally.
      91.
      91. Rachel, who has
          Rachel, who     worked with
                      has worked with youth for more
                                      youth for more than a decade,
                                                     than a decade, received
                                                                    received her
                                                                             her
bachelor’s degree
bachelor's        in mathematics
           degree in mathematics with an emphasis
                                 with an          in secondary
                                         emphasis in secondary education from
                                                               education from
Washington State
Washington State University
                 University and
                            and her
                                her master’s
                                    master's degree in education
                                             degree in education from
                                                                 from Concordia
                                                                      Concordia
University.
University.
      92.
      92. Before becoming assistant
          Before becoming assistant principal at North
                                    principal at       Middle School,
                                                 North Middle School, Rachel was a
                                                                      Rachel was a

high school math
high school      teacher, dean
            math teacher,      of students,
                          dean of students, and
                                            and assistant
                                                assistant principal.
                                                          principal.
      93.
      93. Rachel has served
          Rachel has served as
                            as assistant
                               assistant principal at North
                                         principal at       Middle School
                                                      North Middle        since July
                                                                   School since July

2020.
2020.
      94.
      94. Katie
          Katie received
                received her bachelor’s degree
                         her bachelor's        in honors
                                        degree in        biology, with
                                                  honors biology, with an
                                                                       an emphasis
                                                                          emphasis in
                                                                                   in
cell/molecular biology
cell/molecular biology and
                       and a
                           a minor in chemistry,
                             minor in chemistry, from
                                                 from Southern Oregon University.
                                                      Southern Oregon University.

She later received
She later received her
                   her master’s
                       master's degree in teaching,
                                degree in teaching, also
                                                    also from
                                                         from Southern
                                                              Southern Oregon
                                                                       Oregon
University.
University.
      95.
      95. Katie
          Katie has
                has taught
                    taught for
                           for fourteen years. Her
                               fourteen years. Her experience includes teaching
                                                   experience includes teaching high
                                                                                high
school science
school science and
               and college-level
                   college-level biology,
                                 biology, chemistry,
                                          chemistry, and
                                                     and anatomy and physiology.
                                                         anatomy and physiology.
      96.
      96. Katie
          Katie has
                has taught science and/or
                    taught science and/or health at North
                                          health at       Middle School
                                                    North Middle        since 2019.
                                                                 School since 2019.
      97.
      97. Before
          Before Defendants
                 Defendants placed
                            placed them on administrative
                                   them on administrative leave in April
                                                          leave in April 2021,
                                                                         2021, Rachel
                                                                               Rachel
and Katie
and       were never
    Katie were never the subject of
                     the subject of any
                                    any School District disciplinary
                                        School District              actions.
                                                        disciplinary actions.
      98.
      98. In
          In fact, in mid-March
             fact, in mid-March 2021, Defendants renewed
                                2021, Defendants renewed Rachel and Katie’s
                                                         Rachel and         contracts
                                                                    Katie's contracts
for the
for the 2021–22 school year.
        2021-22 school year.

II.
II.    The "I
       The “I Resolve”
              Resolve" movement and Defendants’
                       movement and Defendants' retaliation against Rachel
                                                retaliation against Rachel
       and Katie
       and Katie
         The nation
      A. The  nation is  currently debating
                      is currently debating how
                                            how to address gender
                                                to address gender identity
                                                                  identity
         issues
         issues in
                in education.
                   education.
      99.
      99. In January 2021,
          In January 2021, S.B.
                           S.B. 52 was introduced
                                52 was introduced in
                                                  in the Oregon Senate.
                                                     the Oregon         If passed,
                                                                Senate. If passed, the
                                                                                   the
bill would
bill would direct
           direct the
                  the Oregon
                      Oregon Department of Education
                             Department of Education to
                                                     to develop
                                                        develop and
                                                                and implement a
                                                                    implement a
statewide education
statewide           for "plan
          education for “plan students"—i.e.,
                              students”—i.e., those students enrolled
                                              those students          in early
                                                             enrolled in early


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childhood through
childhood through post-secondary
                  post-secondary education who "[m]ay
                                 education who “[m]ay be
                                                      be lesbian,
                                                         lesbian, gay, bisexual,
                                                                  gay, bisexual,
transgender,
transgender, queer, two-spirit, intersex,
             queer, two-spirit, intersex, asexual,
                                          asexual, non-binary or another
                                                   non-binary or another minority
                                                                         minority
gender identity or
gender identity or sexual
                   sexual orientation"
                          orientation” and who, "as
                                       and who, “as identified
                                                    identified by
                                                               by the
                                                                  the State
                                                                      State Board of
                                                                            Board of
Education by rule,”
Education by rule," have
                    have allegedly “experienced disproportionate
                         allegedly "experienced disproportionate results in education
                                                                 results in education
due
due to
    to historical
       historical practices.”
                  practices."
   100. The
   100. The month
            month after, in February
                  after, in February 2021,
                                     2021, the
                                           the U.S.
                                               U.S. House of Representatives
                                                    House of Representatives passed
                                                                             passed
the
the Equality Act, H.R.
    Equality Act, H.R. 5—a bill that
                       5—a bill that would add "gender
                                     would add “gender identity"
                                                       identity” among the protected
                                                                 among the protected
categories under
categories under the
                 the Civil
                     Civil Rights Act of
                           Rights Act of 1964.
                                         1964.

   101. If
   101. If the
           the Equality Act becomes
               Equality Act becomes law,
                                    law, it
                                         it could
                                            could have broad effects
                                                  have broad         for public
                                                             effects for        schools,
                                                                         public schools,
including mandating
including mandating that schools across
                    that schools across the
                                        the country
                                            country allow
                                                    allow students
                                                          students who identify as
                                                                   who identify as

transgender
transgender to access opposite-sex
            to access opposite-sex restrooms, locker rooms,
                                   restrooms, locker        and showers.
                                                     rooms, and showers.

   102. The
   102.     Act, under
        The Act, under the ostensible aim
                       the ostensible     of preventing
                                      aim of preventing harassment and bullying,
                                                        harassment and bullying,

could also
could      compel teachers
      also compel teachers and students to
                           and students to use
                                           use pronouns
                                               pronouns that
                                                        that do
                                                             do not
                                                                not correspond to a
                                                                    correspond to a

student’s biological
student's biological sex.
                     sex.

   103. And
   103. And in or about
            in or about February
                        February 2021, the School
                                 2021, the School District circulated to
                                                  District circulated to select
                                                                         select

District employees
District           a memorandum
         employees a            about guidelines
                     memorandum about guidelines relating
                                                 relating to
                                                          to gender
                                                             gender identity issues
                                                                    identity issues
(e.g.,
(e.g., pronoun
       pronoun usage).
               usage).

     B. Rachel  and Katie’s
        Rachel and          “I Resolve”
                    Katie's "I Resolve" movement
                                         movement proposes solutions for
                                                  proposes solutions for
        gender-identity
        gender-identity education
                        education policy.
                                  policy.
   104. Rachel
   104.        and Katie—based
        Rachel and             on their
                   Katie—based on their deeply
                                        deeply held
                                               held philosophical and religious
                                                    philosophical and religious
beliefs and
beliefs and in
            in the
               the context
                   context of
                           of the local, state,
                              the local, state, and
                                                and national
                                                    national debate
                                                             debate about
                                                                    about gender-identity
                                                                          gender-identity
education
education policy—sought
          policy—sought to
                        to have
                           have a constructive dialogue
                                a constructive          on that
                                               dialogue on that topic.
                                                                topic.
   105. So
   105.    in March
        So in March 2021,
                    2021, they started "I
                          they started “I Resolve"—a
                                          Resolve”—a grassroots
                                                     grassroots movement
                                                                movement to
                                                                         to
promote
promote a sound, gender-identity
        a sound, gender-identity educational
                                 educational policy on a
                                             policy on a local,
                                                         local, state,
                                                                state, and
                                                                       and federal
                                                                           federal level
                                                                                   level

in a
in   loving and
   a loving and tolerant way that
                tolerant way that seeks
                                  seeks to account for
                                        to account     the divergent
                                                   for the           and often
                                                           divergent and often

conflicting views
conflicting views about
                  about gender-identity
                        gender-identity education
                                        education policy, while also
                                                  policy, while also upholding
                                                                     upholding
fundamental freedoms.
fundamental freedoms.



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   106. Rachel
   106.        and Katie
        Rachel and       intended to
                   Katie intended to promote
                                     promote II Resolve
                                                Resolve online,
                                                        online, including
                                                                including through a
                                                                          through a
website and
website and social
            social media, and through
                   media, and         in-person contact.
                              through in-person contact.

   107. While
   107. While school
              school was
                     was not in session
                         not in session and
                                        and while
                                            while away
                                                  away from
                                                       from school,
                                                            school, Rachel and Katie
                                                                    Rachel and Katie
created
created        a
               a       website
                       website      called
                                    called       “I
                                                 "I        Resolve,”
                                                           Resolve,"       available
                                                                           available   at
                                                                                       at
https://www.iresolvemovement.com/ (last viewed
https://www.iresolvemovement.com/ (last viewed June
                                               June 2,
                                                    2, 2021). A true,
                                                       2021). A       accurate,
                                                                true, accurate,
and complete
and complete copy
             copy of
                  of the
                     the homepage of the
                         homepage of the website
                                         website as
                                                 as of
                                                    of June
                                                       June 2,
                                                            2, 2021 is Exhibit
                                                               2021 is         A.
                                                                       Exhibit A.
   108. The
   108. The II Resolve website presents
               Resolve website presents Rachel and Katie’s
                                        Rachel and Katie's deeply
                                                           deeply held
                                                                  held philosophical
                                                                       philosophical
and religious
and           beliefs.
    religious beliefs.
   109. The
   109. The II Resolve website proposes
               Resolve website proposes model
                                        model resolutions for adoption
                                              resolutions for adoption by
                                                                       by local, state,
                                                                          local, state,
and federal
and federal leaders.
            leaders.

   110. The
   110. The II Resolve
               Resolve website
                       website proposes
                               proposes that bathrooms and
                                        that bathrooms and locker
                                                           locker rooms currently
                                                                  rooms currently
designated by sex
designated by sex (e.g.,
                  (e.g., as
                         as either “boys” or
                            either "boys" or "girls"
                                             “girls” bathrooms
                                                     bathrooms and locker rooms)
                                                               and locker        should
                                                                          rooms) should
be "re-designated
be “re-designated as
                  as 'anatomically-male'
                     ‘anatomically-male’ or
                                         or 'anatomically-female'
                                            ‘anatomically-female’ spaces
                                                                  spaces to only be
                                                                         to only be

used by persons
used by persons matching the anatomical
                matching the anatomical designation of the
                                        designation of     spaces as
                                                       the spaces as consistent
                                                                     consistent with
                                                                                with

the
the purpose for which
    purpose for which the spaces are
                      the spaces are built."
                                     built.” Ex. A at
                                             Ex. A at 2.
                                                      2.
   111. The
   111. The II Resolve
               Resolve website
                       website proposes
                               proposes that any person
                                        that any person not comfortable using
                                                        not comfortable using
anatomically correct
anatomically correct spaces
                     spaces can
                            can request access to
                                request access    a private
                                               to a         bathroom or
                                                    private bathroom or locker
                                                                        locker room.
                                                                               room.
Ex. A at
Ex. A at 3.
         3.
   112. The
   112. The II Resolve
               Resolve movement also endorses
                       movement also          individual, gender-neutral
                                     endorses individual,                bathrooms.
                                                          gender-neutral bathrooms.
Ex. A at
Ex. A at 3.
         3.
   113. The
   113. The II Resolve
               Resolve website
                       website proposes
                               proposes two other resolutions
                                        two other             to provide
                                                  resolutions to         “caring,
                                                                 provide "caring,
neutral,
neutral, pragmatic,
         pragmatic, and
                    and unbiased support of
                        unbiased support of students
                                            students and
                                                     and staff
                                                         staff as
                                                               as a
                                                                  a student
                                                                    student navigates
                                                                            navigates
their own gender
their own        identity journey”:
          gender identity journey":
          a. A student,
          a. A student, with
                        with parental
                             parental permission,
                                      permission, may
                                                  may request
                                                      request to be called
                                                              to be called by
                                                                           by a
                                                                              a

              derivative of the
              derivative of     student’s legal
                            the student's legal name, but other
                                                name, but other students
                                                                students or
                                                                         or staff
                                                                            staff are
                                                                                  are not
                                                                                      not
              required to use
              required to use that
                              that name; and
                                   name; and




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          b. A
          b. A student,
               student, with
                        with parental
                             parental permission,
                                      permission, may
                                                  may request to be
                                                      request to be referred
                                                                    referred to by
                                                                             to by
              pronouns
              pronouns that
                       that do
                            do not correspond to
                               not correspond to the student’s biological
                                                 the student's biological sex,
                                                                          sex, but
                                                                               but other
                                                                                   other

              students and
              students and staff
                           staff are
                                 are not
                                     not required
                                         required to
                                                  to use
                                                     use those
                                                         those pronouns.
                                                               pronouns. Ex. A at
                                                                         Ex. A at 2-3.
                                                                                  2–3.

   114. The
   114. The II Resolve website allows
               Resolve website        visitors to
                               allows visitors to electronically sign the
                                                  electronically sign the resolutions
                                                                          resolutions to
                                                                                      to
show their
show       support.
     their support.
   115. As
   115. As part of the
           part of the II Resolve
                          Resolve movement,
                                  movement, Rachel and Katie
                                            Rachel and       created a
                                                       Katie created   video while
                                                                     a video while

off duty
off duty during spring break
         during spring break 2021. They did
                             2021. They     so with
                                        did so with personal
                                                    personal property at a
                                                             property at a local
                                                                           local
church.
church.
   116. The
   116.     video presents
        The video presents Rachel and Katie
                           Rachel and Katie alone
                                            alone discussing their deeply
                                                  discussing their deeply held
                                                                          held
beliefs and
beliefs and their
            their proposed
                  proposed II Resolve
                              Resolve resolutions.
                                      resolutions.
   117. While
   117. While developing the website
              developing the website and
                                     and video,
                                         video, Rachel
                                                Rachel met with Defendants
                                                       met with Defendants Kolb
                                                                           Kolb
and Blanchard
and           separately at
    Blanchard separately at school.
                            school.

   118. Rachel
   118.        informed Defendants
        Rachel informed Defendants Kolb and Blanchard
                                   Kolb and Blanchard about
                                                      about the
                                                            the II Resolve
                                                                   Resolve
movement and the
movement and the proposed website and
                 proposed website     video.
                                  and video.
   119. Rachel
   119. Rachel provided Defendants Kolb
               provided Defendants      and Blanchard
                                   Kolb and           with copies
                                            Blanchard with copies of
                                                                  of the
                                                                     the draft
                                                                         draft II
Resolve
Resolve resolutions.
        resolutions.
   120. During
   120. During the
               the development stage, Defendants
                   development stage, Defendants Kolb and Blanchard
                                                 Kolb and Blanchard never
                                                                    never
expressed any disapproval
expressed any             about Rachel
              disapproval about Rachel and
                                       and Katie’s work on
                                           Katie's work on II Resolve.
                                                              Resolve.
   121. During
   121. During the
               the development stage, Defendants
                   development stage, Defendants Kolb and Blanchard
                                                 Kolb and Blanchard never
                                                                    never
informed Rachel
informed        or Katie
         Rachel or Katie that
                         that their work on
                              their work on II Resolve
                                               Resolve was interfering with
                                                       was interfering with Rachel
                                                                            Rachel

and Katie’s
and Katie's relationships with colleagues
            relationships with            and supervisors.
                               colleagues and supervisors.

   122. During
   122. During the
               the development stage, Defendants
                   development stage, Defendants Kolb and Blanchard
                                                 Kolb and Blanchard never
                                                                    never
warned Rachel
warned        and Katie
       Rachel and       that they
                  Katie that      were violating
                             they were violating any District policy
                                                 any District        by working
                                                              policy by         on
                                                                        working on
II Resolve.
   Resolve.
   123. In
   123. In fact, Defendant Kolb
           fact, Defendant      said that
                           Kolb said that he would consider
                                          he would consider bringing
                                                            bringing the
                                                                     the II Resolve
                                                                            Resolve
resolutions to the
resolutions to the Board Defendants to
                   Board Defendants    consider whether
                                    to consider whether the
                                                        the Board should adopt
                                                            Board should adopt the
                                                                               the
resolutions as District
resolutions as District policy.
                        policy.


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   124. And
   124. And Defendant
            Defendant Blanchard
                      Blanchard even
                                even gave
                                     gave Rachel feedback on
                                          Rachel feedback on the
                                                             the draft
                                                                 draft II Resolve
                                                                          Resolve
resolutions.
resolutions.
   125. Neither
   125.         on the
        Neither on the II Resolve website nor
                          Resolve website nor in
                                              in any
                                                 any II Resolve video has
                                                        Resolve video has Rachel or
                                                                          Rachel or
Katie
Katie ever identified herself
      ever identified         as an
                      herself as an employee of the
                                    employee of the School
                                                    School District or North
                                                           District or       Middle
                                                                       North Middle
School or worn
School or worn any
               any gear featuring School
                   gear featuring        or District
                                  School or District emblems,
                                                     emblems, logos, or insignia.
                                                              logos, or insignia.

   126. Rachel
   126.        and Katie
        Rachel and Katie never
                         never reference
                               reference any District employee
                                         any District          in their
                                                      employee in       speech
                                                                  their speech
related
related to
        to II Resolve.
              Resolve.
   127. II Resolve
   127.    Resolve never interfered with
                   never interfered with Rachel and Katie’s
                                         Rachel and Katie's duties as assistant
                                                            duties as assistant

principal and science
principal and science teacher,
                      teacher, respectively.
                               respectively.
   128. Rachel
   128.        and Katie
        Rachel and Katie never approached students
                         never approached students about
                                                   about II Resolve or discussed
                                                            Resolve or discussed II
Resolve
Resolve during class time.
        during class time.
   129. II Resolve
   129.            was not
           Resolve was not part of Rachel
                           part of        and Katie’s
                                   Rachel and         official duties
                                              Katie's official duties assigned
                                                                      assigned to
                                                                               to them
                                                                                  them
by Defendants.
by Defendants.

   130. On
   130.    March 25,
        On March 25, 2021,
                     2021, Rachel and Katie
                           Rachel and Katie made
                                            made the video publicly
                                                 the video publicly available on
                                                                    available on
YouTube.
YouTube.

        Defendants Blanchard
     C. Defendants           and Kolb
                   Blanchard and Kolb backtrack.
                                      backtrack.
   131. On
   131.    March 31,
        On March 31, 2021,
                     2021, less
                           less than one week
                                than one week after
                                              after the website’s public
                                                    the website's        launch,
                                                                  public launch,
Defendant Kolb
Defendant Kolb met with Rachel
               met with        and Katie
                        Rachel and       separately.
                                   Katie separately.
   132. Defendant
   132. Defendant Kolb informed Rachel
                  Kolb informed Rachel and
                                       and Katie that the
                                           Katie that the School District had
                                                          School District had
received complaints about
received complaints about II Resolve.
                             Resolve.
   133. Defendant
   133. Defendant Kolb
                  Kolb told
                       told Rachel and Katie
                            Rachel and       that complainants
                                       Katie that complainants said
                                                               said they were
                                                                    they were
“appalled,” "offended,"
"appalled," “offended,” and
                        and "disgusted"
                            “disgusted” by
                                        by Rachel and Katie’s
                                           Rachel and         views and
                                                      Katie's views and at
                                                                        at least
                                                                           least one
                                                                                 one

complainant claimed
complainant claimed that
                    that they
                         they were “targeting transgender
                              were "targeting transgender students."
                                                          students.”

   134. Defendant
   134. Defendant Kolb also told
                  Kolb also told Rachel and Katie
                                 Rachel and       that some
                                            Katie that some District
                                                            District staff
                                                                     staff members
                                                                           members
perceived
perceived the
          the II Resolve
                 Resolve video
                         video to be "anti-transgender."
                               to be “anti-transgender.”

   135. Defendant
   135. Defendant Kolb told Rachel
                  Kolb told        and Katie
                            Rachel and Katie that legal counsel
                                             that legal counsel was
                                                                was examining the
                                                                    examining the
lawfulness of
lawfulness of their speech in
              their speech in the
                              the II Resolve video.
                                     Resolve video.


                                Verified Complaint,
                                Verified            17
                                         Complaint, 17
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   136. Defendant
   136. Defendant Kolb
                  Kolb recommended that Rachel
                       recommended that        and Katie
                                        Rachel and Katie remove the II Resolve
                                                         remove the    Resolve
video and
video and website
          website from
                  from public view.
                       public view.
   137. During
   137.        Defendant Kolb’s
        During Defendant Kolb's meeting
                                meeting with
                                        with Katie,
                                             Katie, he told her
                                                    he told     that because
                                                            her that because of
                                                                             of the
                                                                                the
views she
views she expressed as part
          expressed as      of II Resolve,
                       part of    Resolve, he
                                           he had
                                              had prevented
                                                  prevented her from attending
                                                            her from attending a
                                                                               a

meeting of the
meeting of the LGBTQ+ student club
               LGBTQ+ student club earlier that day,
                                   earlier that      March 31.
                                                day, March 31.
   138. Defendant
   138. Defendant Kolb
                  Kolb prohibited
                       prohibited Katie’s attendance even
                                  Katie's attendance even though
                                                          though the club’s student
                                                                 the club's student

membership
membership had voted to
           had voted    allow Katie
                     to allow Katie to attend.
                                    to attend.
   139. Katie
   139. Katie had sought to
              had sought    attend the
                         to attend     club meeting
                                   the club meeting to better understand
                                                    to better            student
                                                              understand student
perspectives on LGBTQ+
perspectives on LGBTQ+ issues
                       issues and better support
                              and better support those students.
                                                 those students.
   140. Defendant
   140. Defendant Kolb
                  Kolb told
                       told Katie that he
                            Katie that    overrode the
                                       he overrode     students’ decision
                                                   the students'          because of
                                                                 decision because of

the views Katie
the views Katie expressed
                expressed under
                          under the
                                the II Resolve
                                       Resolve movement.
                                               movement.
   141. Defendant
   141. Defendant Kolb
                  Kolb threatened that if
                       threatened that if "disruption"
                                          “disruption” (apparently,
                                                       (apparently, the complaints
                                                                    the complaints
received) to the
received) to the functioning
                 functioning of
                             of the
                                the District continued, he
                                    District continued,    could pursue
                                                        he could pursue disciplinary
                                                                        disciplinary
action against
action against them, including termination
               them, including             of employment.
                               termination of employment. However, on information
                                                          However, on information
and belief,
and belief, apart
            apart from
                  from the complaints received
                       the complaints          by Defendants
                                      received by Defendants from
                                                             from those outside the
                                                                  those outside the

school, no
school,    other "disruption"
        no other “disruption” had occurred as
                              had occurred as a
                                              a result of the
                                                result of the II Resolve website, and
                                                                 Resolve website, and

the functioning of
the functioning of the District was
                   the District was not impaired in
                                    not impaired in any
                                                    any way.
                                                        way.

        Defendants place
     D. Defendants place Rachel and Katie
                         Rachel and Katie on administrative leave.
                                          on administrative leave.
   142. Between
   142.         April 1
        Between April 1 and
                        and 3,
                            3, 2021,
                               2021, Defendant
                                     Defendant Blanchard
                                               Blanchard received formal
                                                         received formal
complaints from
complaints from five District employees
                five District employees against Rachel and
                                        against Rachel and Katie.
                                                           Katie.
   143. At
   143. At least
           least three
                 three employee complainants claimed
                       employee complainants claimed that
                                                     that Rachel and Katie’s
                                                          Rachel and Katie's I-
                                                                             I-
Resolve-related speech violated
Resolve-related speech violated the Original Speech
                                the Original Speech Policy because they
                                                    Policy because they did
                                                                        did not
                                                                            not
comply with
comply with the
            the policy’s
                policy's disclaimer
                         disclaimer requirement.
                                    requirement.
   144. Another
   144. Another employee complainant alleged
                employee complainant alleged that “separation of
                                             that "separation of church
                                                                 church and
                                                                        and state"
                                                                            state”

prohibited
prohibited Rachel and Katie
           Rachel and       from sharing
                      Katie from sharing II Resolve’s
                                            Resolve's resolutions at work
                                                      resolutions at work since
                                                                          since the
                                                                                the
resolutions are influenced
resolutions are influenced by
                           by Rachel
                              Rachel and
                                     and Katie’s
                                         Katie's Christian faith.
                                                 Christian faith.




                               Verified Complaint,
                               Verified            18
                                        Complaint, 18
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   145. Each
   145.      of the
        Each of the five
                    five complainants
                         complainants focused
                                      focused on
                                              on Rachel and Katie’s
                                                 Rachel and         speech about
                                                            Katie's speech about II

Resolve.
Resolve.
   146. Upon
   146.      information and
        Upon information and belief,
                             belief, Defendant
                                     Defendant Blanchard
                                               Blanchard has
                                                         has not
                                                             not told any of
                                                                 told any of the
                                                                             the

five complainants
five complainants that
                  that he
                       he met with Rachel
                          met with Rachel during the development
                                          during the             stage of
                                                     development stage of II Resolve
                                                                             Resolve
and provided
and          feedback on
    provided feedback on the
                         the II Resolve
                                Resolve resolutions.
                                        resolutions.
   147. On
   147.    April 5,
        On April 5, 2021,
                    2021, a school administrator
                          a school administrator entered
                                                 entered Katie’s classroom right
                                                         Katie's classroom right
before she
before she started
           started class
                   class and
                         and directed
                             directed her—in
                                      her—in the
                                             the presence of Katie’s
                                                 presence of         students—to take
                                                             Katie's students—to take

her
her belongings and report
    belongings and report to Defendant Blanchard.
                          to Defendant Blanchard.
   148. When
   148. When Katie
             Katie reported to Defendant
                   reported to Defendant Blanchard,
                                         Blanchard, he
                                                    he handed
                                                       handed her
                                                              her a
                                                                  a notice that
                                                                    notice that
he
he had written and
   had written and signed.
                   signed. The
                           The notice
                               notice placed
                                      placed Katie on administrative
                                             Katie on administrative leave
                                                                     leave effective
                                                                           effective
immediately and
immediately and informed
                informed her
                         her that she was
                             that she was under investigation for
                                          under investigation     “inappropriate
                                                              for "inappropriate
behavior.” A
behavior." A true,
             true, accurate, and complete
                   accurate, and complete copy
                                          copy of
                                               of the
                                                  the notice
                                                      notice is
                                                             is Exhibit
                                                                Exhibit B.
                                                                        B.
   149. Rachel
   149.        also met
        Rachel also     with Defendant
                    met with Defendant Blanchard that same
                                       Blanchard that same day.
                                                           day. During the
                                                                During the
meeting
meeting he
        he provided
           provided her a notice
                    her a        that he
                          notice that he had written and
                                         had written and signed.
                                                         signed. Like
                                                                 Like Katie’s
                                                                      Katie's notice,
                                                                              notice,
Rachel’s
Rachel's notice
         notice placed
                placed her on administrative
                       her on administrative leave
                                             leave and informed her
                                                   and informed     that she
                                                                her that she was
                                                                             was

under investigation for
under investigation     “inappropriate behavior."
                    for "inappropriate behavior.” A
                                                  A true, accurate, and
                                                    true, accurate, and complete
                                                                        complete copy
                                                                                 copy

of the
of the notice is Exhibit
       notice is Exhibit C.
                         C.
   150. Katie
   150.       learned during
        Katie learned during her
                             her meeting with Defendant
                                 meeting with Defendant Blanchard
                                                        Blanchard that five
                                                                  that five
District employees
District employees had filed formal
                   had filed formal complaints
                                    complaints against
                                               against her.
                                                       her.
   151. Defendants
   151. Defendants placed
                   placed Rachel and Katie
                          Rachel and       on administrative
                                     Katie on administrative leave based on
                                                             leave based on those
                                                                            those
five complaints,
five complaints, which
                 which focused
                       focused on
                               on their
                                  their I-Resolve-related
                                        I-Resolve-related speech.
                                                          speech.

   152. As
   152. As a
           a condition
             condition of
                       of administrative
                          administrative leave,
                                         leave, Rachel and Katie
                                                Rachel and       cannot conduct
                                                           Katie cannot conduct any
                                                                                any
school business.
school business.

   153. Because
   153.         of administrative
        Because of administrative leave,
                                  leave, Katie cannot complete
                                         Katie cannot complete a certification
                                                               a certification
training course related
training course related to
                        to helping students prepare
                           helping students prepare for college that
                                                    for college that the District had
                                                                     the District had
paid for, that
paid for, that the
               the District was going
                   District was       to pay
                                going to pay her
                                             her for, and that
                                                 for, and that she
                                                               she had started before
                                                                   had started before
Defendants placed
Defendants placed her on leave.
                  her on leave.


                                Verified Complaint,
                                Verified            19
                                         Complaint, 19
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   154. Because
   154.         of administrative
        Because of administrative leave,
                                  leave, Katie could not
                                         Katie could not complete the final
                                                         complete the final

confirmation of
confirmation of a
                a proposal she had
                  proposal she had previously submitted to
                                   previously submitted    work for
                                                        to work for pay at a
                                                                    pay at a District
                                                                             District
summer camp.
summer camp.

   155. Because
   155.         of administrative
        Because of                leave, Rachel
                   administrative leave,        and Katie
                                         Rachel and Katie have lost opportunities
                                                          have lost opportunities to
                                                                                  to

develop their skills
develop their skills as
                     as an
                        an administrator
                           administrator and
                                         and educator,
                                             educator, respectively, and have
                                                       respectively, and have lost
                                                                              lost
opportunities to
opportunities to mentor
                 mentor their students.
                        their students.
   156. Upon
   156. Upon information and belief,
             information and belief, the outcome of
                                     the outcome of Defendants'
                                                    Defendants’ formal investigation
                                                                formal investigation
into Rachel
into        and Katie
     Rachel and Katie may include employer
                      may include employer discipline
                                           discipline up
                                                      up to and including
                                                         to and including

termination.
termination.

        Defendant Kolb
     E. Defendant   Kolb emails District staff,
                         emails District staff, parents, and students
                                                parents, and students to
                                                                      to
        condemn
        condemn II Resolve.
                   Resolve.
   157. On
   157.    April 6,
        On April 6, 2021, Defendant Kolb
                    2021, Defendant Kolb emailed the entire
                                         emailed the entire District staff under
                                                            District staff under the
                                                                                 the
subject line:
subject line: "We
              “We are
                  are [Grants
                      [Grants Pass]; We ALL
                              Pass]; We ALL belong."
                                            belong.” A
                                                     A true, accurate, and
                                                       true, accurate, and complete
                                                                           complete

copy of
copy of the
        the email is Exhibit
            email is Exhibit D.
                             D.
   158. Defendant
   158. Defendant Kolb wrote that
                  Kolb wrote that the
                                  the II Resolve “movement” was
                                         Resolve "movement" was purportedly “in
                                                                purportedly "in
direct conflict with
direct conflict with the
                     the values
                         values of
                                of Grants
                                   Grants Pass
                                          Pass School District 7.”
                                               School District 7." Ex.
                                                                   Ex. D at 1.
                                                                       D at 1.

   159. Defendant
   159. Defendant Kolb wrote, "To
                  Kolb wrote, “To be
                                  be very
                                     very clear,
                                          clear, [the
                                                 [the School District] do[es]
                                                      School District] do[es] not
                                                                              not
support or
support or endorse
           endorse this
                   this message.”
                        message." Ex.
                                  Ex. D at 1.
                                      D at 1.

   160. Defendant
   160. Defendant Kolb wrote, "District
                  Kolb wrote, “District 7 is unequivocally
                                        7 is               committed to
                                             unequivocally committed to providing
                                                                        providing
welcoming and
welcoming and safe
              safe learning
                   learning environments
                            environments for all students,
                                         for all students, including
                                                           including our
                                                                     our LGBTQ
                                                                         LGBTQ

students. In
students. In Grants
             Grants Pass schools, we
                    Pass schools, we ALL
                                     ALL belong,
                                         belong, regardless of race,
                                                 regardless of race, religion,
                                                                     religion, gender,
                                                                               gender,
sex, or
sex, or ability."
        ability.” Ex. D at
                  Ex. D at 1.
                           1.

   161. After
   161. After Defendant
              Defendant Kolb sent the
                        Kolb sent the email, Rachel and
                                      email, Rachel and Katie
                                                        Katie received
                                                              received many
                                                                       many
harassing, intimidating, and
harassing, intimidating, and menacing communications from
                             menacing communications from third
                                                          third parties and
                                                                parties and
District staff.
District staff.

   162. For
   162. For example, a person
            example, a person accused
                              accused Rachel and Katie
                                      Rachel and Katie in an email
                                                       in an       of starting
                                                             email of starting a
                                                                               a
“transphobic hate
"transphobic hate group.”
                  group."



                                  Verified Complaint,
                                  Verified Complaint, 20
                                                      20
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   163. Another
   163. Another person,
                person, under
                        under the subject header,
                              the subject         “Transphobia will
                                          header, "Transphobia will kill our
                                                                    kill our
children,” sent
children," sent an
                an email accusing Rachel
                   email accusing        and Katie
                                  Rachel and       of transphobia
                                             Katie of             and bigotry.
                                                      transphobia and bigotry. That
                                                                               That
person
person claimed
       claimed Rachel
               Rachel and
                      and Katie were not
                          Katie were     fit to
                                     not fit to work
                                                work with children because
                                                     with children because of
                                                                           of their
                                                                              their
work on
work on II Resolve.
           Resolve.
   164. On
   164.    April 7,
        On April 7, 2021,
                    2021, Defendant
                          Defendant Kolb sent out
                                    Kolb sent out another
                                                  another email,
                                                          email, this time to
                                                                 this time    all
                                                                           to all
District staff,
District staff, students,
                students, and
                          and families. A true,
                              families. A true, accurate, and complete
                                                accurate, and complete copy
                                                                       copy of
                                                                            of the
                                                                               the email
                                                                                   email
is Exhibit
is Exhibit E.
           E.
   165. Defendant
   165. Defendant Kolb wrote that
                  Kolb wrote that there were complaints
                                  there were complaints against
                                                        against "two
                                                                “two staff
                                                                     staff

members” over "social
members" over “social media
                      media postings
                            postings discussing
                                     discussing LGBTQ
                                                LGBTQ policies
                                                      policies with
                                                               with reference
                                                                    reference to
                                                                              to
schools.” Ex.
schools." Ex. E at 1.
              E at 1.

   166. The
   166.     “staff members”
        The "staff          Defendant Kolb
                   members" Defendant Kolb referred
                                           referred to in his
                                                    to in his email are Rachel
                                                              email are        and
                                                                        Rachel and
Katie.
Katie.
   167. In
   167. In his
           his email, Defendant Kolb
               email, Defendant Kolb reiterated
                                     reiterated that “District 7
                                                that "District 7 is committed to
                                                                 is committed to
providing welcoming and
providing welcoming     safe learning
                    and safe learning environments
                                      environments for all students,
                                                   for all students, including
                                                                     including our
                                                                               our

LGBTQ students. In
LGBTQ students. In Grants
                   Grants Pass schools, we
                          Pass schools,    ALL belong,
                                        we ALL belong, regardless of race,
                                                       regardless of race, religion,
                                                                           religion,
gender, sex, sexual
gender, sex, sexual orientation
                    orientation or
                                or ability."
                                   ability.” Ex.
                                             Ex. E at 1.
                                                 E at 1.

   168. Defendant
   168. Defendant Kolb assured the
                  Kolb assured the school
                                   school community
                                          community that
                                                    that Rachel and Katie
                                                         Rachel and       were
                                                                    Katie were
being "investigat[ed]"
being “investigat[ed]” and
                       and were
                           were "not
                                “not at work.” Ex.
                                     at work." Ex. E at 1.
                                                   E at 1.
   169. Defendant
   169. Defendant Kolb
                  Kolb did
                       did not
                           not mention in either
                               mention in either his April 6
                                                 his April   or 7
                                                           6 or 7 email
                                                                  email meeting
                                                                        meeting that
                                                                                that
he
he and Defendant Blanchard
   and Defendant Blanchard met with Rachel
                           met with Rachel during
                                           during the
                                                  the development stage of
                                                      development stage of II

Resolve,
Resolve, that Defendant Blanchard
         that Defendant Blanchard gave feedback to
                                  gave feedback to Rachel on the
                                                   Rachel on the draft
                                                                 draft II Resolve
                                                                          Resolve

resolutions, and that
resolutions, and that he
                      he (Defendant
                         (Defendant Kolb)
                                    Kolb) reviewed
                                          reviewed the
                                                   the II Resolve
                                                          Resolve resolutions and
                                                                  resolutions and
considered bringing
considered bringing them
                    them to
                         to the
                            the Board
                                Board Defendants
                                      Defendants for a vote
                                                 for a vote on
                                                            on making the
                                                               making the
resolutions District policy.
resolutions District policy.
   170. On
   170.    April 13,
        On April 13, Defendant
                     Defendant Kolb attended the
                               Kolb attended the regular virtual meeting
                                                 regular virtual         of the
                                                                 meeting of the
Board
Board Defendants.
      Defendants.




                                 Verified Complaint,
                                 Verified Complaint, 21
                                                     21
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   171. At
   171. At the April 13
           the April 13 meeting, a member
                        meeting, a        of the
                                   member of the public criticized the
                                                 public criticized the II Resolve
                                                                          Resolve

movement
movement for, in the
         for, in the commenter's
                     commenter’s perspective, being harmful
                                 perspective, being harmful to students struggling
                                                            to students struggling

with gender
with        identity issues.
     gender identity issues.

   172. Defendant
   172. Defendant Kolb
                  Kolb responded in the
                       responded in the meeting’s chat that
                                        meeting's chat that the
                                                            the commenter
                                                                commenter was
                                                                          was
“[w]ell spoken"
"[w]ell spoken” and
                and that a District
                    that a          official would
                           District official would reach out to
                                                   reach out to the
                                                                the commenter
                                                                    commenter
regarding
regarding how the commenter
          how the commenter could
                            could assist
                                  assist the District.
                                         the District.

        Defendant Blanchard
     F. Defendant   Blanchard questions
                                  questions Rachel    and Katie
                                             Rachel and            about their
                                                             Katie about  their
        religious
        religious beliefs as part
                  beliefs as      of the
                             part of the School
                                         School District's
                                                District’s investigation.
                                                           investigation.
   173. Defendant
   173. Defendant Blanchard,
                  Blanchard, along
                             along with another District
                                   with another District official,
                                                         official, led
                                                                   led the
                                                                       the School
                                                                           School
District’s investigation
District's investigation of
                         of the
                            the formal
                                formal complaints
                                       complaints against
                                                  against Rachel and Katie.
                                                          Rachel and Katie.
   174. As
   174. As part of the
           part of the investigation,
                       investigation, Defendant
                                      Defendant Blanchard separately questioned
                                                Blanchard separately questioned
Rachel
Rachel and
       and Katie
           Katie about their II Resolve-related
                 about their                    speech and
                                Resolve-related speech and their
                                                           their deeply
                                                                 deeply held
                                                                        held
philosophical
philosophical and
              and religious beliefs.
                  religious beliefs.
   175. Defendant
   175. Defendant Blanchard
                  Blanchard questioned
                            questioned Katie about her
                                       Katie about her religious beliefs
                                                       religious beliefs
purportedly interfering with
purportedly interfering with her
                             her ability
                                 ability to
                                         to do
                                            do her
                                               her job.
                                                   job.
   176. Defendant
   176. Defendant Blanchard
                  Blanchard expressed “concern” that
                            expressed "concern" that Katie’s
                                                     Katie's religious
                                                             religious faith would
                                                                       faith would
prevent
prevent her
        her from complying with
            from complying with District
                                District guidelines or policies,
                                         guidelines or           if adopted,
                                                       policies, if adopted, that would
                                                                             that would
compel teachers
compel teachers to
                to use
                   use pronouns that do
                       pronouns that do not
                                        not correspond to a
                                            correspond to a transgender
                                                            transgender student's
                                                                        student’s

biological sex.
biological sex.
   177. Defendant
   177. Defendant Blanchard
                  Blanchard expressed “concern” that
                            expressed "concern" that Katie’s
                                                     Katie's religious
                                                             religious faith would
                                                                       faith would
make
make her
     her unfit for her
         unfit for her job.
                       job.
   178. The
   178.     other interviewer
        The other interviewer questioned whether Katie
                              questioned whether Katie had attempted to
                                                       had attempted    “push” her
                                                                     to "push" her
religious views on
religious views on people
                   people in
                          in the District through
                             the District through II Resolve.
                                                     Resolve.
   179. As
   179. As he
           he did with Katie,
              did with        Defendant Blanchard
                       Katie, Defendant Blanchard questioned
                                                  questioned Rachel
                                                             Rachel about her
                                                                    about her
religious beliefs purportedly
religious beliefs purportedly interfering
                              interfering with
                                          with her ability to
                                               her ability to do
                                                              do her
                                                                 her job.
                                                                     job.




                                Verified Complaint,
                                Verified Complaint, 22
                                                    22
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   180. Defendants
   180. Defendants then subjected Rachel
                   then subjected Rachel and
                                         and Katie
                                             Katie to
                                                   to another
                                                      another round of questioning,
                                                              round of questioning,
this
this time conducted by
     time conducted by an outside investigator,
                       an outside               about their
                                  investigator, about       speech related
                                                      their speech         to II
                                                                   related to
Resolve.
Resolve.
   181. Almost
   181. Almost all
               all of
                   of the
                      the questions
                          questions in all four
                                    in all four interviews
                                                interviews focused
                                                           focused on
                                                                   on Rachel
                                                                      Rachel and
                                                                             and

Katie’s speech related
Katie's speech         to II Resolve.
               related to    Resolve.
   182. Defendants’
   182.             investigation into
        Defendants' investigation into Rachel and Katie’s
                                       Rachel and         speech and
                                                  Katie's speech and religious beliefs
                                                                     religious beliefs
is ongoing.
is ongoing.

III. The
III. The School
         School District's
                District’s "Speech
                           “Speech Policies”
                                   Policies"
      The Original
   A. The Original Speech
                   Speech Policy
                          Policy
   183. In
   183. In February
           February 2004,
                    2004, the
                          the School
                              School district
                                     district adopted
                                              adopted a
                                                      a policy
                                                        policy governing
                                                               governing employee
                                                                         employee
speech titled,
speech         “Staff Participation
       titled, "Staff               in Political
                      Participation in           Activities.” That
                                       Political Activities." That policy—the
                                                                   policy—the Original
                                                                              Original
Speech
Speech Policy—remained in effect
       Policy—remained in effect until April 27,
                                 until April 27, 2021. A true,
                                                 2021. A true, accurate, and complete
                                                               accurate, and complete

copy of
copy of the
        the Original
            Original Speech
                     Speech Policy is Exhibit
                            Policy is Exhibit F.
                                              F.
   184. The
   184.     Original Speech
        The Original Speech Policy
                            Policy provided: “Employees may
                                   provided: "Employees may exercise
                                                            exercise their
                                                                     their right
                                                                           right to
                                                                                 to
participate fully in
participate fully in affairs
                     affairs of
                             of public
                                public interest on a
                                       interest on a local, county, state
                                                     local, county, state and
                                                                          and national level
                                                                              national level
on the
on     same basis
   the same basis as
                  as any citizen in
                     any citizen in a
                                    a comparable
                                      comparable position in public
                                                 position in        or private
                                                             public or private
employment and within
employment and within the
                      the law."
                          law.” Ex.
                                Ex. F
                                    F at 1.
                                      at 1.
   185. The
   185.     Original Speech
        The Original Speech Policy also provided:
                            Policy also           “All district
                                        provided: "All district employees are
                                                                employees are
privileged within the
privileged within the limitations imposed by
                      limitations imposed by state
                                             state and
                                                   and federal
                                                       federal laws and regulations
                                                               laws and regulations
to
to choose
   choose either side of
          either side of a
                         a particular issue and
                           particular issue and to support their
                                                to support       viewpoints as
                                                           their viewpoints as they
                                                                               they

desire by vote,
desire by vote, discussion or the
                discussion or the persuasion of others."
                                  persuasion of others.” Ex.
                                                         Ex. F at 1.
                                                             F at 1.

   186. But
   186. But the Original Speech
            the Original Speech Policy
                                Policy prohibited “[s]uch discussion
                                       prohibited "[s]uch            and
                                                          discussion and
persuasion
persuasion .. .. .. during
                    during the
                           the performance of district
                               performance of district duties,
                                                       duties, except in open
                                                               except in open discussion
                                                                              discussion
during
during classroom lessons that
       classroom lessons that center
                              center on
                                     on a consideration of
                                        a consideration of all candidates for
                                                           all candidates     a
                                                                          for a
particular office or
particular office or various
                     various sides
                             sides of
                                   of a
                                      a particular
                                        particular political or civil
                                                   political or civil issue.”
                                                                      issue." Ex.
                                                                              Ex. F at 1.
                                                                                  F at 1.

   187. The
   187.     Original Speech
        The Original Speech Policy also included
                            Policy also included a
                                                 a disclaimer
                                                   disclaimer requirement, which
                                                              requirement, which
reads: “On all
reads: "On all controversial
               controversial issues,
                             issues, employees
                                     employees must
                                               must designate
                                                    designate that
                                                              that the viewpoints
                                                                   the viewpoints


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they
they represent on the
     represent on     issues are
                  the issues are personal viewpoints and
                                 personal viewpoints and are
                                                         are not
                                                             not to be interpreted
                                                                 to be interpreted as
                                                                                   as

the
the district’s official viewpoint."
    district's official viewpoint.” Ex.
                                    Ex. F at 1.
                                        F at 1.

   188. The
   188.     Original Speech
        The Original        Policy did
                     Speech Policy did not
                                       not define “political or
                                           define "political or civil
                                                                civil issue."
                                                                      issue.”

   189. The
   189.     Original Speech
        The Original Speech Policy
                            Policy did not define
                                   did not        “controversial issues."
                                           define "controversial issues.”

   190. The
   190. The Original
            Original Speech
                     Speech Policy compelled District
                            Policy compelled District staff,
                                                      staff, like
                                                             like Rachel
                                                                  Rachel and
                                                                         and Katie,
                                                                             Katie, to
                                                                                    to
issue a
issue a disclaimer anytime they
        disclaimer anytime      spoke—on or
                           they spoke—on or off
                                            off campus—on
                                                campus—on issues
                                                          issues Defendants
                                                                 Defendants
subjectively determined
subjectively            were "controversial."
             determined were “controversial.”

   191. By
   191.    failing to
        By failing to define “controversial issues,”
                      define "controversial issues," the Original Speech
                                                     the Original Speech Policy
                                                                         Policy gave
                                                                                gave
staff no
staff no notice as to
         notice as to what constituted a
                      what constituted a controversial
                                         controversial issue
                                                       issue or
                                                             or how
                                                                how to avoid charges
                                                                    to avoid charges

that staff violated
that staff violated the
                    the policy.
                        policy.
   192. Given
   192.       that stances
        Given that stances on
                           on nearly
                              nearly every issue of
                                     every issue of public importance generate
                                                    public importance generate

“controversy,” the
"controversy," the Original
                   Original Speech
                            Speech Policy
                                   Policy gave Defendants limitless
                                          gave Defendants limitless authority
                                                                    authority to
                                                                              to
regulate, suppress, and
regulate, suppress, and censor
                        censor employee speech made
                               employee speech      while the
                                               made while the policy was in
                                                              policy was in effect.
                                                                            effect.
   193. For
   193. For employee speech made
            employee speech      while the
                            made while the Original
                                           Original Speech
                                                    Speech Policy was in
                                                           Policy was in effect,
                                                                         effect,
Defendants could
Defendants could discipline any employee
                 discipline any employee for speech on
                                         for speech on an
                                                       an issue
                                                          issue that
                                                                that Defendants
                                                                     Defendants

subjectively deemed
subjectively        “controversial” that
             deemed "controversial" that did
                                         did not
                                             not include
                                                 include the
                                                         the required
                                                             required disclaimer.
                                                                      disclaimer.
   194. Defendants
   194. Defendants have
                   have enforced, and continue
                        enforced, and continue to
                                               to enforce,
                                                  enforce, the Original Speech
                                                           the Original Speech
Policy against Rachel
Policy against        and Katie
               Rachel and       for their
                          Katie for       I-Resolve-related speech
                                    their I-Resolve-related speech that occurred
                                                                   that occurred
before April
before April 27, 2021.
             27, 2021.

        The Amended
     B. The Amended Speech
                    Speech Policy
                           Policy
   195. On
   195.    April 27,
        On April 27, 2021,
                     2021, Board Defendants adopted,
                           Board Defendants adopted, and
                                                     and have since enforced,
                                                         have since           an
                                                                    enforced, an
amended "Staff
amended “Staff Participation
               Participation in
                             in Political Activities” policy
                                Political Activities" policy that
                                                             that governs
                                                                  governs employee
                                                                          employee
expression. A true,
expression. A       accurate, and
              true, accurate,     complete copy
                              and complete      of that
                                           copy of that policy—the Amended Speech
                                                        policy—the Amended Speech
Policy—is
Policy—is Exhibit
          Exhibit G.
                  G.
   196. Like
   196.      the Original
        Like the Original Speech
                          Speech Policy,
                                 Policy, the Amended Speech
                                         the Amended Speech Policy
                                                            Policy provides:
                                                                   provides: (a)
                                                                             (a)
“Employees may
"Employees may exercise
               exercise their
                        their right to participate
                              right to             fully in
                                       participate fully    affairs of
                                                         in affairs of public
                                                                       public interest
                                                                              interest
on a
on a local,
     local, county,
            county, state
                    state and
                          and national level on
                              national level on the same basis
                                                the same basis as
                                                               as any
                                                                  any citizen
                                                                      citizen in
                                                                              in a
                                                                                 a


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comparable position
comparable position in
                    in public or private
                       public or private employment
                                         employment and
                                                    and within
                                                        within the
                                                               the law”; and (b)
                                                                   law"; and (b)
“[a]ll district
"[a]ll district employees are privileged
                employees are            within the
                              privileged within     limitations imposed
                                                the limitations imposed by
                                                                        by state
                                                                           state and
                                                                                 and

federal laws
federal laws and
             and regulations
                 regulations to choose either
                             to choose        side of
                                       either side of a
                                                      a particular issue and
                                                        particular issue and to
                                                                             to support
                                                                                support

their viewpoints as
their viewpoints as they
                    they desire by vote,
                         desire by vote, discussion or the
                                         discussion or the persuasion of others."
                                                           persuasion of others.” Ex.
                                                                                  Ex. G
                                                                                      G
at 1.
at 1.

   197. The
   197.     Amended Speech
        The Amended Speech Policy
                           Policy prohibits
                                  prohibits employees, “[w]hile on
                                            employees, "[w]hile on District
                                                                   District

premises or acting
premises or acting within
                   within the scope of
                          the scope of employment” from "display[ing]
                                       employment" from “display[ing] or
                                                                      or engag[ing]
                                                                         engag[ing]
in speech
in speech .. .. .. supporting
                   supporting one
                              one side
                                  side of
                                       of any
                                          any political or controversial
                                              political or controversial civil
                                                                         civil issue."
                                                                               issue.” Ex.
                                                                                       Ex. G
                                                                                           G
at 2.
at 2.

   198. The
   198.     Amended Speech
        The Amended Speech Policy
                           Policy defines “political or
                                  defines "political or civil
                                                        civil issue"
                                                              issue” circularly
                                                                     circularly as
                                                                                as

“includ[ing], but
"includ[ing], but not be[ing] limited
                  not be[ing]         to, any
                              limited to, any political or civil
                                              political or civil issue
                                                                 issue for
                                                                       for which
                                                                           which there is
                                                                                 there is
more
more than one reasonable
     than one            interpretation or
              reasonable interpretation or position and on
                                           position and on which
                                                           which reasonable
                                                                 reasonable persons
                                                                            persons
may
may disagree.”
    disagree." Ex.
               Ex. G at 1.
                   G at 1.

   199. The
   199.     Amended Speech
        The Amended Speech Policy,
                           Policy, like the Original
                                   like the Original Speech
                                                     Speech Policy, also includes
                                                            Policy, also includes a
                                                                                  a

disclaimer
disclaimer requirement.
           requirement.
   200.
   200. The Amended Speech
        The Amended        Policy’s disclaimer
                    Speech Policy's disclaimer requirement
                                               requirement reads: “When engaged
                                                           reads: "When engaged
in off
in     duty activities,
   off duty activities, on
                        on all controversial issues,
                           all controversial issues, employees
                                                     employees must
                                                               must designate that the
                                                                    designate that the
viewpoints they
viewpoints they represent on the
                represent on the issues
                                 issues are
                                        are personal viewpoints and
                                            personal viewpoints and are
                                                                    are not
                                                                        not to be
                                                                            to be
interpreted as
interpreted as the
               the district’s official viewpoint."
                   district's official viewpoint.” Ex.
                                                   Ex. G
                                                       G at 1.
                                                         at 1.
   201.
   201. The Amended Speech
        The Amended Speech Policy
                           Policy defines “controversial civil
                                  defines "controversial civil issue"
                                                               issue” circularly
                                                                      circularly to
                                                                                 to

“specifically include
"specifically include issues
                      issues which
                             which appear
                                   appear likely to create
                                          likely to create controversy
                                                           controversy among
                                                                       among students,
                                                                             students,

employees or the
employees or the public, or which
                 public, or which the District determines
                                  the District determines may be disruptive
                                                          may be disruptive to its
                                                                            to its
educational
educational mission or instruction.”
            mission or instruction." Ex.
                                     Ex. G
                                         G at 1.
                                           at 1.
   202. As part
   202. As      of its
           part of its definition of "controversial
                       definition of “controversial civil
                                                    civil issue,"
                                                          issue,” the
                                                                  the Amended
                                                                      Amended Speech
                                                                              Speech
Policy
Policy also
       also directs: “In determining
            directs: "In determining whether
                                     whether a civil issue
                                             a civil issue is
                                                           is controversial,
                                                              controversial, the
                                                                             the district
                                                                                 district
shall consider
shall consider whether
               whether the speech is
                       the speech    consistent with
                                  is consistent with district
                                                     district policy and resolutions.”
                                                              policy and resolutions."
Ex.
Ex. G at 1.
    G at 1.


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   203.
   203. Thus, under the
        Thus, under the policy
                        policy Defendants
                               Defendants may
                                          may regulate, suppress, and
                                              regulate, suppress, and censor
                                                                      censor any
                                                                             any
speech on
speech on an issue that
          an issue that they subjectively deem
                        they subjectively      controversial under
                                          deem controversial under the
                                                                   the policy’s
                                                                       policy's
unlimited
unlimited definition of "controversial
          definition of “controversial civil
                                       civil issue.”
                                             issue."
   204.
   204. Thus, by majority
        Thus, by          vote, Board
                 majority vote, Board Defendants
                                      Defendants have the power
                                                 have the power under
                                                                under the
                                                                      the
Amended Speech
Amended        Policy to
        Speech Policy to regulate, suppress, and
                         regulate, suppress, and censor viewpoints held
                                                 censor viewpoints      by District
                                                                   held by District
employees with which
employees with which District officials disagree
                     District officials          by adopting
                                        disagree by adopting policies or resolutions
                                                             policies or resolutions
that silence those
that silence       viewpoints.
             those viewpoints.
   205.
   205. The Amended Speech
        The Amended Speech Policy
                           Policy defines “political or
                                  defines "political or civil
                                                        civil issue”
                                                              issue" and
                                                                     and
“controversial civil
"controversial civil issue"
                     issue” using such elusive,
                            using such          subjective, and
                                       elusive, subjective,     circular terminology
                                                            and circular terminology

that
that the
     the policy
         policy gives staff no
                gives staff no notice
                               notice as
                                      as to what constitutes
                                         to what constitutes a
                                                             a "political
                                                               “political or
                                                                          or civil
                                                                             civil issue” or
                                                                                   issue" or
“controversial civil
"controversial civil issue"
                     issue” or
                            or how
                               how to avoid charges
                                   to avoid charges that staff violate
                                                    that staff violate the
                                                                       the policy.
                                                                           policy.
   206.
   206. Given
        Given nearly
              nearly every issue of
                     every issue of public importance is
                                    public importance is (a) an issue
                                                         (a) an issue "for
                                                                      “for which
                                                                           which there
                                                                                 there
is more
is      than one
   more than one reasonable interpretation or
                 reasonable interpretation or position and on
                                              position and on which
                                                              which reasonable
                                                                    reasonable
persons
persons may
        may disagree”
            disagree" (i.e., a "political
                      (i.e., a “political or
                                          or civil
                                             civil issue");
                                                   issue”); and
                                                            and (b)
                                                                (b) an “issue[ ]] which
                                                                    an "issue[    which

appear[s] likely
appear[s] likely to
                 to create
                    create controversy
                           controversy among
                                       among students,
                                             students, employees or the
                                                       employees or the public” (i.e.,
                                                                        public" (i.e.,
a "controversial
a “controversial civil
                 civil issue”)
                       issue") the Amended Speech
                               the Amended Speech Policy
                                                  Policy gives Defendants limitless
                                                         gives Defendants limitless

authority to
authority to regulate, suppress, and
             regulate, suppress, and censor
                                     censor employees’ speech on
                                            employees' speech on and
                                                                 and off
                                                                     off District
                                                                         District

property,
property, during and after
          during and after school
                           school hours,
                                  hours, and on and
                                         and on and off
                                                    off duty.
                                                        duty.
   207.
   207. The Amended Speech
        The Amended Speech Policy’s
                           Policy's definitions of "political
                                    definitions of “political or
                                                              or civil issue” and
                                                                 civil issue" and

“controversial civil
"controversial civil issue"
                     issue” are
                            are also
                                also materially indistinguishable.
                                     materially indistinguishable.
   208.
   208. The
        The policy
            policy gives staff no
                   gives staff no notice as to
                                  notice as to what
                                               what off-duty
                                                    off-duty speech
                                                             speech triggers the
                                                                    triggers the
required
required disclosure.
         disclosure. So, in effect,
                     So, in effect, the
                                    the policy compels staff
                                        policy compels staff to issue the
                                                             to issue the disclaimer
                                                                          disclaimer
nearly
nearly every time they
       every time      speak on
                  they speak on any
                                any topic.
                                    topic.
   209.
   209. District
        District employees
                 employees must
                           must follow all Board
                                follow all Board policies
                                                 policies and
                                                          and are subject to
                                                              are subject to discipline,
                                                                             discipline,
including termination
including             of employment,
          termination of             if they
                         employment, if they do
                                             do not.
                                                not.




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   210.
   210. Defendants have and
        Defendants have and are
                            are exercising
                                exercising their
                                           their power
                                                 power under the Amended
                                                       under the Amended Speech
                                                                         Speech
Policy to regulate,
Policy to           censor, and
          regulate, censor, and suppress
                                suppress speech
                                         speech on
                                                on "political
                                                   “political or
                                                              or civil
                                                                 civil issues"
                                                                       issues” and
                                                                               and

“controversial civil
"controversial civil issue[s],"
                     issue[s],” including
                                including against
                                          against Plaintiffs.
                                                  Plaintiffs.
   211.
   211. Thus,
        Thus, for
              for example,
                  example, depending on what
                           depending on what School District officials,
                                             School District officials, including
                                                                        including
Defendants, subjectively
Defendants, subjectively deem a "political
                         deem a “political issue"
                                           issue” or
                                                  or "controversial
                                                     “controversial civil issue,” they
                                                                    civil issue," they
may
may regulate, suppress, and
    regulate, suppress, and censor:
                            censor:

        a. A debate
        a. A        among staff
             debate among staff in
                                in the
                                   the teachers’ lounge during
                                       teachers' lounge during the
                                                               the lunch
                                                                   lunch hour about
                                                                         hour about
            the
            the efficacy or wisdom
                efficacy or wisdom of
                                   of COVID-19
                                      COVID-19 restrictions;
                                               restrictions;
        b. A
        b. A discussion between two
             discussion between two coaches
                                    coaches walking
                                            walking the school track
                                                    the school track after
                                                                     after school
                                                                           school

            hours
            hours about whether Title
                  about whether       IX of
                                Title IX of the
                                            the Education Amendments of
                                                Education Amendments of 1972
                                                                        1972 has
                                                                             has
            gone far enough
            gone far enough to
                            to promote women’s athletics;
                               promote women's athletics;

        c. An exchange
        c. An          of opposing
              exchange of opposing views
                                   views among
                                         among social
                                               social studies
                                                      studies teachers
                                                              teachers in the
                                                                       in the
            hallway before or
            hallway before or after
                              after class
                                    class on
                                          on violence
                                             violence in
                                                      in the Middle East
                                                         the Middle      or whether
                                                                    East or whether

            Oregon should lower
            Oregon should lower the
                                the voting
                                    voting age
                                           age to 16;
                                               to 16;
        d. A parley
        d. A        between American
             parley between American government
                                     government teachers
                                                teachers about
                                                         about the wisdom of
                                                               the wisdom of

            “court packing”
            "court          while working
                   packing" while working out
                                          out together after school
                                              together after school in
                                                                    in the
                                                                       the high school
                                                                           high school
            weight
            weight room; or
                   room; or
        e. A teacher’s
        e. A           off-duty Twitter
             teacher's off-duty Twitter post about the
                                        post about the City of Grants
                                                       City of Grants Pass ballot
                                                                      Pass ballot
            measure to fund
            measure to fund public services or
                            public services or an
                                               an upcoming “RedForEd” rally,
                                                  upcoming "RedForEd" rally, unless
                                                                             unless
            the
            the teacher also includes
                teacher also includes Defendants'
                                      Defendants’ required
                                                  required disclaimer in her
                                                           disclaimer in her tweet or
                                                                             tweet or
            her
            her tweet aligns with
                tweet aligns with District
                                  District Policies
                                           Policies and
                                                    and resolutions.
                                                        resolutions.

        The classroom
     C. The classroom exception
                      exception to
                                to censorship
                                   censorship under
                                              under the Speech Policies
                                                    the Speech Policies
   212.
   212. On
        On the same day
           the same     that the
                    day that the School District adopted
                                 School District adopted the
                                                         the Original
                                                             Original Speech
                                                                      Speech Policy
                                                                             Policy
in February
in February 2004,
            2004, the District also
                  the District also adopted
                                    adopted a
                                            a policy on "Studying
                                              policy on “Studying Controversial
                                                                  Controversial
Issues.” A
Issues." A true, accurate, and
           true, accurate, and complete
                               complete copy
                                        copy of
                                             of the
                                                the policy is Exhibit
                                                    policy is Exhibit H.
                                                                      H.
   213.
   213. That
        That policy, which has
             policy, which has not been amended
                               not been amended since
                                                since February
                                                      February 2004 and has
                                                               2004 and     been
                                                                        has been
in effect
in        at all
   effect at all times
                 times relevant
                       relevant to
                                to this
                                   this Complaint,
                                        Complaint, emphasizes
                                                   emphasizes the
                                                              the need to "teach[
                                                                  need to “teach[ ]]


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about our
about our American
          American heritage,
                   heritage, the
                             the rights and privileges
                                 rights and            we enjoy
                                            privileges we       as citizens
                                                          enjoy as citizens and
                                                                            and the
                                                                                the
citizenship responsibilities
citizenship responsibilities that
                             that must be assumed
                                  must be assumed in
                                                  in maintaining our American
                                                     maintaining our American way
                                                                              way

of life.”
of life." Ex.
          Ex. H at 1.
              H at 1.

   214.
   214. The
        The policy
            policy recognizes
                   recognizes that “[i]n training
                              that "[i]n training for
                                                  for effective citizenship, it
                                                      effective citizenship, it is
                                                                                is

frequently necessary
frequently           for students
           necessary for students to
                                  to study
                                     study issues
                                           issues that are controversial."
                                                  that are controversial.” Ex.
                                                                           Ex. H at 1.
                                                                               H at 1.

   215.
   215. The
        The policy
            policy adds: “In considering
                   adds: "In considering such
                                         such issues,
                                              issues, it
                                                      it shall
                                                         shall be
                                                               be the
                                                                  the purpose of our
                                                                      purpose of our

schools to
schools to recognize the student's
           recognize the student’s right and/or obligation
                                   right and/or obligation to: 1. Study
                                                           to: 1. Study any
                                                                        any
controversial issue
controversial issue concerning
                    concerning which
                               which (at
                                     (at his/her level) the
                                         his/her level)     student should
                                                        the student should begin
                                                                           begin to
                                                                                 to

have an opinion;
have an opinion; 2.
                 2. Have free access
                    Have free access to all relevant
                                     to all          information, including
                                            relevant information, including the
                                                                            the
materials that circulate
materials that circulate freely in the
                         freely in     community; 3.
                                   the community; 3. Study
                                                     Study under competent
                                                           under competent
instruction in
instruction in an
               an atmosphere
                  atmosphere of
                             of freedom from bias
                                freedom from bias and
                                                  and prejudice;
                                                      prejudice; 4.
                                                                 4. Form and express
                                                                    Form and express
his/her own judgment
his/her own          on controversial
            judgment on controversial issues
                                      issues without
                                             without thereby
                                                     thereby jeopardizing
                                                             jeopardizing his/her
                                                                          his/her
relations with teachers
relations with          or the
               teachers or     school; 5.
                           the school;    Recognize that
                                       5. Recognize that reasonable compromise is
                                                         reasonable compromise is

often an
often    important facet
      an important facet in
                         in the
                            the decision
                                decision making in our
                                         making in our society;
                                                       society; 6.
                                                                6. Respect
                                                                   Respect minority
                                                                           minority
opinion.” Ex.
opinion." Ex. H at 1.
              H at 1.

   216. As for
   216. As     addressing controversial
           for addressing controversial issues
                                        issues with
                                               with captive
                                                    captive audiences in K–12
                                                            audiences in K-12
classrooms, Defendants
classrooms, Defendants entrust District educators
                       entrust District educators with
                                                  with the
                                                       the discretion “to carefully
                                                           discretion "to carefully

weigh the
weigh the risks against the
          risks against the significance
                            significance and
                                         and educational
                                             educational merit of the
                                                         merit of     issues, methods,
                                                                  the issues, methods,
materials and personnel
materials and personnel involved and, when
                        involved and, when doubt
                                           doubt remains,
                                                 remains, .. .. .. to seek the
                                                                   to seek     counsel
                                                                           the counsel
of their
of       supervisors.” Ex.
   their supervisors." Ex. H at 1.
                           H at 1.

   217.
   217. The only exception
        The only exception the Amended Speech
                           the Amended Speech Policy allows to
                                              Policy allows to discuss “political or
                                                               discuss "political or

controversial civil
controversial civil issue[s]"
                    issue[s]” during
                              during the
                                     the performance of district
                                         performance of district duties is pursuant
                                                                 duties is pursuant to
                                                                                    to
the “Studying Controversial
the "Studying Controversial Issues”
                            Issues" policy.
                                    policy. Ex.
                                            Ex. G at 1.
                                                G at 1.

   218.
   218. But
        But District officials, including
            District officials, including Defendants,
                                          Defendants, do
                                                      do not
                                                         not entrust District staff
                                                             entrust District staff with
                                                                                    with

that
that discretion when speaking
     discretion when speaking outside
                              outside the classroom on
                                      the classroom on controversial
                                                       controversial issues.
                                                                     issues.




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   219.
   219. Defendants have instead
        Defendants have instead given
                                given themselves unrestrained, post
                                      themselves unrestrained, post hoc
                                                                    hoc discretion
                                                                        discretion
under
under the
      the Speech Policies to
          Speech Policies to regulate, suppress, and
                             regulate, suppress, and censor
                                                     censor staff
                                                            staff expression on such
                                                                  expression on such

issues.
issues.
   220.
   220. Defendants seek to
        Defendants seek to respect
                           respect minority opinions in
                                   minority opinions in the classroom.
                                                        the classroom.
   221.
   221. But
        But Defendants seek to
            Defendants seek    silence minority
                            to silence          opinions held
                                       minority opinions      by District
                                                         held by          staff if
                                                                 District staff if they
                                                                                   they
express those opinions
express those opinions outside
                       outside the classroom.
                               the classroom.
   222.
   222. Defendants have no
        Defendants have    adequate justification
                        no adequate               for allowing
                                    justification for allowing employees such
                                                               employees such
discretion
discretion to
           to teach on controversial
              teach on controversial issues
                                     issues but
                                            but then
                                                then prohibiting
                                                     prohibiting them
                                                                 them from
                                                                      from discussing
                                                                           discussing
those same issues
those same        outside of
           issues outside of class
                             class or
                                   or for
                                      for requiring a disclaimer
                                          requiring a            anytime employees
                                                      disclaimer anytime employees
speak off
speak off campus.
          campus.

IV. Defendants'
IV. Defendants’ subjective
                subjective and
                           and inconsistent
                               inconsistent enforcement
                                            enforcement of the Speech
                                                        of the Speech
    Policies
    Policies
      Defendant’s viewpoint-based
   A. Defendant's  viewpoint-based enforcement—or
                                   enforcement—or non-enforcement—of
                                                  non-enforcement—of
      the
      the Original Speech Policy
          Original Speech Policy
   223.
   223. District
        District employees
                 employees regularly
                           regularly made statements on
                                     made statements on "controversial
                                                        “controversial issues"
                                                                       issues”

under
under the
      the Original
          Original Speech
                   Speech Policy
                          Policy and
                                 and without including the
                                     without including the required
                                                           required disclaimer.
                                                                    disclaimer.
   224.
   224. For
        For example, on March
            example, on March 30,
                              30, 2021, Defendant Kolb
                                  2021, Defendant      sent an
                                                  Kolb sent an email
                                                               email during school
                                                                     during school
hours
hours to
      to all District staff
         all District staff under
                            under the subject line:
                                  the subject       “Posters and
                                              line: "Posters     other items
                                                             and other items that
                                                                             that may
                                                                                  may
be considered
be considered controversial
              controversial political or civil
                            political or civil issues."
                                               issues.” A
                                                        A true,
                                                          true, accurate,
                                                                accurate, and complete
                                                                          and complete
copy of
copy of the
        the email is Exhibit
            email is Exhibit I.
                             I.
   225.
   225. In
        In that
           that email, Defendant Kolb
                email, Defendant Kolb expressed: “[T]he phrase
                                      expressed: "[T]he phrase [‘Black
                                                               ['Black Lives Matter’]
                                                                       Lives Matter']
should probably
should probably not be controversial,
                not be controversial, [but] it nonetheless
                                      [but] it nonetheless has created controversy,
                                                           has created controversy,

including in
including in our
             our community."
                 community.” Ex.
                             Ex. II at
                                    at 3.
                                       3.
   226.
   226. Defendant
        Defendant Kolb
                  Kolb did
                       did not
                           not include
                               include with
                                       with his opinion that
                                            his opinion that "the
                                                             “the phrase
                                                                  phrase [‘Black
                                                                         ['Black
Lives Matter’] should
Lives Matter'] should probably
                      probably not be controversial"
                               not be controversial” the
                                                     the required
                                                         required disclaimer
                                                                  disclaimer that
                                                                             that the
                                                                                  the
viewpoint was
viewpoint was his and should
              his and should not be interpreted
                             not be interpreted as
                                                as the
                                                   the School District’s official
                                                       School District's official

viewpoint.
viewpoint.




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   227.
   227. Upon information and
        Upon information and belief,
                             belief, Defendant
                                     Defendant Board Members have
                                               Board Members have not subjected
                                                                  not subjected
Defendant Kolb
Defendant      to the
          Kolb to the disciplinary
                      disciplinary process.
                                   process.
   228.
   228. During school hours
        During school       the next
                      hours the next day, March 31,
                                     day, March     a District
                                                31, a District teacher
                                                               teacher using
                                                                       using the
                                                                             the
District email
District       system replied
         email system replied to Defendant Kolb’s
                              to Defendant Kolb's email
                                                  email and copied all
                                                        and copied all District
                                                                       District Staff.
                                                                                Staff.
In the
In the email,
       email, the
              the teacher
                  teacher expressed support for
                          expressed support for the
                                                the Black
                                                    Black Lives Matter movement.
                                                          Lives Matter movement.
Ex.
Ex. II at 1.
       at 1.
   229.
   229. In
        In the
           the email,
               email, the teacher wrote,
                      the teacher wrote, "Black
                                         “Black Lives Matter is
                                                Lives Matter is an
                                                                an uplifting and
                                                                   uplifting and
wholesome message
wholesome         and way
          message and     of thinking
                      way of thinking that is perfectly
                                      that is perfectly appropriate for our
                                                        appropriate for our

classrooms.” Ex.
classrooms." Ex. II at 1. The
                    at 1. The teacher
                              teacher added, “there is
                                      added, "there is no other side,
                                                       no other side, Black
                                                                      Black Lives Matter
                                                                            Lives Matter
or they
or they don’t.”
        don't." Ex.
                Ex. II at
                       at 1.
                          1.

   230.
   230. That same day,
        That same      also during
                  day, also        school hours,
                            during school        another District
                                          hours, another District educator
                                                                  educator replied
                                                                           replied to
                                                                                   to
all using
all using the
          the District
              District email system, writing,
                       email system, writing, "First
                                              “First off
                                                     off Black
                                                         Black Lives Matters is
                                                               Lives Matters is on
                                                                                on its
                                                                                   its

face a
face a racist statement.” Ex.
       racist statement." Ex. II at
                                 at 1.
                                    1.

   231.
   231. Neither teacher complied
        Neither teacher complied with
                                 with the
                                      the Original
                                          Original Speech
                                                   Speech Policy’s
                                                          Policy's disclaimer
                                                                   disclaimer
requirement.
requirement.
   232.
   232. Upon information and
        Upon information     belief, Defendants
                         and belief, Defendants have
                                                have not subjected either
                                                     not subjected either educator
                                                                          educator
to
to the
   the disciplinary
       disciplinary process for speaking
                    process for speaking on
                                         on a “controversial issue"
                                            a "controversial issue” and/or
                                                                    and/or violating
                                                                           violating the
                                                                                     the
disclaimer
disclaimer requirement.
           requirement.
   233. As further
   233. As further example, on April
                   example, on April 27,
                                     27, 2021, a North
                                         2021, a       Middle School
                                                 North Middle School teacher
                                                                     teacher made
                                                                             made
a public
a        social media
  public social media post
                      post during school hours
                           during school       criticizing those
                                         hours criticizing       who advocated
                                                           those who           for
                                                                     advocated for
looser pandemic
looser pandemic restrictions.
                restrictions.
   234.
   234. The speaker did
        The speaker did not comply with
                        not comply with the
                                        the Original
                                            Original Speech
                                                     Speech Policy’s
                                                            Policy's disclaimer
                                                                     disclaimer
requirement.
requirement.
   235.
   235. Upon information and
        Upon information     belief, Defendants
                         and belief, Defendants have
                                                have not subjected that
                                                     not subjected      teacher to
                                                                   that teacher to
the
the disciplinary
    disciplinary process
                 process for speaking on
                         for speaking on a
                                         a "controversial
                                           “controversial issue"
                                                          issue” and/or violating the
                                                                 and/or violating the
disclaimer
disclaimer requirement.
           requirement.




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   236.
   236. Defendants have also
        Defendants have also not subjected to
                             not subjected to the
                                              the disciplinary
                                                  disciplinary process
                                                               process those
                                                                       those
educators and staff
educators and staff members who have
                    members who have expressed viewpoints different
                                     expressed viewpoints different from
                                                                    from those of
                                                                         those of
Rachel and Katie
Rachel and       on issues
           Katie on issues relating
                           relating to
                                    to II Resolve.
                                          Resolve.
   237.
   237. On April 15,
        On April 15, 2021,
                     2021, the staff member-club
                           the staff             advisor of
                                     member-club advisor of the LGBTQ+ club
                                                            the LGBTQ+      at
                                                                       club at
North Middle School
North Middle        sent a
             School sent a message
                           message to
                                   to the club during
                                      the club        school hours
                                               during school       and on
                                                             hours and on campus
                                                                          campus

discussing
discussing an
           an upcoming
              upcoming meeting between the
                       meeting between the club
                                           club and “school district
                                                and "school district members.” The
                                                                     members." The
April 15
April 15 message
         message referred
                 referred to
                          to the “recent Anti-Trans
                             the "recent Anti-Trans 'movement'
                                                    ‘movement’ that
                                                               that has
                                                                    has
unfortunately spread on
unfortunately spread on our
                        our campus"
                            campus” and
                                    and the
                                        the availability of school
                                            availability of school District
                                                                   District members
                                                                            members
to show support
to show support for
                for members of the
                    members of the LGBTQ+
                                   LGBTQ+ club.
                                          club.

   238.
   238. The April 15
        The April 15 message’s
                     message's reference
                               reference to
                                         to a so-called "Anti-Trans
                                            a so-called “Anti-Trans 'movement"'
                                                                    ‘movement’” was
                                                                                was

to
to II Resolve.
      Resolve.
   239.
   239. The staff member-club
        The staff             advisor did
                  member-club advisor did not
                                          not include a disclaimer
                                              include a            that her
                                                        disclaimer that her
viewpoint was
viewpoint was her own and
              her own and not the School
                          not the School District’s.
                                         District's.
   240.
   240. Upon information and
        Upon information and belief,
                             belief, Defendants
                                     Defendants have
                                                have not subjected that
                                                     not subjected      staff
                                                                   that staff
member
member to the disciplinary
       to the disciplinary process for speaking
                           process for speaking on
                                                on a
                                                   a "controversial
                                                     “controversial issue"
                                                                    issue” and/or
                                                                           and/or

violating the
violating the Original
              Original Speech
                       Speech Policy’s
                              Policy's disclaimer
                                       disclaimer requirement.
                                                  requirement.
   241. As further
   241. As further example, on April
                   example, on April 16,
                                     16, 2021,
                                         2021, a
                                               a different
                                                 different teacher while on
                                                           teacher while on District
                                                                            District

premises,
premises, during school hours,
          during school        and while
                        hours, and while wearing
                                         wearing a
                                                 a District-provided shirt, posted
                                                   District-provided shirt,        a
                                                                            posted a
photo of herself
photo of         on social
         herself on social media objecting to
                           media objecting to II Resolve.
                                                 Resolve.
   242.
   242. That
        That teacher
             teacher did
                     did not comply with
                         not comply with the Original Speech
                                         the Original Speech Policy’s
                                                             Policy's disclaimer
                                                                      disclaimer
requirement.
requirement.
   243.
   243. Upon information and
        Upon information     belief, Defendants
                         and belief, Defendants have
                                                have not subjected that
                                                     not subjected      teacher to
                                                                   that teacher to
the
the disciplinary
    disciplinary process.
                 process.
   244.
   244. Upon
        Upon information and belief
             information and belief many other examples
                                    many other          of District
                                               examples of District employees
                                                                    employees
speaking on
speaking on "controversial
            “controversial issues"
                           issues” under the Original
                                   under the Original Speech
                                                      Speech Policy and violating
                                                             Policy and violating the
                                                                                  the
disclaimer
disclaimer requirement
           requirement have occurred without
                       have occurred without School
                                             School District officials, including
                                                    District officials, including
Defendants, taking
Defendants,        adverse action
            taking adverse action against
                                  against the
                                          the employees.
                                              employees.


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   245.
   245. But for the
        But for     content and
                the content and viewpoint
                                viewpoint of
                                          of Rachel
                                             Rachel and
                                                    and Katie’s I-Resolve-related
                                                        Katie's I-Resolve-related
speech, Defendants
speech, Defendants would
                   would not
                         not have
                             have taken adverse action
                                  taken adverse action against
                                                       against Rachel or Katie.
                                                               Rachel or Katie.
   246. Any other
   246. Any other purported
                  purported justification by Defendants
                            justification by Defendants to
                                                        to take adverse action
                                                           take adverse action

against Rachel
against Rachel and
               and Katie is pretextual.
                   Katie is pretextual.

        Defendant’s viewpoint-based
     B. Defendant's viewpoint-based enforcement—or
                                    enforcement—or non-enforcement—of
                                                   non-enforcement—of
        the Amended Speech
        the Amended  Speech Policy
                            Policy
   247.
   247. On April 28,
        On April 28, 2021,
                     2021, the day after
                           the day after Board
                                         Board Defendants
                                               Defendants adopted the Amended
                                                          adopted the Amended

Speech
Speech Policy, a North
       Policy, a       Middle School
                 North Middle        teacher made
                              School teacher made public social media
                                                  public social media posts
                                                                      posts during
                                                                            during
school hours
school       and on
       hours and on property criticizing those
                    property criticizing those who
                                               who advocated
                                                   advocated for
                                                             for looser
                                                                 looser pandemic
                                                                        pandemic
restrictions.
restrictions.
   248.
   248. There is "more
        There is “more than
                       than one
                            one reasonable interpretation or
                                reasonable interpretation or position”
                                                             position" about
                                                                       about
pandemic
pandemic restrictions “on which
         restrictions "on which reasonable
                                reasonable persons
                                           persons may
                                                   may disagree.”
                                                       disagree." Ex.
                                                                  Ex. G at 1.
                                                                      G at 1.

   249. And pandemic
   249. And pandemic restrictions
                     restrictions are
                                  are also among those
                                      also among those issues
                                                       issues that are "likely
                                                              that are “likely to
                                                                               to
create controversy
create controversy among
                   among students,
                         students, employees or the
                                   employees or the public.”
                                                    public." Ex.
                                                             Ex. G at 1.
                                                                 G at 1.

   250.
   250. Upon information and
        Upon information     belief, Defendants
                         and belief, Defendants have
                                                have not subjected that
                                                     not subjected      teacher to
                                                                   that teacher to
the
the disciplinary
    disciplinary process
                 process for
                         for engaging
                             engaging in speech supporting
                                      in speech supporting one
                                                           one side
                                                               side of
                                                                    of a
                                                                       a political or
                                                                         political or
controversial civil
controversial civil issue
                    issue "[w]
                          “[w]hile  on District
                               hile on District premises or acting
                                                premises or acting within
                                                                   within the scope of
                                                                          the scope of

employment.”
employment." Ex.
             Ex. G at 2.
                 G at 2.
   251. Another example
   251. Another         of Defendants
                example of            viewpoint discrimination
                           Defendants viewpoint discrimination under
                                                               under the
                                                                     the
Amended Speech
Amended Speech Policies
               Policies involves
                        involves the
                                 the School District controversy
                                     School District controversy over
                                                                 over Black Lives
                                                                      Black Lives
Matter posters
Matter         in classrooms.
       posters in classrooms.

   252.
   252. Before
        Before the
               the Board
                   Board Defendants adopted the
                         Defendants adopted     Amended Speech
                                            the Amended        Policy, Defendant
                                                        Speech Policy, Defendant
Kolb sent an
Kolb sent an email on March
             email on March 30,
                            30, 2021 stating, in
                                2021 stating, in part:
                                                 part:

      II am sending this
         am sending   this message
                           message regarding  a very
                                    regarding a very difficult
                                                      difficult and
                                                                and emotive
                                                                    emotive topic.
                                                                            topic.
      II have
         have had
              had aa few
                     few people
                          people express a desire
                                 express a        to put
                                           desire to put up  “Black Lives
                                                         up "Black   Lives Matter"
                                                                           Matter”
       posters in their
       posters in their classrooms
                        classrooms and
                                    and have
                                         have had
                                              had legal  counsel review
                                                   legal counsel         and
                                                                  review and
       consult with
      consult  with the
                     the Board.
                         Board.
                                          ** ** **



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        While it
        While   it is
                   is a
                      a fact
                        fact that   black lives
                              that black   lives do
                                                  do matter
                                                     matter and and discrimination       against
                                                                      discrimination against
        black students,
        black  students, or or students
                               students of of any
                                              any color,
                                                   color, isis absolutely
                                                               absolutely prohibited,      the
                                                                             prohibited, the
        issue with
        issue  with the
                      the phrase    “Black Lives
                           phrase "Black            Matter”, is
                                             Lives Matter",      is that  it has
                                                                     that it       become
                                                                             has become
        identified with
        identified   with aa political/civil
                              political/civil rights
                                               rights movement
                                                       movement that   that has
                                                                             has generated
                                                                                  generated
        substantial controversy
        substantial    controversy throughout
                                       throughout Oregon
                                                     Oregon and and the    country, including
                                                                       the country,   including
        spawning counter-movements
        spawning     counter-movements such   such as
                                                    as the
                                                         the “Blue    Lives Matter"
                                                              "Blue Lives    Matter” and
                                                                                       and “All
                                                                                             "All
        Lives  Matter”. These
        Lives Matter".     These movements
                                   movements and  and related
                                                        related posters
                                                                  posters and     signs would
                                                                             and signs   would
        also be
        also  be considered
                 considered controversial
                                controversial civil
                                                 civil issues
                                                       issues asas related     and should
                                                                     related and    should not
                                                                                            not
        be displayed
        be  displayed in in classrooms
                            classrooms or or on
                                             on school
                                                 school property.
                                                           property. TheThe concern
                                                                              concern is
                                                                                       is that
                                                                                          that
        once "Black
        once  “Black Lives     Matter” posters
                        Lives Matter"              are posted,
                                          posters are    posted, then     it becomes
                                                                    then it  becomes difficult
                                                                                        difficult
        for the
        for the District,
                 District, under
                            under thethe First   Amendment, to
                                          First Amendment,             object to
                                                                   to object   to other
                                                                                  other posters
                                                                                         posters
        which may
        which   may be be similar
                          similar oror responsive
                                        responsive to     “Black Lives
                                                     to "Black             Matter” or
                                                                   Lives Matter"     or which
                                                                                        which
        cover controversial
        cover  controversial or  or disputed    subjects of
                                    disputed subjects      of a  civil or
                                                               a civil  or political
                                                                           political nature
                                                                                      nature
        without engaging
        without    engaging in in viewpoint
                                  viewpoint discrimination.
                                               discrimination. .. .. ..
      Ex.
      Ex. II at
             at 2 (emphasis added).
                2 (emphasis added).

     253.
     253. Defendants’ view changed
          Defendants' view changed after
                                   after Board
                                         Board Defendants
                                               Defendants adopted
                                                          adopted the Amended
                                                                  the Amended
Speech
Speech Policy in April
       Policy in April 2021.
                       2021.
     254.
     254. On May 5,
          On May 5, 2021, Defendant Kolb
                    2021, Defendant      sent an
                                    Kolb sent an email
                                                 email to
                                                       to the
                                                          the entire District staff.
                                                              entire District staff. A
                                                                                     A

true, accurate, and
true, accurate, and complete
                    complete copy
                             copy of
                                  of the
                                     the email is Exhibit
                                         email is         J.
                                                  Exhibit J.
     255.
     255. In
          In the
             the email, Defendant Kolb
                 email, Defendant Kolb wrote: “The attached
                                       wrote: "The attached Board
                                                            Board policy was revised
                                                                  policy was revised
and adopted
and         by the
    adopted by the Board last Tuesday.
                   Board last Tuesday. For clarification, [the
                                       For clarification, [the Amended
                                                               Amended Speech
                                                                       Speech
Policy]
Policy] now
        now allows for the
            allows for the [Oregon
                           [Oregon Education Association’s] Black
                                   Education Association's] Black Lives Matter poster
                                                                  Lives Matter poster
to be present
to be         on the
      present on     walls of
                 the walls of your classrooms.” Ex.
                              your classrooms."     J at
                                                Ex. J at 1.
                                                         1.

     256.
     256. Defendant
          Defendant Kolb
                    Kolb did
                         did not state in
                             not state in his May 5
                                          his May 5 email
                                                    email that
                                                          that the Amended Speech
                                                               the Amended Speech
Policy
Policy permits
       permits teachers
               teachers to
                        to hang
                           hang the “counter-movements” "Blue
                                the "counter-movements" “Blue Lives Matter” and
                                                              Lives Matter" and
“All Lives
"All Lives Matter"
           Matter” posters in their
                   posters in their classrooms.
                                    classrooms.

     257. As to
     257. As to the Amended Speech
                the Amended Speech Policy,
                                   Policy, Defendant
                                           Defendant Kolb
                                                     Kolb explained: “The significant
                                                          explained: "The significant

change .. .. .. is
change          is the
                   the following statement: 'In
                       following statement: ‘In determining
                                                determining whether a civil
                                                            whether a civil issue
                                                                            issue is
                                                                                  is
controversial, the
controversial, the district shall consider
                   district shall consider whether
                                           whether the speech is
                                                   the speech    consistent with
                                                              is consistent with district
                                                                                 district
policy and
policy and resolutions.’
           resolutions.' It
                         It is
                            is deemed by the
                               deemed by the District that this
                                             District that this poster is consistent
                                                                poster is consistent with
                                                                                     with
our Board
our Board Policy
          Policy [“All
                 ["All Students
                       Students Belong,” adopted in
                                Belong," adopted in December
                                                    December 2020] and the
                                                             2020] and the Board
                                                                           Board
Resolution on Equity,
Resolution on         Diversity, and
              Equity, Diversity,     Inclusion [adopted
                                 and Inclusion          in January
                                               [adopted in January 2021].”
                                                                   2021]." Ex. J at
                                                                           Ex. J at

1.
1.




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     258.
     258.    Thus, Defendants
             Thus, Defendants have by fiat
                              have by fiat found
                                           found that
                                                 that permitting
                                                      permitting Black
                                                                 Black Lives Matter
                                                                       Lives Matter
posters
posters no
        no longer constitutes "viewpoint
           longer constitutes “viewpoint discrimination.”
                                         discrimination." Ex.
                                                          Ex. II at
                                                                 at 2.
                                                                    2. But
                                                                       But Defendants
                                                                           Defendants
have
have made
     made no similar concession
          no similar concession to
                                to Blue
                                   Blue Lives Matter or
                                        Lives Matter or All
                                                        All Lives Matter posters.
                                                            Lives Matter posters.

V.
V.    Defendants’ unconstitutional
      Defendants'                   Amended Speech
                  unconstitutional Amended    Speech Policy
                                                       Policy is
                                                              is preventing
                                                                 preventing
      Rachel and Katie
      Rachel and       from freely
                 Katie from freely speaking
                                   speaking as
                                            as citizens
                                               citizens on
                                                        on matters of public
                                                           matters of public
      concern and compels
      concern and         them to
                  compels them  to comply
                                   comply with  the disclaimer
                                          with the  disclaimer requirement.
                                                               requirement.
     259.
     259. From April 8
          From April 8 to April 29,
                       to April 29, 2021,
                                    2021, Rachel and Katie
                                          Rachel and Katie made frequent social
                                                           made frequent social media
                                                                                media
posts, often daily,
posts, often        about issues
             daily, about issues relating
                                 relating to
                                          to II Resolve
                                                Resolve on
                                                        on the
                                                           the II Resolve
                                                                  Resolve Instagram
                                                                          Instagram
account.
account.
     260.
     260. Rachel and Katie
          Rachel and       intended to
                     Katie intended    continue to
                                    to continue to make similar daily
                                                   make similar       social media
                                                                daily social media
posts indefinitely into
posts indefinitely into the future about
                        the future about issues
                                         issues relating to II Resolve.
                                                relating to    Resolve.
     261.
     261. On April 29,
          On April 29, 2021,
                       2021, Rachel and Katie
                             Rachel and Katie immediately stopped making
                                              immediately stopped        such
                                                                  making such
Instagram posts
Instagram       when they
          posts when they discovered
                          discovered that
                                     that the
                                          the Board Defendants had
                                              Board Defendants     adopted the
                                                               had adopted the
Amended Speech
Amended Speech Policy.
               Policy.
     262.
     262. Rachel
          Rachel and
                 and Katie stopped making
                     Katie stopped        social media
                                   making social media posts
                                                       posts about
                                                             about II Resolve because
                                                                      Resolve because
of Defendants’
of Defendants' elusive, subjective, and
               elusive, subjective, and circular
                                        circular definition of "controversial
                                                 definition of “controversial civil
                                                                              civil issue"
                                                                                    issue”

in the
in     Amended Speech
   the Amended Speech Policy. See Ex.
                      Policy. See Ex. G.
                                      G.
     263.
     263. If
          If Rachel and Katie
             Rachel and Katie make another social
                              make another social media
                                                  media post
                                                        post about
                                                             about II Resolve or
                                                                      Resolve or
gender-identity
gender-identity education
                education policy,
                          policy, the Amended Speech
                                  the Amended Speech Policy would compel
                                                     Policy would compel them to
                                                                         them to
write a
write a disclaimer on every
        disclaimer on every post on this
                            post on this "controversial"
                                         “controversial” issue.
                                                         issue.

     264.
     264. If
          If Rachel and Katie
             Rachel and Katie make another social
                              make another social media
                                                  media post
                                                        post about
                                                             about II Resolve or
                                                                      Resolve or
gender-identity
gender-identity education
                education policy without including
                          policy without including the compelled disclaimer,
                                                   the compelled disclaimer, they
                                                                             they
would be
would be subject
         subject to
                 to adverse
                    adverse employment consequences if
                            employment consequences if Defendants
                                                       Defendants later assessed
                                                                  later assessed
their speech to
their speech    be "controversial."
             to be “controversial.”

     265.
     265. If
          If Rachel and Katie,
             Rachel and Katie, upon
                               upon their
                                    their reinstatement
                                          reinstatement to their positions,
                                                        to their positions, make any
                                                                            make any
statements relating
statements relating to
                    to II Resolve
                          Resolve or
                                  or gender-identity
                                     gender-identity education
                                                     education policy while on
                                                               policy while on District
                                                                               District

premises or acting
premises or acting within
                   within the scope of
                          the scope of their
                                       their employment,
                                             employment, they would be
                                                         they would be subject
                                                                       subject to
                                                                               to
adverse employment
adverse            consequences.
        employment consequences.


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   266.
   266. In
        In fact, Defendants have
           fact, Defendants      already subjected
                            have already subjected Rachel and Katie
                                                   Rachel and Katie to
                                                                    to
administrative leave
administrative leave and
                     and formal investigation in
                         formal investigation in part because of
                                                 part because of District
                                                                 District employee
                                                                          employee
complaints that
complaints      they violated
           that they violated the Original Speech
                              the Original        Policy’s disclaimer
                                           Speech Policy's disclaimer requirement.
                                                                      requirement.
   267.
   267. The Amended Speech
        The Amended Speech Policy’s
                           Policy's disclaimer
                                    disclaimer requirement
                                               requirement has
                                                           has also compelled
                                                               also compelled
Rachel
Rachel and
       and Katie to add
           Katie to add a
                        a disclaimer
                          disclaimer to
                                     to the
                                        the II Resolve website stating
                                               Resolve website stating that
                                                                       that the website
                                                                            the website
espouses
espouses personal views only
         personal views only and
                             and not
                                 not the views of
                                     the views of any
                                                  any education
                                                      education entity.
                                                                entity. Ex. A at
                                                                        Ex. A at 4.
                                                                                 4.
   268.
   268. Rachel and Katie
        Rachel and Katie do
                         do not want the
                            not want     compelled disclaimer
                                     the compelled            on the
                                                   disclaimer on the II Resolve
                                                                        Resolve
website, and
website, and but
             but for
                 for Defendants’
                     Defendants' disclaimer
                                 disclaimer requirement,
                                            requirement, Rachel and Katie
                                                         Rachel and       would
                                                                    Katie would
delete
delete the
       the disclaimer.
           disclaimer.
   269.
   269. Rachel and Katie
        Rachel and Katie do
                         do not believe or
                            not believe or wish
                                           wish to
                                                to communicate that their
                                                   communicate that their speech
                                                                          speech is
                                                                                 is
official school
official school speech
                speech or
                       or that
                          that it
                               it represents the views
                                  represents the views of
                                                       of the District. However,
                                                          the District. However, they
                                                                                 they do
                                                                                      do
not want to
not want to make
            make the
                 the required
                     required disclaimer because they
                              disclaimer because they wish
                                                      wish to
                                                           to avoid
                                                              avoid placing
                                                                    placing
language on
language on their
            their website and social
                  website and social media that may
                                     media that may disparage their speech
                                                    disparage their speech in
                                                                           in the
                                                                              the
eyes of their
eyes of their readers, or otherwise
              readers, or otherwise confuse
                                    confuse their
                                            their readers, by suggesting
                                                  readers, by suggesting that
                                                                         that the
                                                                              the
District opposes
District opposes or
                 or disapproves of their
                    disapproves of their speech.
                                         speech.

   270.
   270. Rachel and Katie,
        Rachel and Katie, upon
                          upon reinstatement, also desire
                               reinstatement, also        to discuss
                                                   desire to         issues relating
                                                             discuss issues relating
to
to II Resolve and gender-identity
      Resolve and gender-identity education
                                  education policy
                                            policy during school hours
                                                   during school       and while
                                                                 hours and while on
                                                                                 on

District premises.
District premises.
   271.
   271. But
        But the Amended Speech
            the Amended Speech Policy
                               Policy regulates, censors, and
                                      regulates, censors, and suppresses
                                                              suppresses Rachel
                                                                         Rachel
and Katie’s
and         views on
    Katie's views on gender-identity
                     gender-identity education
                                     education policy
                                               policy unless District officials,
                                                      unless District officials,

including Defendants,
including Defendants, subjectively
                      subjectively deem
                                   deem those views to
                                        those views    be consistent
                                                    to be consistent with District
                                                                     with District
policy and resolutions.
policy and resolutions.
   272.
   272. Defendants’ Amended Speech
        Defendants' Amended Speech Policy
                                   Policy has
                                          has limited and compelled
                                              limited and compelled and
                                                                    and

continues to
continues to limit
             limit and compel Rachel
                   and compel Rachel and
                                     and Katie’s speech in
                                         Katie's speech in other
                                                           other contexts.
                                                                 contexts.

   273.
   273. For
        For example,
            example, during
                     during the weekend of
                            the weekend of May
                                           May 15,
                                               15, 2021, Rachel was
                                                   2021, Rachel was on
                                                                    on a
                                                                       a float
                                                                         float trip
                                                                               trip
with friends
with         on the
     friends on the Rogue
                    Rogue River.
                          River. Under
                                 Under the Amended Speech
                                       the Amended Speech Policy,
                                                          Policy, Rachel was
                                                                  Rachel was
forced to
forced    speak the
       to speak     compelled disclaimer
                the compelled disclaimer to
                                         to her friends when
                                            her friends when expressing
                                                             expressing her views on
                                                                        her views on


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any issue
any issue that
          that may, in the
               may, in the discretion of School
                           discretion of        District officials,
                                         School District officials, including
                                                                    including Defendants,
                                                                              Defendants,
be deemed
be        “controversial.” Rachel
   deemed "controversial." Rachel included
                                  included the
                                           the disclaimer when discussing
                                               disclaimer when discussing issues
                                                                          issues
including the
including the wisdom of pandemic
              wisdom of pandemic restrictions and immigration
                                 restrictions and immigration policy.
                                                              policy.
   274.
   274. The Amended Speech
        The Amended Speech Policy
                           Policy has
                                  has also stopped and
                                      also stopped and is
                                                       is stopping
                                                          stopping Rachel from
                                                                   Rachel from
making
making personal social media
       personal social media posts she otherwise
                             posts she otherwise would because she
                                                 would because she does
                                                                   does not wish
                                                                        not wish
to comply with
to comply with the
               the disclaimer
                   disclaimer requirement.
                              requirement.
   275.
   275. For
        For example, on May
            example, on May 22, 2021, Defendants’
                            22, 2021,             Amended Speech
                                      Defendants' Amended Speech Policy
                                                                 Policy
compelled Katie,
compelled        while at
          Katie, while at her son’s soccer
                          her son's soccer match,
                                           match, to speak the
                                                  to speak the disclaimer when
                                                               disclaimer when
talking with other
talking with other families
                   families about issues related
                            about issues         to II Resolve.
                                         related to    Resolve.

                                  S TATEMENTS OF L
                                  STATEMENTS      AW
                                                 LAW
   276. At all
   276. At all times
               times relevant
                     relevant to the Complaint,
                              to the Complaint, each
                                                each and all of
                                                     and all of the
                                                                the acts and policies
                                                                    acts and policies
alleged in
alleged in this
           this Complaint
                Complaint were attributed to
                          were attributed to Defendants
                                             Defendants who
                                                        who acted
                                                            acted under color of
                                                                  under color of a
                                                                                 a

statute, regulation,
statute,             or custom
         regulation, or custom of
                               of the
                                  the State of Oregon
                                      State of Oregon (i.e.,
                                                      (i.e., under color of
                                                             under color of state
                                                                            state law
                                                                                  law and
                                                                                      and
authority).
authority).
   277.
   277. The
        The Original
            Original Speech
                     Speech Policy
                            Policy gives
                                   gives School District officials,
                                         School District officials, including
                                                                    including

Defendants, unbridled
Defendants, unbridled discretion to determine
                      discretion to           whether an
                                    determine whether an employee’s speech is
                                                         employee's speech is about
                                                                              about
a "controversial
a “controversial issue"
                 issue” and
                        and thus subject to
                            thus subject to the
                                            the disclaimer
                                                disclaimer requirement
                                                           requirement under
                                                                       under that
                                                                             that
policy.
policy.
   278.
   278. The
        The Original
            Original Speech
                     Speech Policy’s
                            Policy's disclaimer
                                     disclaimer requirement
                                                requirement discriminates based on
                                                            discriminates based on

viewpoint and
viewpoint and content.
              content.

   279.
   279. The Amended Speech
        The Amended Speech Policy
                           Policy gives
                                  gives School
                                        School District officials, including
                                               District officials, including

Defendants, unbridled
Defendants, unbridled discretion to determine
                      discretion to           whether an
                                    determine whether an employee’s speech is
                                                         employee's speech    about
                                                                           is about
a "political
a “political or
             or controversial
                controversial civil
                              civil issue"
                                    issue” and
                                           and thus
                                               thus prohibited while the
                                                    prohibited while the employee is on
                                                                         employee is on

District premises
District          or acting
         premises or acting within
                            within the scope of
                                   the scope of employment.
                                                employment.
   280.
   280. The Amended Speech
        The Amended Speech Policy’s
                           Policy's prohibition against employee
                                    prohibition against          speech about
                                                        employee speech about

“political or
"political or civil
              civil issues"
                    issues” while on District
                            while on District premises or acting
                                              premises or acting within
                                                                 within the scope of
                                                                        the scope of duty
                                                                                     duty
discriminates based on
discriminates based on viewpoint
                       viewpoint and
                                 and content.
                                     content.


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   281.
   281. The Amended Speech
        The Amended Speech Policy
                           Policy gives
                                  gives School
                                        School District officials, including
                                               District officials, including
Defendants, unbridled
Defendants, unbridled discretion to determine
                      discretion to determine whether an employee’s
                                              whether an            speech while
                                                         employee's speech while

off duty
off      is about
    duty is about a “controversial” issue
                  a "controversial" issue and
                                          and thus subject to
                                              thus subject to the
                                                              the disclaimer
                                                                  disclaimer
requirement
requirement under that policy.
            under that policy.
   282.
   282. The Amended Speech
        The Amended Speech Policy’s
                           Policy's disclaimer
                                    disclaimer requirement
                                               requirement discriminates based on
                                                           discriminates based on

viewpoint and
viewpoint and content.
              content.

   283.
   283. Defendants
        Defendants enforced
                   enforced the
                            the Original
                                Original Speech
                                         Speech Policy and Amended
                                                Policy and Amended Speech Policy
                                                                   Speech Policy
against Plaintiffs.
against Plaintiffs.
   284.
   284. Defendants
        Defendants knew or should
                   knew or should have
                                  have known
                                       known that
                                             that they were violating
                                                  they were violating Plaintiffs’
                                                                      Plaintiffs'
constitutional rights
constitutional        by:
               rights by:
        a.
        a. Subjecting
           Subjecting Plaintiffs
                      Plaintiffs to
                                 to disciplinary action because
                                    disciplinary action because they spoke in
                                                                they spoke in a
                                                                              a way
                                                                                way
            that communicated their
            that communicated their philosophical and religious
                                    philosophical and           beliefs regarding
                                                      religious beliefs regarding
            gender-identity
            gender-identity education
                            education policy;
                                      policy;
        b. Subjecting
        b.            Plaintiffs to
           Subjecting Plaintiffs to discipline based on
                                    discipline based on a
                                                        a content-
                                                          content- and viewpoint-
                                                                   and viewpoint-
            discriminatory
            discriminatory determination of what
                           determination of      constitutes a
                                            what constitutes a "controversial
                                                               “controversial issue"
                                                                              issue”

            under
            under the
                  the Original
                      Original Speech
                               Speech Policy;
                                      Policy;
        c.
        c. Subjecting
           Subjecting Plaintiffs
                      Plaintiffs to
                                 to discipline for not
                                    discipline for     speaking the
                                                   not speaking the Original
                                                                    Original Speech
                                                                             Speech
            Policy’s
            Policy's   compelled
                       compelled    disclaimer
                                    disclaimer   when
                                                 when     they
                                                          they    communicated
                                                                  communicated    their
                                                                                  their
            philosophical and religious
            philosophical and           beliefs regarding
                              religious beliefs regarding gender-identity
                                                          gender-identity education
                                                                          education
            policy;
            policy;
        d.
        d. Failing to define
           Failing to        “controversial issue”
                      define "controversial        under the
                                            issue" under the Original
                                                             Original Speech
                                                                      Speech Policy.
                                                                             Policy.
   285.
   285. Defendants
        Defendants know or should
                   know or should know
                                  know that
                                       that the Amended Speech
                                            the Amended Speech Policy violates
                                                               Policy violates
Plaintiffs’ constitutional rights
Plaintiffs' constitutional        by:
                           rights by:
        a.
        a. Subjecting
           Subjecting Plaintiffs
                      Plaintiffs to
                                 to disciplinary
                                    disciplinary action
                                                 action if they speak
                                                        if they speak in
                                                                      in a
                                                                         a way that
                                                                           way that
            communicates their philosophical
            communicates their               and religious
                               philosophical and           beliefs regarding
                                                 religious beliefs regarding gender-
                                                                             gender-
            identity
            identity education
                     education policy;
                               policy;




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        b. Subjecting
        b.            Plaintiffs to
           Subjecting Plaintiffs to discipline based on
                                    discipline based on the
                                                        the policy’s content- and
                                                            policy's content- and

           viewpoint-discriminatory definitions
           viewpoint-discriminatory             of "political
                                    definitions of “political or
                                                              or civil
                                                                 civil issue”
                                                                       issue" and
                                                                              and
           “controversial civil
           "controversial civil issue";
                                issue”;

        c.
        c. Subjecting Plaintiffs to
           Subjecting Plaintiffs to discipline if they,
                                    discipline if       while on
                                                  they, while on School District
                                                                 School District
           premises acting within
           premises acting within the scope of
                                  the scope of their
                                               their duties,
                                                     duties, engage in speech
                                                             engage in speech

           supporting one
           supporting one side
                          side of
                               of any
                                  any "political
                                      “political or
                                                 or controversial
                                                    controversial civil
                                                                  civil issue,"
                                                                        issue,” including
                                                                                including

           communicating their philosophical
           communicating their philosophical and
                                             and religious beliefs regarding
                                                 religious beliefs regarding gender-
                                                                             gender-
           identity
           identity education
                    education policy;
                              policy;
        d.
        d. Subjecting Plaintiffs to
           Subjecting Plaintiffs to discipline if they,
                                    discipline if       while off
                                                  they, while off duty,
                                                                  duty, speak
                                                                        speak on
                                                                              on any
                                                                                 any
           “controversial issue,"
           "controversial issue,” including
                                  including gender-identity
                                            gender-identity education
                                                            education policy, without
                                                                      policy, without
           also
           also communicating
                communicating the
                              the policy’s compelled disclaimer;
                                  policy's compelled disclaimer; and
                                                                 and
        e.
        e. Compelling Plaintiffs, while
           Compelling Plaintiffs,       off duty
                                  while off duty and
                                                 and speaking
                                                     speaking on
                                                              on any controversial
                                                                 any controversial
           issue, including gender-identity
           issue, including gender-identity education
                                            education policy,
                                                      policy, to speak the
                                                              to speak the policy’s
                                                                           policy's
           compelled
           compelled disclaimer.
                     disclaimer.
   286.
   286. The
        The policy
            policy and
                   and practices
                       practices that led to
                                 that led to the
                                             the violation
                                                 violation of
                                                           of Plaintiffs'
                                                              Plaintiffs’ constitutional
                                                                          constitutional

rights
rights remain in effect.
       remain in effect.
   287.
   287. Plaintiffs are suffering
        Plaintiffs are suffering irreparable
                                 irreparable harm from Defendants'
                                             harm from Defendants’ retaliatory action
                                                                   retaliatory action
and the
and the enforcement of the
        enforcement of the Speech
                           Speech Policies.
                                  Policies.
   288.
   288. Plaintiffs have no
        Plaintiffs have    adequate or
                        no adequate or speedy
                                       speedy remedy at law
                                              remedy at law to correct the
                                                            to correct the
deprivation of their
deprivation of their rights by Defendants.
                     rights by Defendants.
   289.
   289. Defendants’ actions and
        Defendants' actions and policies,
                                policies, as set forth
                                          as set forth above,
                                                       above, do
                                                              do not serve any
                                                                 not serve any

legitimate or
legitimate or compelling
              compelling state
                         state interest and are
                               interest and are not
                                                not narrowly
                                                    narrowly tailored
                                                             tailored to serve any
                                                                      to serve any

such interests.
such interests.

   290.
   290. Defendants’
        Defendants' Speech Policies and
                    Speech Policies and related
                                        related practices are not
                                                practices are not narrowly tailored
                                                                  narrowly tailored
as applied
as         to Plaintiffs
   applied to Plaintiffs because
                         because Plaintiffs’
                                 Plaintiffs' expression
                                             expression implicates
                                                        implicates none of the
                                                                   none of     legitimate
                                                                           the legitimate
interests Defendants
interests Defendants might
                     might have.
                           have.




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   291.
   291. Under
        Under 42 U.S.C. §§
              42 U.S.C. §§ 1983
                           1983 and
                                and 1988,
                                    1988, Plaintiffs
                                          Plaintiffs are
                                                     are entitled
                                                         entitled to
                                                                  to appropriate
                                                                     appropriate relief
                                                                                 relief
enjoining Defendants’ challenged
enjoining Defendants' challenged Amended
                                 Amended Speech
                                         Speech Policy and related
                                                Policy and         conduct.
                                                           related conduct.
   292.
   292. This Verified Complaint
        This Verified           serves as
                      Complaint serves    timely and
                                       as timely and adequate
                                                     adequate notice of the
                                                              notice of the Oregon
                                                                            Oregon

law claims
law claims below.
           below. Or.
                  Or. Rev.
                      Rev. Stat. § 30.275(3)(c).
                           Stat. § 30.275(3)(c).
   293.
   293. Defendants also have
        Defendants also      already engaged
                        have already         in an
                                     engaged in an exhaustive investigation of
                                                   exhaustive investigation of the
                                                                               the

facts pertaining
facts pertaining to
                 to the issues in
                    the issues in the case, and
                                  the case, and thus
                                                thus have
                                                     have full
                                                          full notice of the
                                                               notice of the Oregon law
                                                                             Oregon law
claims below.
claims below.
                             FIRST C
                             FIRST            ACTION
                                     AUSE OF ACTION
                                    CAUSE
   Violation of
   Violation of Plaintiffs’
                Plaintiffs' First Amendment Right
                            First Amendment           to Freedom
                                                Right to Freedom of Speech:
                                                                 of Speech:
                                   Retaliation
                                   Retaliation
                                (42
                                (42 U.S.C. § 1983)
                                    U.S.C. § 1983)
   294.
   294. Plaintiffs
        Plaintiffs repeat
                   repeat and
                          and reallege
                              reallege each of the
                                       each of     allegations in
                                               the allegations in paragraphs 1–293 of
                                                                  paragraphs 1-293 of

this
this Complaint.
     Complaint.
   295.
   295. By
        By punishing and threatening
           punishing and threatening to
                                     to punish
                                        punish Plaintiffs
                                               Plaintiffs for
                                                          for expressing their views
                                                              expressing their views

regarding
regarding gender-identity
          gender-identity education
                          education policy,
                                    policy, Defendants
                                            Defendants have
                                                       have retaliated and are
                                                            retaliated and are

retaliating against Plaintiffs
retaliating against            for exercising
                    Plaintiffs for            their First
                                   exercising their       Amendment rights.
                                                    First Amendment rights.
   296. When Plaintiffs
   296. When            communicated their
             Plaintiffs communicated their views
                                           views regarding
                                                 regarding gender-identity
                                                           gender-identity
education
education policy,
          policy, they were speaking
                  they were speaking as
                                     as private citizens on
                                        private citizens on a
                                                            a matter of public
                                                              matter of        concern
                                                                        public concern
and engaging
and engaging in
             in expression
                expression the
                           the First Amendment protects.
                               First Amendment protects.
   297.
   297. Plaintiffs’ interest as
        Plaintiffs' interest as private citizens discussing
                                private citizens discussing matters of public
                                                            matters of        concern
                                                                       public concern
outweighs Defendants'
outweighs Defendants’ interest
                      interest in
                               in the
                                  the efficient
                                      efficient provision of services.
                                                provision of services.

   298.
   298. Defendants’
        Defendants' disciplinary action and
                    disciplinary action and their
                                            their threatened future disciplinary
                                                  threatened future disciplinary
action would
action would deter a person
             deter a        of ordinary
                     person of ordinary firmness
                                        firmness from
                                                 from exercising
                                                      exercising her
                                                                 her right to free
                                                                     right to free
speech in
speech in the
          the future.
              future.
   299.
   299. Defendants
        Defendants have taken disciplinary
                   have taken              action against
                              disciplinary action against Plaintiffs
                                                          Plaintiffs and
                                                                     and threaten
                                                                         threaten to
                                                                                  to
do so in
do so in the
         the future because of
             future because of the
                               the views
                                   views Plaintiffs
                                         Plaintiffs have
                                                    have expressed on matters
                                                         expressed on         of public
                                                                      matters of public
concern, expression
concern,            that the
         expression that the First Amendment protects.
                             First Amendment protects.
   300.
   300. Defendants subjected Plaintiffs
        Defendants subjected Plaintiffs to
                                        to discipline and threaten
                                           discipline and threaten to
                                                                   to do so in
                                                                      do so in the
                                                                               the
future due
future due to
           to the content and
              the content and viewpoint
                              viewpoint of
                                        of Plaintiffs’ speech.
                                           Plaintiffs' speech.


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                                Verified Complaint, 39
                                                    39
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   301.
   301. By
        By placing
           placing Plaintiffs on administrative
                   Plaintiffs on administrative leave, threatening to
                                                leave, threatening to terminate
                                                                      terminate them,
                                                                                them,
launching a
launching a formal
            formal investigation
                   investigation into
                                 into them,
                                      them, prohibiting them from
                                            prohibiting them from conducting
                                                                  conducting school
                                                                             school

business, and
business, and preventing
              preventing them
                         them from
                              from taking other opportunities
                                   taking other opportunities for
                                                              for pay, Defendants
                                                                  pay, Defendants
have
have punished
     punished Plaintiffs
              Plaintiffs for
                         for engaging in expression
                             engaging in            the First
                                         expression the       Amendment protects.
                                                        First Amendment protects.
   302.
   302. Defendants’
        Defendants' disciplinary action violates
                    disciplinary action violates Plaintiffs’
                                                 Plaintiffs' right
                                                             right to
                                                                   to free speech as
                                                                      free speech as

guaranteed by the
guaranteed by the First Amendment to
                  First Amendment  to the United States
                                      the United States Constitution.
                                                        Constitution.
                            SECOND C
                            SECOND            ACTION
                                     AUSE OF ACTION
                                   CAUSE
   Violation of
   Violation of Plaintiffs’
                Plaintiffs' First Amendment Right
                            First Amendment    Right to
                                                      to Freedom
                                                         Freedom of   Speech:
                                                                   of Speech:
        Prior
        Prior Restraint  and Content
               Restraint and            and Viewpoint
                              Content and   Viewpoint Discrimination
                                                        Discrimination
                               (42
                               (42 U.S.C. § 1983)
                                   U.S.C. § 1983)
   303.
   303. Plaintiffs
        Plaintiffs repeat
                   repeat and
                          and reallege
                              reallege each of the
                                       each of     allegations in
                                               the allegations in paragraphs 1–293 of
                                                                  paragraphs 1-293 of

this
this Complaint.
     Complaint.
   304.
   304. Plaintiffs challenge the
        Plaintiffs challenge the part of Defendants'
                                 part of Defendants’ Original
                                                     Original Speech Policy that
                                                              Speech Policy that
censored speech
censored speech on
                on "controversial
                   “controversial issues"
                                  issues” as
                                          as applied
                                             applied to
                                                     to Plaintiffs.
                                                        Plaintiffs.
   305.
   305. Plaintiffs challenge those
        Plaintiffs challenge those parts of Defendants'
                                   parts of Defendants’ Amended
                                                        Amended Speech
                                                                Speech Policy
                                                                       Policy that
                                                                              that
censor speech
censor speech on
              on "political
                 “political or
                            or civil
                               civil issues,"
                                     issues,” "controversial
                                              “controversial civil
                                                             civil issue[s],"
                                                                   issue[s],” and
                                                                              and

“controversial issues"
"controversial issues” both
                       both facially
                            facially and
                                     and as
                                         as applied to them.
                                            applied to them.
   306.
   306. By
        By punishing and threatening
           punishing and threatening to
                                     to punish
                                        punish Plaintiffs
                                               Plaintiffs for
                                                          for expressing their views
                                                              expressing their views

regarding
regarding gender-identity
          gender-identity education
                          education policy,
                                    policy, Defendants
                                            Defendants have
                                                       have engaged in content
                                                            engaged in content

and/or viewpoint
and/or viewpoint discrimination
                 discrimination in violation of
                                in violation of the
                                                the First Amendment.
                                                    First Amendment.
   307.
   307. Defendants’
        Defendants' Original
                    Original Speech
                             Speech Policy
                                    Policy required officials to
                                           required officials to evaluate
                                                                 evaluate the content
                                                                          the content
and viewpoint
and viewpoint of
              of employee
                 employee expression
                          expression to
                                     to determine whether it
                                        determine whether it constituted
                                                             constituted speech
                                                                         speech on
                                                                                on

a "controversial
a “controversial issue."
                 issue.”

   308.
   308. Defendants’ Amended Speech
        Defendants' Amended        Policy requires
                            Speech Policy          officials to
                                          requires officials to evaluate
                                                                evaluate the content
                                                                         the content
and viewpoint
and viewpoint of
              of employee
                 employee expression
                          expression to
                                     to determine whether it
                                        determine whether it constitutes
                                                             constitutes speech
                                                                         speech on
                                                                                on

a "political
a “political or
             or civil
                civil issue,” “controversial civil
                      issue," "controversial civil issue,"
                                                   issue,” and
                                                           and "controversial
                                                               “controversial issue."
                                                                              issue.”

   309.
   309. Defendants
        Defendants considered
                   considered the content and
                              the content     viewpoint of
                                          and viewpoint of Plaintiffs’
                                                           Plaintiffs' expression
                                                                       expression
when they
when they decided
          decided to
                  to enforce their Original
                     enforce their Original Speech
                                            Speech Policy
                                                   Policy against
                                                          against Plaintiffs. And
                                                                  Plaintiffs. And




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                                 Verified Complaint, 40
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Defendants threaten
Defendants threaten to
                    to do so again
                       do so again under the Amended
                                   under the Amended Speech
                                                     Speech Policy if Plaintiffs
                                                            Policy if Plaintiffs
continue to
continue to express
            express their views.
                    their views.
   310.
   310. Defendants’
        Defendants' Original
                    Original Speech
                             Speech Policy
                                    Policy placed a prior
                                           placed a prior restraint on speech
                                                          restraint on speech by
                                                                              by

prohibiting
prohibiting discussion of political
            discussion of           or civil
                          political or civil issues
                                             issues during the performance
                                                    during the             of District
                                                               performance of District

duties.
duties.
   311.
   311. Defendants’ Amended Speech
        Defendants' Amended Speech Policy
                                   Policy places a prior
                                          places a prior restraint on speech
                                                         restraint on speech by
                                                                             by

prohibiting
prohibiting employees from speaking
            employees from speaking on
                                    on one
                                       one side
                                           side of
                                                of any
                                                   any political or controversial
                                                       political or controversial civil
                                                                                  civil

issue while
issue       on District
      while on District premises or within
                        premises or within the scope of
                                           the scope of their
                                                        their employment.
                                                              employment.
   312.
   312. Defendants’
        Defendants' Speech
                    Speech Policies confer unbridled
                           Policies confer unbridled discretion
                                                     discretion upon
                                                                upon School
                                                                     School District
                                                                            District
officials, including
officials, including Defendants,
                     Defendants, to
                                 to discriminate based on
                                    discriminate based on content
                                                          content or
                                                                  or viewpoint.
                                                                     viewpoint.

   313.
   313. Defendants
        Defendants exercised
                   exercised this
                             this unbridled
                                  unbridled discretion when they
                                            discretion when they punished
                                                                 punished Plaintiffs
                                                                          Plaintiffs
for expressing
for expressing their views regarding
               their views regarding gender-identity
                                     gender-identity education
                                                     education policy.
                                                               policy.
   314.
   314. Under the Original
        Under the Original Speech
                           Speech Policy, Defendants have
                                  Policy, Defendants      allowed and
                                                     have allowed     failed to
                                                                  and failed to
punish speech by
punish speech by District
                 District employees on other
                          employees on other "controversial
                                             “controversial issues."
                                                            issues.”

   315.
   315. Under
        Under the Amended Speech
              the Amended Speech Policy, Defendants have
                                 Policy, Defendants have allowed
                                                         allowed and
                                                                 and failed
                                                                     failed to
                                                                            to
punish speech by
punish speech by District
                 District employees,
                          employees, made while on
                                     made while on District
                                                   District premises or acting
                                                            premises or acting

within the
within the scope
           scope of
                 of employment, on other
                    employment, on other "political
                                         “political or
                                                    or controversial
                                                       controversial civil
                                                                     civil issue[s]."
                                                                           issue[s].”

   316.
   316. Defendants’
        Defendants' Speech
                    Speech Policies
                           Policies and
                                    and enforcement of those
                                        enforcement of those policies
                                                             policies are
                                                                      are
unconstitutionally overbroad because
unconstitutionally overbroad because they
                                     they restrict a significant
                                          restrict a significant amount of
                                                                 amount of
constitutionally protected
constitutionally           speech.
                 protected speech.
   317.
   317. The overbreadth of
        The overbreadth of Defendants'
                           Defendants’ Amended
                                       Amended Speech
                                               Speech Policy chills the
                                                      Policy chills     speech of
                                                                    the speech of

Plaintiffs, who seek
Plaintiffs, who seek to
                     to engage in protected
                        engage in protected expression, including expression
                                            expression, including            about
                                                                  expression about
gender-identity
gender-identity education
                education policy,
                          policy, in their interactions
                                  in their interactions with students, staff,
                                                        with students, staff, and
                                                                              and the
                                                                                  the
public both on
public both on and
               and off
                   off campus.
                       campus.

   318.
   318. Plaintiffs’
        Plaintiffs' expression
                    expression regarding
                               regarding gender-identity
                                         gender-identity education
                                                         education policy is protected
                                                                   policy is protected
by the
by the First Amendment.
       First Amendment.




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                                  Verified Complaint, 41
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   319.
   319. Defendants’
        Defendants' Speech Policies and
                    Speech Policies and enforcement of those
                                        enforcement of those policies violates
                                                             policies violates
Plaintiffs’
Plaintiffs' right
            right to
                  to free speech as
                     free speech as guaranteed
                                    guaranteed by
                                               by the
                                                  the First Amendment to
                                                      First Amendment    the United
                                                                      to the United
States
States Constitution.
       Constitution.




                            THIRD C
                            THIRD             ACTION
                                     AUSE OF ACTION
                                    CAUSE
   Violation of
   Violation of Plaintiffs’
                Plaintiffs' First Amendment Right
                            First Amendment           to Freedom
                                                Right to Freedom of Speech:
                                                                 of Speech:
                               Compelled   Speech
                               Compelled Speech
                                (42
                                (42 U.S.C. § 1983)
                                    U.S.C. § 1983)
   320.
   320. Plaintiffs
        Plaintiffs repeat
                   repeat and
                          and reallege
                              reallege each of the
                                       each of     allegations in
                                               the allegations in paragraphs 1–293 of
                                                                  paragraphs 1-293 of

this
this Complaint.
     Complaint.
   321.
   321. Plaintiffs challenge the
        Plaintiffs challenge the Original
                                 Original Speech
                                          Speech Policy’s
                                                 Policy's required
                                                          required disclaimer as
                                                                   disclaimer as
applied to
applied to them.
           them.
   322.
   322. Plaintiffs challenge the
        Plaintiffs challenge the Amended
                                 Amended Speech
                                         Speech Policy’s
                                                Policy's required
                                                         required disclaimer facially
                                                                  disclaimer facially
and as
and as applied
       applied to
               to them.
                  them.
   323.
   323. By
        By punishing and threatening
           punishing and threatening to
                                     to punish
                                        punish Plaintiffs
                                               Plaintiffs for
                                                          for refusing
                                                              refusing to
                                                                       to
communicate a
communicate a District-mandated
              District-mandated disclaimer when speaking
                                disclaimer when speaking on
                                                         on issues the District
                                                            issues the District

deems “controversial,” Defendants
deems "controversial," Defendants have
                                  have attempted
                                       attempted and are attempting
                                                 and are attempting to
                                                                    to compel
                                                                       compel
Plaintiffs’ speech, in
Plaintiffs' speech, in violation
                       violation of
                                 of their
                                    their rights
                                          rights under
                                                 under the
                                                       the First Amendment.
                                                           First Amendment.
   324.
   324. Defendants’
        Defendants' Speech
                    Speech Policies and enforcement
                           Policies and             of those
                                        enforcement of those policies compelled and
                                                             policies compelled and
continue to
continue    compel Plaintiffs
         to compel Plaintiffs to communicate a
                              to communicate a disclaimer
                                               disclaimer that
                                                          that they
                                                               they do
                                                                    do not wish to
                                                                       not wish to
communicate and
communicate and otherwise
                otherwise would
                          would not communicate.
                                not communicate.
   325.
   325. Defendants’
        Defendants' Speech
                    Speech Policies
                           Policies and
                                    and enforcement of those
                                        enforcement of those policies violate
                                                             policies violate
Plaintiffs’
Plaintiffs' right
            right to
                  to free speech as
                     free speech as guaranteed
                                    guaranteed by
                                               by the
                                                  the First Amendment to
                                                      First Amendment to the United
                                                                         the United
States
States Constitution.
       Constitution.
                           F OURTH C
                            FOURTH             ACTION
                                      AUSE OF ACTION
                                    CAUSE
Violation of
Violation of Plaintiffs’
             Plaintiffs' First Amendment Right
                         First Amendment     Right to
                                                   to Free
                                                      Free Exercise
                                                           Exercise of
                                                                    of Religion
                                                                       Religion
                                (42
                                (42 U.S.C. § 1983)
                                    U.S.C. § 1983)




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                               Verified Complaint, 42
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   326.
   326. Plaintiffs
        Plaintiffs repeat
                   repeat and
                          and reallege
                              reallege each of the
                                       each of the allegations in paragraphs
                                                   allegations in            1–293 of
                                                                  paragraphs 1-293 of

this
this Complaint.
     Complaint.
   327.
   327. By
        By punishing and threatening
           punishing and threatening to
                                     to punish Plaintiffs for
                                        punish Plaintiffs for exercising
                                                              exercising their
                                                                         their
sincerely held
sincerely held religious beliefs in
               religious beliefs in the
                                    the way
                                        way they
                                            they discuss issues regarding
                                                 discuss issues regarding gender-
                                                                          gender-
identity education
identity education policy,
                   policy, Defendants
                           Defendants have violated and
                                      have violated and are
                                                        are violating
                                                            violating Plaintiffs’
                                                                      Plaintiffs' right
                                                                                  right
to free exercise
to free          of religion
        exercise of religion under
                             under the
                                   the First Amendment.
                                       First Amendment.
   328.
   328. Plaintiffs’ views and
        Plaintiffs' views and expression
                              expression related to gender-identity
                                         related to gender-identity education
                                                                    education policy
                                                                              policy
are motivated
are           by their
    motivated by       sincerely held
                 their sincerely held religious beliefs, are
                                      religious beliefs, are avenues
                                                             avenues through
                                                                     through which
                                                                             which
they
they exercise
     exercise their
              their religious
                    religious faith, and constitute
                              faith, and constitute a
                                                    a central
                                                      central component
                                                              component of
                                                                        of their
                                                                           their

sincerely held
sincerely held religious beliefs.
               religious beliefs.
   329.
   329. Defendants’
        Defendants' Speech Policies and
                    Speech Policies and related
                                        related practices are neither
                                                practices are         neutral nor
                                                              neither neutral nor
generally
generally applicable. The policies
          applicable. The          instead allow
                          policies instead       Defendants to
                                           allow Defendants to target
                                                               target religious
                                                                      religious
expression
expression and activities specifically
           and activities specifically and
                                       and to
                                           to demonstrate
                                              demonstrate hostility
                                                          hostility to that expression.
                                                                    to that expression.
   330.
   330. Defendants’
        Defendants' Speech Policies and
                    Speech Policies and related
                                        related practices are neither
                                                practices are         neutral nor
                                                              neither neutral nor
generally
generally applicable because they
          applicable because they represent a system
                                  represent a system of
                                                     of individualized
                                                        individualized assessments.
                                                                       assessments.

   331.
   331. Defendants’
        Defendants' Speech
                    Speech Policies and related
                           Policies and related practices are underinclusive,
                                                practices are underinclusive,
prohibiting some expression
prohibiting some expression while leaving other
                            while leaving other expression
                                                expression equally
                                                           equally harmful
                                                                   harmful to
                                                                           to the
                                                                              the
District’s asserted
District's asserted interests
                    interests unprohibited.
                              unprohibited.
   332.
   332. Defendants violated Plaintiffs’
        Defendants violated Plaintiffs' right
                                        right to free exercise
                                              to free          of religion
                                                      exercise of religion when
                                                                           when they
                                                                                they
applied their
applied their Original
              Original Speech
                       Speech Policy to Plaintiffs
                              Policy to Plaintiffs and
                                                   and disciplined
                                                       disciplined them for
                                                                   them for
communicating their
communicating their religiously informed views
                    religiously informed views on
                                               on issues
                                                  issues related to gender-identity
                                                         related to gender-identity
education
education policy. And Defendants
          policy. And Defendants continue
                                 continue to
                                          to do so under
                                             do so       the Amended
                                                   under the Amended Speech
                                                                     Speech Policy
                                                                            Policy
by threatening
by threatening to
               to punish
                  punish them
                         them if they continue
                              if they continue to communicate their
                                               to communicate       beliefs.
                                                              their beliefs.
   333.
   333. Defendants showed hostility
        Defendants showed hostility to
                                    to Plaintiffs’
                                       Plaintiffs' religious beliefs by
                                                   religious beliefs by questioning
                                                                        questioning
whether those
whether those religious beliefs on
              religious beliefs on gender identity made
                                   gender identity made Plaintiffs
                                                        Plaintiffs unfit
                                                                   unfit to work as
                                                                         to work as

educators.
educators.




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   334.
   334. Defendants’
        Defendants' Speech
                    Speech Policies and related
                           Policies and related practices
                                                practices and Defendants’ discipline
                                                          and Defendants' discipline
and threatened
and threatened discipline of Plaintiffs
               discipline of Plaintiffs for speaking their
                                        for speaking their deeply
                                                           deeply held
                                                                  held religious beliefs
                                                                       religious beliefs
violate Plaintiffs’
violate Plaintiffs' right
                    right to
                          to free
                             free exercise of religion
                                  exercise of          as guaranteed
                                              religion as            by the
                                                          guaranteed by the First
                                                                            First
Amendment to
Amendment    the United
          to the United States
                        States Constitution.
                               Constitution.




                            FIFTH C
                            FIFTH             ACTION
                                     AUSE OF ACTION
                                    CAUSE
           Violation of
           Violation of Plaintiffs’
                        Plaintiffs' Fourteenth   Amendment Right
                                    Fourteenth Amendment         to
                                                           Right to
                             Due Process
                             Due    Process of
                                             of Law
                                                Law
                               (42
                               (42 U.S.C.  § 1983)
                                    U.S.C. § 1983)
   335.
   335. Plaintiffs
        Plaintiffs repeat
                   repeat and
                          and reallege
                              reallege each of the
                                       each of     allegations in
                                               the allegations in paragraphs 1–293 of
                                                                  paragraphs 1-293 of

this
this Complaint.
     Complaint.
   336.
   336. By
        By punishing and threatening
           punishing and threatening to
                                     to punish Plaintiffs under
                                        punish Plaintiffs       vague and
                                                          under vague and

overbroad Speech
overbroad Speech Policies,
                 Policies, Defendants
                           Defendants have violated and
                                      have violated and are
                                                        are violating
                                                            violating Plaintiffs’
                                                                      Plaintiffs'
right
right to
      to due
         due process of law
             process of law under
                            under the
                                  the Fourteenth Amendment.
                                      Fourteenth Amendment.
   337.
   337. Defendants’
        Defendants' Speech
                    Speech Policies and related
                           Policies and related practices are overbroad
                                                practices are overbroad because
                                                                        because they
                                                                                they
encompass a substantial
encompass a substantial amount of constitutionally
                        amount of constitutionally protected speech.
                                                   protected speech.
   338.
   338. Plaintiffs’
        Plaintiffs' expression
                    expression regarding
                               regarding gender-identity
                                         gender-identity education
                                                         education policy is protected
                                                                   policy is protected
by the
by the First Amendment.
       First Amendment.
   339.
   339. By
        By placing Plaintiffs on
           placing Plaintiffs on administrative
                                 administrative leave,
                                                leave, threatening
                                                       threatening to
                                                                   to terminate
                                                                      terminate them,
                                                                                them,
launching a
launching a formal
            formal investigation
                   investigation into
                                 into them,
                                      them, prohibiting them from
                                            prohibiting them from conducting
                                                                  conducting school
                                                                             school

business, and
business, and preventing
              preventing them
                         them from
                              from taking other opportunities
                                   taking other opportunities for
                                                              for pay, Defendants
                                                                  pay, Defendants
have
have punished
     punished Plaintiffs for engaging
              Plaintiffs for          in expression
                             engaging in            the First
                                         expression the       Amendment protects.
                                                        First Amendment protects.
   340.
   340. Defendants’
        Defendants' Speech
                    Speech Policies and related
                           Policies and related practices are unconstitutionally
                                                practices are unconstitutionally
vague.
vague.
   341.
   341. The
        The Original
            Original Speech
                     Speech Policy
                            Policy granted, and as
                                   granted, and as applied
                                                   applied to
                                                           to Plaintiffs continues to
                                                              Plaintiffs continues to
grant,
grant, School District Officials,
       School District Officials, including
                                  including Defendants,
                                            Defendants, unbridled
                                                        unbridled discretion in
                                                                  discretion in
deciding what constitutes
deciding what constitutes a
                          a "controversial
                            “controversial issue.”
                                           issue."


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                                 Verified Complaint, 44
                                                     44
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   342.
   342. The Amended Speech
        The Amended Speech Policy
                           Policy gives
                                  gives School
                                        School District officials, including
                                               District officials, including

Defendants, unbridled
Defendants, unbridled discretion in deciding
                      discretion in          what constitutes
                                    deciding what constitutes a
                                                              a "political
                                                                “political or
                                                                           or civil
                                                                              civil

issue,” "controversial
issue," “controversial civil
                       civil issue,"
                             issue,” and
                                     and "controversial
                                         “controversial issue."
                                                        issue.”

   343.
   343. The
        The Speech
            Speech Policies
                   Policies used and continue
                            used and continue to
                                              to use terms that
                                                 use terms that are
                                                                are inherently
                                                                    inherently
subjective and
subjective and elude any precise
               elude any         or objective
                         precise or objective definition
                                              definition that would be
                                                         that would be consistent
                                                                       consistent from
                                                                                  from
one official,
one official, teacher, or student
              teacher, or student to another and
                                  to another and because
                                                 because they were and
                                                         they were and are
                                                                       are incapable
                                                                           incapable

of providing
of providing meaningful
             meaningful guidance
                        guidance to District officials,
                                 to District officials, including
                                                        including Defendants.
                                                                  Defendants.
   344.
   344. The
        The Original
            Original Speech
                     Speech Policy
                            Policy forced
                                   forced Plaintiffs to guess
                                          Plaintiffs to       whether expression
                                                        guess whether expression that
                                                                                 that
the
the First Amendment protected
    First Amendment           was in
                    protected was in fact
                                     fact allowed.
                                          allowed.

   345.
   345. The
        The Original
            Original Speech
                     Speech Policy
                            Policy forced
                                   forced Plaintiffs to guess
                                          Plaintiffs to       whether their
                                                        guess whether their
expression
expression that the First
           that the       Amendment protected
                    First Amendment protected had
                                              had to be accompanied
                                                  to be accompanied by
                                                                    by the
                                                                       the

compelled disclaimer.
compelled disclaimer.
   346.
   346. The Amended Speech
        The Amended Speech Policy forces District
                           Policy forces District employees, including Plaintiffs,
                                                  employees, including Plaintiffs,

to
to guess whether their
   guess whether their expression
                       expression that
                                  that the
                                       the First Amendment protects
                                           First Amendment          is in
                                                           protects is in fact
                                                                          fact

allowed while
allowed while on
              on District
                 District premises or acting
                          premises or acting within the scope
                                             within the scope of
                                                              of employment.
                                                                 employment.
   347.
   347. The Amended Speech
        The Amended Speech Policy forces District
                           Policy forces District employees, including Plaintiffs,
                                                  employees, including Plaintiffs,

to
to guess whether their
   guess whether their off-duty
                       off-duty expression that the
                                expression that the First Amendment protects
                                                    First Amendment protects must
                                                                             must
be accompanied
be accompanied by
               by the
                  the policy’s compelled disclaimer.
                      policy's compelled disclaimer.
   348.
   348. The lack of
        The lack of objective
                    objective criteria,
                              criteria, factors, or standards
                                        factors, or standards in
                                                              in Defendants'
                                                                 Defendants’ Speech
                                                                             Speech
Policies and related
Policies and related practices
                     practices renders
                               renders the
                                       the policies
                                           policies and
                                                    and practices
                                                        practices unconstitutionally
                                                                  unconstitutionally
vague and
vague and in
          in violation
             violation of
                       of Plaintiffs’
                          Plaintiffs' right to due
                                      right to due process of law
                                                   process of law under the Fourteenth
                                                                  under the Fourteenth
Amendment.
Amendment.
                            SIXTH C
                            SIXTH             ACTION
                                     AUSE OF ACTION
                                    CAUSE
           Violation of
           Violation of Plaintiffs’
                        Plaintiffs' Fourteenth   Amendment Right
                                    Fourteenth Amendment         to
                                                           Right to
                         Equal
                         Equal Protection
                                Protection ofof the
                                                the Laws
                                                    Laws
                               (42
                               (42 U.S.C.  § 1983)
                                    U.S.C. § 1983)
   349.
   349. Plaintiffs
        Plaintiffs repeat
                   repeat and
                          and reallege
                              reallege each of the
                                       each of     allegations in
                                               the allegations in paragraphs 1–293 of
                                                                  paragraphs 1-293 of

this
this Complaint.
     Complaint.




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   350.
   350. By
        By punishing and threatening
           punishing and threatening to
                                     to punish
                                        punish Plaintiffs
                                               Plaintiffs for
                                                          for expressing their views
                                                              expressing their views

regarding
regarding gender-identity
          gender-identity education
                          education policy
                                    policy when they have
                                           when they have not
                                                          not punished
                                                              punished District
                                                                       District
employees who express
employees who         opposite views
              express opposite views on
                                     on those same subjects
                                        those same subjects and other
                                                            and other
“controversial issues,"
"controversial issues,” "political
                        “political issues,"
                                   issues,” or
                                            or "controversial
                                               “controversial civil
                                                              civil issue[s],"
                                                                    issue[s],” Defendants
                                                                               Defendants

have violated and
have violated and are violating Plaintiffs’
                  are violating Plaintiffs' right to equal
                                            right to equal protection of the
                                                           protection of     laws under
                                                                         the laws under
the
the Fourteenth Amendment.
    Fourteenth Amendment.
   351.
   351. Plaintiffs are similarly
        Plaintiffs are similarly situated
                                 situated to other employees
                                          to other           at the
                                                   employees at the District.
                                                                    District.

   352.
   352. Defendants
        Defendants have taken no
                   have taken no disciplinary action against
                                 disciplinary action against employees
                                                             employees who support
                                                                       who support
and endorse
and endorse the concept of
            the concept of shifting
                           shifting gender
                                    gender identity.
                                           identity.
   353.
   353. But Defendants have
        But Defendants      taken, and
                       have taken, and continue
                                       continue to take, disciplinary
                                                to take, disciplinary action against
                                                                      action against
Plaintiffs, who have
Plaintiffs, who have different views on
                     different views on those concepts.
                                        those concepts.
   354.
   354. Defendants’
        Defendants' Speech Policies have
                    Speech Policies      been and
                                    have been and are
                                                  are applied
                                                      applied to
                                                              to discriminate
                                                                 discriminate
intentionally against
intentionally against Plaintiffs’
                      Plaintiffs' rights
                                  rights to
                                         to freedom of speech,
                                            freedom of speech, right
                                                               right to be free
                                                                     to be free from
                                                                                from
compelled speech,
compelled speech, free
                  free exercise of religion,
                       exercise of religion, right to be
                                             right to be free from unconstitutional
                                                         free from unconstitutional

conditions, and
conditions, and right to due
                right to due process of law.
                             process of law.

   355.
   355. Thus,
        Thus, discriminatory intent is
              discriminatory intent is presumed.
                                       presumed.
   356.
   356. Defendants’
        Defendants' Speech
                    Speech Policies and related
                           Policies and related practices
                                                practices have burdened and
                                                          have burdened     are
                                                                        and are
burdening Plaintiffs'
burdening Plaintiffs’ fundamental
                      fundamental rights and have
                                  rights and have targeted and are
                                                  targeted and are targeting a
                                                                   targeting a
suspect class
suspect class (i.e.,
              (i.e., religious adherents).
                     religious adherents).
   357.
   357. Defendants’
        Defendants' Speech
                    Speech Policies and related
                           Policies and related practices are underinclusive,
                                                practices are underinclusive,
prohibiting some expression
prohibiting some expression while leaving other
                            while leaving other expression
                                                expression equally
                                                           equally harmful
                                                                   harmful to
                                                                           to the
                                                                              the
District’s asserted
District's asserted interests
                    interests unprohibited.
                              unprohibited.
   358.
   358. Defendants
        Defendants have applied and
                   have applied and are applying their
                                    are applying their Speech
                                                       Speech Policies
                                                              Policies and
                                                                       and related
                                                                           related
practices
practices to Plaintiffs in
          to Plaintiffs in a
                           a discriminatory
                             discriminatory and
                                            and unequal
                                                unequal manner,
                                                        manner, granting other
                                                                granting other
employees the right
employees the       to express
              right to express their views on
                               their views on issues
                                              issues related
                                                     related to gender identity
                                                             to gender identity while
                                                                                while
denying
denying that
        that right
             right to Plaintiffs, in
                   to Plaintiffs, in violation
                                     violation of
                                               of Plaintiffs’
                                                  Plaintiffs' right
                                                              right to
                                                                    to equal
                                                                       equal protection of
                                                                             protection of
the laws under
the laws       the Fourteenth
         under the            Amendment.
                   Fourteenth Amendment.


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                           S EVENTH C
                           SEVENTH             ACTION
                                       AUSE OF ACTION
                                     CAUSE
 Violation of
 Violation of Plaintiffs’
              Plaintiffs' Right
                          Right to
                                 to be
                                    be Free from Unconstitutional
                                       Free from  Unconstitutional Conditions
                                                                   Conditions
                                (42
                                (42 U.S.C. § 1983)
                                    U.S.C. § 1983)
   359.
   359. Plaintiffs
        Plaintiffs repeat and reallege
                   repeat and reallege each of the
                                       each of the allegations in paragraphs1–293
                                                   allegations in                 of
                                                                  paragraphs)-293 of
this
this Complaint.
     Complaint.
   360.
   360. By
        By conditioning
           conditioning Plaintiffs’ status as
                        Plaintiffs' status as staff
                                              staff in
                                                    in good standing in
                                                       good standing in the
                                                                        the District
                                                                            District (and
                                                                                     (and
ultimately
ultimately their
           their employment at the
                 employment at the District)
                                   District) on
                                             on their
                                                their willingness
                                                      willingness to surrender various
                                                                  to surrender various

constitutional rights,
constitutional rights, Defendants
                       Defendants have imposed and
                                  have imposed and are
                                                   are imposing an unconstitutional
                                                       imposing an unconstitutional
condition on
condition on Plaintiffs
             Plaintiffs in
                        in violation
                           violation of
                                     of the
                                        the First Amendment.
                                            First Amendment.
   361.
   361. Defendants’
        Defendants' Speech
                    Speech Policies and enforcement
                           Policies and             of those
                                        enforcement of those policies imposed and
                                                             policies imposed and

continue to
continue    impose an
         to impose an unconstitutional
                      unconstitutional condition
                                       condition upon staff members’
                                                 upon staff members' right
                                                                     right to free
                                                                           to free
speech and
speech and their
           their receipt of state
                 receipt of state benefits
                                  benefits (e.g., avoiding disciplinary
                                           (e.g., avoiding disciplinary actions, including
                                                                        actions, including
termination,
termination, remaining staff at
             remaining staff at a
                                a public school district).
                                  public school district).
   362.
   362. Defendants’
        Defendants' Speech
                    Speech Policies
                           Policies and
                                    and enforcement of those
                                        enforcement of those policies
                                                             policies required and
                                                                      required and
continue to
continue to require
            require Plaintiffs
                    Plaintiffs and other District
                               and other District staff
                                                  staff to surrender their
                                                        to surrender their
constitutionally protected
constitutionally protected rights
                           rights to freedom of
                                  to freedom of speech,
                                                speech, free
                                                        free exercise of religion,
                                                             exercise of religion, due
                                                                                   due
process, and equal
process, and equal protection
                   protection to
                              to avoid
                                 avoid disciplinary actions, including
                                       disciplinary actions, including termination.
                                                                       termination.
   363.
   363. Defendants’
        Defendants' Speech
                    Speech Policies and enforcement
                           Policies and             of those
                                        enforcement of those policies violate
                                                             policies violate
Plaintiffs’
Plaintiffs' right
            right to be free
                  to be      from unconstitutional
                        free from                     conditions.
                                   unconstitutional conditions.
                                E IGHTH C
                                EIGHTH                ACTION
                                            AUSE OF ACTION
                                         CAUSE
   Violation of
   Violation    of Plaintiffs’
                    Plaintiffs' Rights
                                Rights of    Speech: Retaliation,
                                        of Speech:     Retaliation, Prior
                                                                      Prior Restraint,
                                                                            Restraint,
       Content
       Content and and Viewpoint
                        Viewpoint Discrimination,
                                     Discrimination, and and Compelled      Speech
                                                               Compelled Speech
                  (Oregon Const.
                  (Oregon            Art. II §
                             Const. Art.     § 8;
                                               8; Or.
                                                  Or. Rev. Stat. §
                                                      Rev. Stat.  § 30.265)
                                                                    30.265)
   364.
   364. Plaintiffs
        Plaintiffs repeat
                   repeat and
                          and reallege
                              reallege each of the
                                       each of     allegations in
                                               the allegations in paragraphs 1–293 of
                                                                  paragraphs 1-293 of

this
this Complaint.
     Complaint.
   365.
   365. By
        By punishing and threatening
           punishing and threatening to
                                     to punish
                                        punish Plaintiffs
                                               Plaintiffs for
                                                          for expressing their views
                                                              expressing their views

regarding
regarding gender-identity
          gender-identity education
                          education policy,
                                    policy, Defendants
                                            Defendants have
                                                       have retaliated and are
                                                            retaliated and are
retaliating against Plaintiffs
retaliating against            for exercising
                    Plaintiffs for            their free
                                   exercising their free speech
                                                         speech rights.
                                                                rights.




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   366. When Plaintiffs
   366. When            communicated their
             Plaintiffs communicated       views regarding
                                     their views regarding gender-identity
                                                           gender-identity
education
education policy,
          policy, they were speaking
                  they were speaking as
                                     as private citizens on
                                        private citizens on a
                                                            a matter of public
                                                              matter of        concern
                                                                        public concern
and engaging
and engaging in
             in expression
                expression the
                           the Oregon
                               Oregon Constitution
                                      Constitution protects.
                                                   protects.
   367.
   367. Plaintiffs’ interest, as
        Plaintiffs' interest, as private citizens discussing
                                 private citizens discussing matters of public
                                                             matters of        concern
                                                                        public concern
outweighs Defendants'
outweighs Defendants’ interest
                      interest in
                               in the
                                  the efficient
                                      efficient provision of services.
                                                provision of services.

   368.
   368. Defendants’
        Defendants' disciplinary action and
                    disciplinary action and their
                                            their threatened future disciplinary
                                                  threatened future disciplinary
action would
action would deter a person
             deter a        of ordinary
                     person of ordinary firmness
                                        firmness from
                                                 from exercising
                                                      exercising her
                                                                 her right to free
                                                                     right to free
speech in
speech in the
          the future.
              future.
   369.
   369. Defendants
        Defendants have taken disciplinary
                   have taken              action against
                              disciplinary action against Plaintiffs
                                                          Plaintiffs and
                                                                     and threaten
                                                                         threaten to
                                                                                  to
do so in
do so in the
         the future because of
             future because of the
                               the views
                                   views Plaintiffs
                                         Plaintiffs have
                                                    have expressed on matters
                                                         expressed on         of public
                                                                      matters of public
concern in
concern    the context
        in the context of
                       of teaching and scholarship,
                          teaching and scholarship, expression
                                                    expression that the Oregon
                                                               that the Oregon
Constitution
Constitution protects.
             protects.
   370.
   370. Defendants subjected Plaintiffs
        Defendants subjected Plaintiffs to
                                        to discipline
                                           discipline and
                                                      and threaten
                                                          threaten to
                                                                   to do so again
                                                                      do so again in
                                                                                  in

the future due
the future due to
               to the content and
                  the content     viewpoint of
                              and viewpoint of Plaintiffs’ speech.
                                               Plaintiffs' speech.
   371.
   371. By
        By placing Plaintiffs on
           placing Plaintiffs on administrative
                                 administrative leave,
                                                leave, Defendants
                                                       Defendants have
                                                                  have punished
                                                                       punished
Plaintiffs for engaging
Plaintiffs for engaging in
                        in expression
                           expression the Oregon Constitution
                                      the Oregon Constitution protects.
                                                              protects.
   372.
   372. Defendants’
        Defendants' Speech
                    Speech Policies
                           Policies required and continue
                                    required and continue to
                                                          to require officials to
                                                             require officials to
evaluate
evaluate the content and
         the content and viewpoint
                         viewpoint of
                                   of employee
                                      employee expression
                                               expression to
                                                          to determine whether it
                                                             determine whether it
constitutes speech
constitutes speech on
                   on a “controversial issue."
                      a "controversial issue.”

   373.
   373. Defendants
        Defendants considered
                   considered the content and
                              the content     viewpoint of
                                          and viewpoint of Plaintiffs’
                                                           Plaintiffs' expression
                                                                       expression
when they
when they decided
          decided to
                  to enforce their Original
                     enforce their Original Speech
                                            Speech Policy
                                                   Policy against
                                                          against Plaintiffs. And
                                                                  Plaintiffs. And
Defendants threaten
Defendants threaten to
                    to do so again
                       do so again under the Amended
                                   under the Amended Speech
                                                     Speech Policy if Plaintiffs
                                                            Policy if Plaintiffs
continue to
continue to express
            express their views.
                    their views.
   374.
   374. Defendants’
        Defendants' Original
                    Original Speech
                             Speech Policy
                                    Policy placed a prior
                                           placed a prior restraint on speech
                                                          restraint on speech by
                                                                              by

prohibiting
prohibiting discussion of political
            discussion of           or civil
                          political or civil issues
                                             issues during the performance
                                                    during the             of District
                                                               performance of District

duties.
duties.




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                                  Verified Complaint, 48
                                                      48
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   375.
   375. Defendants’ Amended Speech
        Defendants' Amended Speech Policy
                                   Policy places a prior
                                          places a prior restraint on speech
                                                         restraint on speech by
                                                                             by

prohibiting
prohibiting employees from speaking
            employees from speaking on
                                    on one
                                       one side
                                           side of
                                                of any
                                                   any political or controversial
                                                       political or               civil
                                                                    controversial civil
issue while
issue       on District
      while on District premises or within
                        premises or within the scope of
                                           the scope of their
                                                        their employment.
                                                              employment.
   376.
   376. Defendants’
        Defendants' Speech
                    Speech Policies confer unbridled
                           Policies confer unbridled discretion
                                                     discretion upon
                                                                upon School
                                                                     School District
                                                                            District
officials, including
officials, including Defendants,
                     Defendants, to
                                 to discriminate based on
                                    discriminate based on content
                                                          content or
                                                                  or viewpoint.
                                                                     viewpoint.

   377.
   377. Defendants
        Defendants exercised
                   exercised this
                             this unbridled
                                  unbridled discretion when they
                                            discretion when they punished
                                                                 punished Plaintiffs
                                                                          Plaintiffs
for expressing
for expressing their views regarding
               their views regarding gender-identity
                                     gender-identity education
                                                     education policy.
                                                               policy.
   378.
   378. Defendants’
        Defendants' Speech
                    Speech Policies
                           Policies and
                                    and enforcement of those
                                        enforcement of those policies
                                                             policies are
                                                                      are
unconstitutionally overbroad because
unconstitutionally overbroad because they
                                     they restrict a significant
                                          restrict a significant amount of
                                                                 amount of
constitutionally protected
constitutionally           speech.
                 protected speech.
   379.
   379. The overbreadth of
        The overbreadth of Defendants'
                           Defendants’ Amended
                                       Amended Speech
                                               Speech Policy chills the
                                                      Policy chills the speech
                                                                        speech of
                                                                               of

Plaintiffs, who seek
Plaintiffs, who seek to
                     to engage in protected
                        engage in protected expression in their
                                            expression in       interactions with
                                                          their interactions with

students, staff,
students, staff, and
                 and the
                     the public on and
                         public on and off
                                       off District
                                           District premises, on and
                                                    premises, on and off
                                                                     off duty,
                                                                         duty, and within
                                                                               and within
the scope of
the scope of their
             their employment.
                   employment.
   380.
   380. By
        By punishing and threatening
           punishing and threatening to
                                     to punish
                                        punish Plaintiffs
                                               Plaintiffs for
                                                          for refusing
                                                              refusing to
                                                                       to
communicate a
communicate a District-compelled
              District-compelled disclaimer on speech
                                 disclaimer on speech the District considers
                                                      the District considers

“controversial,” Defendants
"controversial," Defendants have
                            have attempted
                                 attempted and are attempting
                                           and are attempting to compel Plaintiffs’
                                                              to compel Plaintiffs'
speech, in
speech, in violation
           violation of
                     of their
                        their rights
                              rights under
                                     under the
                                           the Oregon
                                               Oregon Constitution.
                                                      Constitution.
   381.
   381. Defendants’
        Defendants' Speech
                    Speech Policies
                           Policies and
                                    and enforcement of those
                                        enforcement of those policies
                                                             policies compelled and
                                                                      compelled and
continue to
continue    compel Plaintiffs
         to compel Plaintiffs to communicate a
                              to communicate a disclaimer
                                               disclaimer that
                                                          that they
                                                               they do
                                                                    do not wish to
                                                                       not wish to
communicate and
communicate and otherwise
                otherwise would
                          would not communicate.
                                not communicate.
   382.
   382. Plaintiffs challenge, on
        Plaintiffs challenge, on an
                                 an as-applied
                                    as-applied basis,
                                               basis, that
                                                      that part of Defendants'
                                                           part of Defendants’ Original
                                                                               Original
Speech
Speech Policy
       Policy that censored speech
              that censored speech on
                                   on "controversial
                                      “controversial issues"
                                                     issues” and
                                                             and compelled
                                                                 compelled Plaintiffs
                                                                           Plaintiffs
to speak the
to speak the required
             required disclaimer.
                      disclaimer.
   383.
   383. Plaintiffs challenge, both
        Plaintiffs challenge, both facially
                                   facially and on an
                                            and on an as-applied
                                                      as-applied basis,
                                                                 basis, those
                                                                        those parts of
                                                                              parts of
Defendants Amended
Defendants Amended Speech
                   Speech Policy
                          Policy that
                                 that censor speech on
                                      censor speech on "political
                                                       “political or
                                                                  or civil
                                                                     civil issues,"
                                                                           issues,”




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“controversial civil
"controversial civil issue
                     issue[s],”
                          [s]," and “controversial issues"
                                and "controversial issues” and
                                                           and that compels Plaintiffs
                                                               that compels Plaintiffs to
                                                                                       to
speak the
speak the required
          required disclaimer.
                   disclaimer.
   384. Defendants’
   384. Defendants' Speech
                    Speech Policies, their enforcement
                           Policies, their             of those
                                           enforcement of those policies, and
                                                                policies, and
the
the disciplinary actions taken
    disciplinary actions       against Plaintiffs
                         taken against            based on
                                       Plaintiffs based on their speech violate
                                                           their speech violate
Plaintiffs’
Plaintiffs' right
            right to free speech
                  to free        as guaranteed
                          speech as guaranteed by
                                               by Article
                                                  Article I, § 8,
                                                          I, § 8, of
                                                                  of the Oregon
                                                                     the Oregon
Constitution.
Constitution.


                            NINTH C
                            NINTH               ACTION
                                      AUSE OF ACTION
                                   CAUSE
Violation of
Violation of Plaintiffs’
             Plaintiffs' Rights
                         Rights of
                                of Conscience,
                                   Conscience, FreeFree Exercise
                                                        Exercise ofof Religion, and
                                                                      Religion, and
                      Enjoyment
                      Enjoyment of of Religious    Opinions
                                        Religious Opinions
              (Oregon Const.
              (Oregon           Art. II §
                         Const. Art.    § 3;
                                          3; Or.
                                             Or. Rev. Stat. §
                                                 Rev. Stat. § 30.265)
                                                              30.265)
   385.
   385. Plaintiffs
        Plaintiffs repeat
                   repeat and
                          and reallege
                              reallege each of the
                                       each of     allegations in
                                               the allegations in paragraphs 1–293 of
                                                                  paragraphs 1-293 of

this
this Complaint.
     Complaint.
   386.
   386. By
        By punishing and threatening
           punishing and threatening to
                                     to punish Plaintiffs for
                                        punish Plaintiffs for exercising and
                                                              exercising and
expressing
expressing their sincerely held
           their sincerely held religious beliefs according
                                religious beliefs according to
                                                            to the
                                                               the dictates of their
                                                                   dictates of       own
                                                                               their own
consciences in
consciences in the way they
               the way they discuss issues regarding
                            discuss issues regarding gender-identity
                                                     gender-identity education
                                                                     education policy,
                                                                               policy,
Defendants have
Defendants      violated and
           have violated and are
                             are violating
                                 violating Plaintiffs’
                                           Plaintiffs' right
                                                       right to free exercise
                                                             to free          of religion
                                                                     exercise of religion
under Article I,
under Article I, §§ 3, of the
                    3, of the Oregon
                              Oregon Constitution.
                                     Constitution.
   387.
   387. The
        The religious convictions Plaintiffs
            religious convictions Plaintiffs expressed and with
                                             expressed and with which
                                                                which they sought to
                                                                      they sought to
live in
live in accordance
        accordance are
                   are sincerely
                       sincerely held
                                 held religious beliefs.
                                      religious beliefs.
   388.
   388. Defendants have infringed
        Defendants have infringed on
                                  on Plaintiffs’
                                     Plaintiffs' right
                                                 right to
                                                       to engage
                                                          engage freely in their
                                                                 freely in their
religious
religious practices
          practices and opinions by
                    and opinions by disciplining
                                    disciplining Plaintiffs for expressing
                                                 Plaintiffs for expressing their
                                                                           their
religious views and
religious views and enforcing
                    enforcing Defendants’
                              Defendants' Speech
                                          Speech Policies to censor
                                                 Policies to censor Plaintiffs.
                                                                    Plaintiffs.
   389.
   389. Defendants’
        Defendants' Speech
                    Speech Policies
                           Policies and
                                    and related
                                        related practices
                                                practices do
                                                          do not serve any
                                                             not serve any

government interests of
government interests of sufficient
                        sufficient magnitude
                                   magnitude to override Plaintiffs’
                                             to override Plaintiffs' right to live
                                                                     right to      out
                                                                              live out
the
the dictates of their
    dictates of       faith according
                their faith according to
                                      to their
                                         their own
                                               own conscience
                                                   conscience and
                                                              and express
                                                                  express their
                                                                          their religious
                                                                                religious
opinions.
opinions.




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   390.
   390. Defendants also showed
        Defendants also showed hostility
                               hostility to
                                         to Plaintiffs’
                                            Plaintiffs' religious beliefs by
                                                        religious beliefs by questioning
                                                                             questioning
whether those
whether those religious beliefs on
              religious beliefs on gender identity made
                                   gender identity made Plaintiffs
                                                        Plaintiffs unfit
                                                                   unfit to work as
                                                                         to work as

educators.
educators.
   391. Defendants’
   391. Defendants'     disciplinary
                        disciplinary    actions,
                                        actions,    Speech
                                                    Speech     Policies,
                                                               Policies,   and
                                                                           and    their
                                                                                  their
enforcement of those
enforcement of those policies violate Plaintiffs’
                     policies violate Plaintiffs' right
                                                  right to free exercise
                                                        to free          of religion
                                                                exercise of religion
and enjoyment
and           of opinions
    enjoyment of opinions as
                          as guaranteed by Article
                             guaranteed by Article I, § 3,
                                                   I, §    of the
                                                        3, of the Oregon
                                                                  Oregon
Constitution.
Constitution.
                                P RAYER FOR R
                                PRAYER        ELIEF
                                            RELIEF
   WHEREFORE, Plaintiffs
   WHEREFORE, Plaintiffs respectfully
                         respectfully request
                                      request that
                                              that this
                                                   this Court
                                                        Court enter
                                                              enter judgment
                                                                    judgment
against Defendants
against Defendants and
                   and provide
                       provide Plaintiffs with the
                               Plaintiffs with the following
                                                   following relief:
                                                             relief:
   A. A
   A. A judgment
        judgment declaring:
                 declaring:
      1. Defendants'
      1. Defendants’ retaliation against Plaintiffs
                     retaliation against Plaintiffs for
                                                    for expressing
                                                        expressing their views
                                                                   their views
         regarding
         regarding gender-identity
                   gender-identity education
                                   education policy violates their
                                             policy violates their rights
                                                                   rights under
                                                                          under the
                                                                                the
         First and Fourteenth
         First and            Amendments to
                   Fourteenth Amendments to the
                                            the United
                                                United States
                                                       States Constitution
                                                              Constitution and
                                                                           and
         under Article I,
         under Article I, §§ 8, of the
                             8, of the Oregon
                                       Oregon Constitution;
                                              Constitution;
      2. As applied,
      2. As          the Original
            applied, the Original Speech
                                  Speech Policy’s failure to
                                         Policy's failure to define “controversial
                                                             define "controversial
         issue” and
         issue" and disclaimer
                    disclaimer requirement violate the
                               requirement violate the First
                                                       First and
                                                             and Fourteenth
                                                                 Fourteenth
         Amendments to
         Amendments to the United States
                       the United States Constitution and Article
                                         Constitution and Article I, §§ 3
                                                                  I, §§   and 8,
                                                                        3 and    of
                                                                              8, of
         the
         the Oregon
             Oregon Constitution;
                    Constitution;
      3.
      3. Both
         Both facially and as
              facially and as applied,
                              applied, the
                                       the Amended
                                           Amended Speech
                                                   Speech Policy’s
                                                          Policy's (a)
                                                                   (a) definition of
                                                                       definition of
         “political or
         "political or civil
                       civil issue”;
                             issue"; (b)
                                     (b) definition of "controversial
                                         definition of “controversial civil issue”;
                                                                      civil issue";
         (c)
         (c) disclaimer
             disclaimer requirement; and (d)
                        requirement; and (d) prohibition against employees
                                             prohibition against employees engaging
                                                                           engaging
         in speech
         in speech supporting
                   supporting one
                              one side
                                  side of
                                       of "political
                                          “political or
                                                     or controversial
                                                        controversial civil
                                                                      civil issue"
                                                                            issue” while
                                                                                   while

         on District
         on District premises or acting
                     premises or acting within
                                        within the scope of
                                               the scope of employment violate the
                                                            employment violate the
         First and Fourteenth
         First and            Amendments to
                   Fourteenth Amendments to the United States
                                            the United States Constitution and
                                                              Constitution and
         Article I,
         Article I, §§
                    §§ 3
                       3 and
                         and 8,
                             8, of
                                of the
                                   the Oregon
                                       Oregon Constitution;
                                              Constitution;




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B. A temporary
B. A temporary restraining order and
               restraining order and a
                                     a preliminary and permanent
                                       preliminary and           injunction
                                                       permanent injunction
   directing Defendants sued
   directing Defendants sued in
                             in their
                                their official
                                      official capacities
                                               capacities and
                                                          and their
                                                              their agents,
                                                                    agents, officials,
                                                                            officials,

   servants, employees,
   servants,            and any
             employees, and any other
                                other persons
                                      persons acting on their
                                              acting on       behalf to
                                                        their behalf to reinstate
                                                                        reinstate
   Plaintiffs
   Plaintiffs to their respective
              to their respective positions at North
                                  positions at       Middle School.
                                               North Middle School.
C. A preliminary
C. A preliminary and
                 and permanent injunction directing
                     permanent injunction           Defendants sued
                                          directing Defendants sued in their
                                                                    in their
   official capacities
   official capacities and
                       and their agents, officials,
                           their agents, officials, servants,
                                                    servants, employees,
                                                              employees, and any
                                                                         and any
   other persons
   other         acting on
         persons acting on their
                           their behalf
                                 behalf to
                                        to remove
                                           remove from
                                                  from Plaintiffs’
                                                       Plaintiffs' personnel files
                                                                   personnel files
   any reference
   any reference to
                 to the
                    the discipline
                        discipline Defendants imposed on
                                   Defendants imposed on Plaintiffs
                                                         Plaintiffs for
                                                                    for expressing
                                                                        expressing
   their views regarding
   their views regarding gender-identity
                         gender-identity education
                                         education policy;
                                                   policy;
D. A
D. A temporary
     temporary restraining order and
               restraining order     a preliminary
                                 and a preliminary and
                                                   and permanent injunction
                                                       permanent injunction
   prohibiting Defendants sued
   prohibiting Defendants sued in
                               in their official capacities
                                  their official capacities and
                                                            and their agents,
                                                                their agents,
   officials, servants,
   officials, servants, employees, and any
                        employees, and any other
                                           other persons
                                                 persons acting on their
                                                         acting on their behalf
                                                                         behalf

   from enforcing
   from           Defendants’ Amended
        enforcing Defendants' Amended Speech
                                      Speech Policy
                                             Policy to
                                                    to (1)
                                                       (1) prohibit
                                                           prohibit Plaintiffs
                                                                    Plaintiffs
   from, or
   from, or punish Plaintiffs for,
            punish Plaintiffs for, expressing their views
                                   expressing their views on
                                                          on a “political or
                                                             a "political or

   controversial civil
   controversial civil issue,"
                       issue,” including
                               including gender-identity
                                         gender-identity education
                                                         education policy, while on
                                                                   policy, while on

   District premises;
   District premises; (2)
                      (2) prohibit Plaintiffs from,
                          prohibit Plaintiffs from, or
                                                    or punish
                                                       punish Plaintiffs
                                                              Plaintiffs for,
                                                                         for,
   expressing
   expressing their views on
              their views on a “controversial civil
                             a "controversial civil issue,"
                                                    issue,” including
                                                            including gender-
                                                                      gender-
   identity education
   identity education policy,
                      policy, while off duty;
                              while off duty; and
                                              and (3) compel Plaintiffs
                                                  (3) compel Plaintiffs to
                                                                        to speak
                                                                           speak the
                                                                                 the
   required
   required disclaimer.
            disclaimer.
E. A preliminary
E. A             and permanent
     preliminary and           injunction prohibiting
                     permanent injunction             Defendants sued
                                          prohibiting Defendants sued in
                                                                      in their
                                                                         their
   official capacities
   official capacities and
                       and their agents, officials,
                           their agents, officials, servants,
                                                    servants, employees, and any
                                                              employees, and any
   other persons
   other         acting on
         persons acting on their behalf from
                           their behalf from enforcing
                                             enforcing the Amended Speech
                                                       the Amended Speech
   Policy’s
   Policy's (a)
            (a) definition of "political
                definition of “political or
                                         or civil
                                            civil issue”;
                                                  issue"; (b)
                                                          (b) definition of "controversial
                                                              definition of “controversial

   civil issue";
   civil issue”; (c)
                 (c) disclaimer
                     disclaimer requirement; and (d)
                                requirement; and (d) prohibition against employees
                                                     prohibition against employees
   engaging in speech
   engaging in speech supporting
                      supporting one
                                 one side
                                     side of
                                          of "political
                                             “political or
                                                        or controversial
                                                           controversial civil
                                                                         civil issue"
                                                                               issue”

   while on
   while on District
            District premises or acting
                     premises or acting within
                                        within the scope of
                                               the scope of employment.
                                                            employment.
F.
F. Nominal
   Nominal damages;
           damages;


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                                                  52
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  G.
  G. Compensatory
     Compensatory damages;
                  damages;
  H.
  H. Plaintiffs’
     Plaintiffs' reasonable attorneys’ fees,
                 reasonable attorneys' fees, costs,
                                             costs, and other costs
                                                    and other costs and
                                                                    and disbursements
                                                                        disbursements
      in this
      in this action
              action under to 42
                     under to    U.S.C. §
                              42 U.S.C. § 1988;
                                          1988; and
                                                and
  I. All
  I. All other
         other further
               further relief to which
                       relief to which Plaintiffs
                                       Plaintiffs may be entitled.
                                                  may be entitled.

  Respectfully submitted this
  Respectfully submitted this 7 th day
                              7th      of June,
                                   day of June, 2021.
                                                2021.

/s/RAY
/s/ RAY D.D. HACKE
              HACKE
R
RAY  D. H
  AY D.    ACKE
        HACKE
OSB
OSB NNo.O. 173647
           173647
P        JUSTICE IINSTITUTE
  ACIFIC JUSTICE
PACIFIC             NSTITUTE
1850 45
1850         AVE. NE,
         TH AVE.
      45TH        NE, S  UITE 33
                       SUITE  33
S ALEM, OR
SALEM,   OR 97305
              97305
503-917-4409
503-917-4409
rhacke@pji.org
rhacke@pji.org
Lead
Lead Counsel
      Counsel
Attorneys for
Attorneys   for Plaintiffs
                Plaintiffs




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                                   Verified Complaint, 53
                                                       53
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                         DEMAND FOR TRIAL
                         DEMAND     TRIAL BY J URY
                                             JURY
Plaintiffs
Plaintiffs demand a trial
           demand a       by jury
                    trial by jury for all issues
                                  for all issues so
                                                 so triable.
                                                    triable.
                                          /s/ RAY D.
                                          /s/ RAY   D. HACKE
                                                       HACKE
                                          R
                                          RAY D. H
                                           AY D.   ACKE
                                                 HACKE
                                          Attorney for
                                          Attorney for Plaintiffs
                                                       Plaintiffs




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                             Verified Complaint, 54
                                                 54
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                           DECLARATION UNDER PENALTY OF PERJURY

   I, RACHEL G. DAMIANO,
   I,                      a citizen of the United States and a resident of the State of
Oregon, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that I

have read the foregoing and that the foregoing is true and correct to the best of my
knowledge.

                                            Gra2 .
   Executed this 2nd day of June, 2021, at Grants Pass, Oregon.



                                            RACHEL G. DAMIANO




                                           54
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                   DECLARATION UNDER PENALTY OF PERJURY
   I, KATIE S. MEDART, a citizen of the United States and a resident of the State of
Oregon, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that I

have read the foregoing and that the foregoing is true and correct to the best of my

knowledge.

   Executed this 2nd day of June, 2021, at Grants Pass, Oregon.

                                                 tic&n.c        ri
                                          KATE S. MEDART




                                         56
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                           PROOF OF SERVICE
                           PROOF OF SERVICE
II am
   am employed
      employed inin the
                    the County
                         County of of Marion,
                                      Marion, State
                                              State of
                                                    of Oregon.
                                                       Oregon. II am
                                                                  am over
                                                                     over the
                                                                          the
age of
age  of eighteen  and not
        eighteen and       a party
                       not a         to the
                                arty to the within
                                            within action;
                                                   action; my business
                                                           my business
address is
address   is 1850
             1850 45    Ave., -Suite
                     th Ave.,
                  45th         Suite 33,
                                      33, Salem,
                                          Salem, OR
                                                 OR 97305.
                                                     97305.
On
On or  about June
    or about June 7,  2021, II served
                   7, 2021,    served the
                                      the following
                                          following documents
                                                    documents onon the
                                                                   the
interested parties
interested         by placing
           parties by  placing aa true
                                  true copy
                                       copy thereof
                                            thereof enclosed in sealed
                                                    enclosed in sealed
envelope(s) addressed to
envelope(s) addressed      said parties:
                        to said  parties:

VERIFIED COMPLAINT
VERIFIED COMPLAINT

DEMAND
DEMAND FOR
       FOR JURY
           JURY TRIAL
                TRIAL
              PLEASE SEE ATTACHED
              PLEASE SEE ATTACHED SERVICE
                                  SERVICE LIST
                                          LIST
   BY  MAIL: II am
   BY MAIL:       am readily
                       readily familiar  with the
                               familiar with       firm's practice
                                               the firm's           of collection
                                                           practice of collection
and _processing
and  processing of  correspondence for
                 of correspondence     for mailing.
                                           mailing. Under    that practice,
                                                      Under that             it
                                                                   practice, it
would be
would  be deposited    with the
          deposited with.    the U.S.
                                 U.S._postal
                                      postal service
                                              service on
                                                       on that same date
                                                          that same         with
                                                                      date with
postage
postage thereon    fully prepaid
         thereon fully            at Salem,
                          prepaid at galem, Oregon
                                              Oregon inin the ordinary course
                                                          the ordinary   course
of business. II am
of business.    am aware
                     aware that
                             that on
                                  on motion
                                     motion ofof the
                                                 the party  served, service
                                                     party served,   service is
                                                                             is
presumed   invalid if
presumed invalid     if postal cancellation date
                        postal cancellation        or postage
                                             date or  postage meter
                                                               meter.date   is
                                                                       date is
more  than one
more than   one day    after date
                 day after   date of
                                  of deposit for mailing
                                     deposit for           in affidavit.
                                                  mailing in  affidavit.
   X
   X BY
     BY PERSONAL       SERVICE: II caused
         PERSONAL SERVICE:           caused such
                                            such envelope
                                                 envelope to be delivered
                                                          to be delivered
by
by hand to the
   hand to the office
               office of the addressee(s).
                      of the addressee(s).
   BY
   BY FACSIMILE      TRANSMISSION: The
      FACSIMILE TRANSMISSION:              The facsimile
                                               facsimile machine
                                                           machine II used
                                                                       used
complied with
complied  with California
               California Rules
                           Rules of
                                  of Court
                                     Court 2003(3)  and no
                                            2003(3) and    no error was
                                                              error was
reported by the
reported by the machine.
                 machine. Pursuant
                            Pursuant toto rule
                                          rule 2005(i),
                                               2005(1), II caused
                                                           caused the
                                                                   the
machine
machine to
         to print a record
            print a record of
                            of the transmission, a
                               the transmission,  a copy
                                                    copy ofof which  is
                                                              which is
attached to
attached to this
            this proof
                 proof of service.
                       of service.
   (State) II declare
   (State)    declare under
                      under penalty  of perjury
                            penalty of  perjury under
                                                under the laws of
                                                      the laws    the State
                                                               of the State
of
of California  that the
   California that      above is
                    the above is true and correct.
                                 true and  correct.
   X  (Federal) II declare
   X (Federal)              that II am
                   declare that     am employed
                                        employed inin the office of
                                                      the office    a member
                                                                 of a member
of the bar
of the bar of this court
           of this court at
                         at whose
                            whose direction
                                     direction the service was
                                               the service was made.
                                                                 made.
Executed
Executed on June 7,
         on June    2021, at
                 7, 2021, at Salem,
                             Salem, Oregon.
                                    Oregon.

                                      /s/ RAY D.
                                      /s/ RAY D. HACKE
                                                 HACKE_______________
                                      Ray
                                      Ray D.
                                          D. Hacke
                                             Hacke




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                                                   57
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                               SERVICE LIST
                               SERVICE LIST
Willard
Willard L.
        L. Ransom
           Ransom
Attorney For
Attorney For Grants
              Grants Pass
                     Pass School
                          School District
                                 District No.
                                          No. 77
133 NW
133 NW D   Street
         D Street
Grants
Grants Pass,
        Pass, OR
              OR 97526
                  97526

Kirk
Kirk Kolb
     Kolb
Superintendent
Superintendent
Grants
Grants Pass
       Pass School
             School District
                    District
725
725 NE
    NE Dean
       Dean Drive
              Drive
Grants
Grants Pass,
       Pass, OR
              OR 97526
                 97526

Thomas Blanchard
Thomas  Blanchard
Principal
Principal
North
North Middle
      Middle School
             School
1725 NW
1725 NW Highland   Ave.
          Highland Ave.
Grants
Grants Pass,
       Pass, OR
             OR 97526
                97526

Scott
Scott Nelson
      Nelson
Member
Member
Grants
Grants Pass
       Pass School
             School Board
                    Board
725
725 NE
    NE Dean
        Dean Drive
              Drive
Grants
Grants Pass,
       Pass, OR
              OR 97526
                 97526

Scott
Scott Nelson
      Nelson
Member
Member
Grants
Grants Pass
       Pass School
             School Board
                    Board
725
725 NE
    NE Dean
        Dean Drive
              Drive
Grants
Grants Pass,
       Pass, OR
              OR 97526
                 97526

Cliff
Cliff Kuhlman
      Kuhlman
Member
Member
Grants
Grants Pass
        Pass School
             School Board
                    Board
725
725 NE
     NE Dean
        Dean Drive
              Drive
Grants
Grants Pass,
        Pass, OR
              OR 97526
                 97526




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                              Verified Complaint, 58
                                                  58
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Gary
Gary Richardson
     Richardson
Member
Member
Grants
Grants Pass
       Pass School
             School Board
                    Board
725
725 NE
    NE Dean
       Dean Drive
              Drive
Grants
Grants Pass,
       Pass, OR
              OR 97526
                 97526

Debbie
Debbie Brownell
       Brownell
Member
Member
Grants
Grants Pass
       Pass School
             School Board
                    Board
725
725 NE
    NE Dean
       Dean Drive
              Drive
Grants
Grants Pass,
       Pass, OR
              OR 97526
                 97526

Cassie
Cassie Wilkins
       Wilkins
Member
Member
Grants
Grants Pass
       Pass School
             School Board
                    Board
725
725 NE
    NE Dean
       Dean Drive
              Drive
Grants
Grants Pass,
       Pass, OR
              OR 97526
                 97526

Brian
Brian Delagrange
      Delagrange
Member
Member
Grants
Grants Pass
       Pass School
             School Board
                    Board
725
725 NE
    NE Dean
       Dean Drive
              Drive
Grants
Grants Pass,
       Pass, OR
              OR 97526
                 97526

Casey
Casey Durbin
      Durbin
Member
Member
Grants
Grants Pass
       Pass School
             School Board
                    Board
725
725 NE
    NE Dean
       Dean Drive
              Drive
Grants
Grants Pass,
       Pass, OR
              OR 97526
                 97526




                              Verified Complaint,
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                                                  59
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       EXHIBIT A
       EXHIBIT A
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       II Resolve
          Resolve                                                                                                    Sign the
                                                                                                                   )Sign  the Resolution)
                                                                                                                              Resolution
       Reasonable, loving
       Reasonable,        and tolerant
                   loving and tolerant solutions
                                       solutions for
                                                 for education.
                                                     education.


Home    Take Action   T-Shirts




                                                                                  :er




         II Resolve
            Resolve
 Reasonable, loving, and tolerant solutions
       for education
       for education policies that respect
                     policies that respect
                 everyone's rights.




                                            T-Shirts Now
                                            T-Shirts Now Available
                                                         Available
                                 T-Shirts are
                                 T-Shirts     sold by
                                          are sold by a
                                                      a third
                                                        third party vendor, with
                                                              party vendor, with no
                                                                                 no profit
                                                                                    profit going
                                                                                           going to
                                                                                                 to II Resolve.
                                                                                                       Resolve.




                                                          C  Buy Your
                                                                 Your Shirt Here
                                                                      Shirt Here)
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                     Proposed Solutions
                     Proposed Solutions for Education Systems
                                        for Education Systems
                                      Honoring All Students,
                                                   Students, Staff and Community Members
                                                                   and Community Members


             I Resolve is
                       is aa grassroots
                             grassroots movement intended to protect
                                                             protect the hearts and minds of our youth and stand up for truth in
              our society. We believe that resolutions that are reasonable and fair in both form and operation, are beneficial in
                      helping to safeguard the mental, emotional and physical well-being of all public-school students.
             We need communities
                     communities to band
                                    band together, through individual and corporate
                                                                          corporate commitment,
                                                                                    commitment, to protect
                                                                                                   protect our
                                                                                                           our youth and
                                make their voice heard to local, state and national leaders and policy makers.




                                                   Current Proposal
                                                   Current Proposal
        We aim to propose policy standards that are fair, reasonable and that safeguard liberties and freedoms of all parties involved.
The resolution statements regarding bathroom
                                    bathroom and locker room shared space use
                                                                          use are
                                                                              are suggestions for current structures, until
                                                                                                                      until such a time that
                    individual gender neutral bathrooms are required and fully funded for education and youth facilities.
The last two resolutions are proposed as a caring, neutral, pragmatic, and unbiased support of students and staff as a student navigates their
                                                        own gender
                                                            gender identity
                                                                   identity journey.




                                                            Sign the Resolution)
                                                          (Sign      Resolution




                                                Resolution 2021-01
                                                Resolution 2021-01
      Therefore, be
      Therefore,    it resolved
                 be it resolved that
                                that we
                                     we urge
                                        urge our
                                             our local,
                                                 local, state and federal
                                                        state and federal leaders
                                                                          leaders to
                                                                                  to adopt
                                                                                     adopt the
                                                                                           the following
                                                                                               following principles and policies:
                                                                                                         principles and policies:




Premise                             We recognize that, excepting very rare scientifically-demonstrable medical conditions, there are two

Point 1
      1
                                    anatomical gender
                                               gender presentations,
                                                      presentations, male and female;
Point

Resolution 1a
Resolution la                       Shared public-school restrooms and locker rooms, previously designated by “gender”
                                                                                                              "gender" (e.g. “boys”
                                                                                                                             "boys" and

Point 2
      2
                                    “girls”
                                    "girls" designations) could be re-designated as “anatomically-male”
                                                                                    "anatomically-male" or “anatomically-female”
                                                                                                           "anatomically-female" spaces to
Point
                                    only be
                                         be used
                                            used by
                                                 by persons
                                                    persons matching the anatomical designation
                                                                                    designation of the spaces as
                                                                                                              as consistent with the
                                    purpose for which the spaces are built;
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Resolution
Resolution 1b
           lb          For any person who is not comfortable using their anatomically-correct space, they may request access to
                       a private restroom or locker room space, including designated staff spaces, to the extent that such
Point 3
                       spaces exist and are available**;
                                            available";



Resolution 2
Resolution 2           A student may, with parent permission, request to be called by a derivative of their legal name but it will

Point
   04                  not be mandated that students or staff be required to call the student by their preferred name; and




Resolution 3
Resolution 3           A student may, with parent permission, request to be referred to with preferred pronouns,
                                                                                                       pronouns, but it will not

Point 5
                       be mandated that students or staff be required to use the preferred pronouns.




Footnote
Footnote               **Please note that although not specified in the resolutions, individual gender neutral bathrooms are
                       "Please

Note
                       endorsed by I Resolve and encouraged to be fully funded by the state to be implemented in education
Note
                       facilities.




                                          I ilesolve
                                            Resolve Movement
                                                     Movement

                                                  ►
                                                      Play Video
                                                       PlayVideo




                                                              




                                                                                                                           41r
                              ARE                                                                               Iresolvemovement.com
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                                                                              Instagram Feed
                                                                              Instagram Feed

                                                                             e      DID                                                                      DID
                 T-SHIRTS                                                                       %/IL                                       IMP               YOU -
    NOW AVAILABLE
        (s..,                                 NOW)
                                                                                    off&
                                                                                    IC ni t INV -i*
                                                                                    INTERSEX STATISTICS
                                                                                                                                                             KNOW?        s esina r Oft,,         eates 00eit IttrUT 5 That so
                                                                                    According Lo research published by O. National Library of
                                                                                                                                                             s °nth under 58 tears old, r out of ever, 4 girls and r out of ei cry
                                                                                    Medici., the proportion of the population &Munn bah as
                                                                                                                                                             boys are sexually abused. It also reports Haat only sob of child
                                                                                    intersex is around 0.02%. That is a out of every 5,000 people            twrial abuse it: renaled I rt I he andlot itiett
                                                                                    Applied to public:schools: This would be approximately one               Heterosexual and homosexual women experience mum] s inkiness,
                             Iresolvernovetnent.com                                 student every co.6 years, for a 400 person school..                       ther than rape an their lifetime at a similar rate 14..t.t."., and




                                                                                                                                                            Scenario #5 ag)
DID                                                                                 DID  •                                                                  A) At an after school event,
                                                                                                                                                            an adult male goes to use the
                                                                                                                                                            "boys" restroom. In the same


YOU                                                                                 YOU
                                                                                                                                                            bathroom is a 12 year old
                                                                                                                                                            who is anatomically female
                                                                                                                                                            but identifies as male,
                                                                                                                                                            B) At the same event, an


KNO                                                  cr                  uT
                                                                                    KNOW?
                                                                                                                                                            adult anatomical male who
                                                                                                                                                            identifies as female goes to
                                                                                                                                                            use the "girls" bathroom and
                                                                                                                                                            a 45year old female student
                                                                                                                                                            is in the bathroom,
   rio mo (111111 1 1111,1,me61110111111 F( 11,11,1111 1 rd um, its                 STUDENT MEDICAL CONSENT AGE
Nex Tic ',tarns NitriVie(11f1 a 1.1.11i, e1,, ,             il.11.1sitil numb, to
                                                                                      youth et the age of st, in the dale of Oregon. can consent to um 51
sue the cdoul heemse the, had mmislind him for not using staMdent
                                                                                    Mutat treatment without their parenUguardian's knowledge or
     feriiiii1 ,11.01101.11.1, T11e ribirinsior hid asked le as ormualale
                                                                                    nes-mush, eu,                  sum,. may incl., mainapling
the atudenlis last name rather than line pronoms and thr school rerun,'
                                                                                    appointment, puberty Mockers. etc The Oregon Health Han may One
to allots dlix HIP COLon, held that this punishment by the school was
                                                                                    tor this treatment without guardian permission or knowledge.
 i0131i1.111 of the Koremor,i1,1,11111,1111111(111rigl.




                                                                                                              Show More




                      The views
                      The views expressed
                                expressed on    this site
                                            on this  site and
                                                          and any
                                                               any related
                                                                    related video(s)
                                                                            video(s) produced  by II Resolve
                                                                                     produced by     Resolve are
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                    expression of
                    expression of the
                                  the individuals,
                                      individuals, as
                                                    as private  citizens and
                                                        private citizens  and do not necessarily
                                                                              do not necessarily represent
                                                                                                 represent the
                                                                                                             the views
                                                                                                                 views
                                             or opinions
                                             or  opinions of
                                                           of any
                                                              any specific
                                                                   specific education
                                                                            education entity.
                                                                                       entity.

                                                                                                         II Resolve
                                                                                                            Resolve Team
                                                                                                                    Team




                                                                                                                        O
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                                                                                                    the individuals, expressed
                                                                                                                     expressed as
                                                                                                                               as private citizens.
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       EXHIBIT
       EXHIBIT B
               B
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                                                                                         North Middle School
                                         1725 NW Highland Avenue, Grants Pass, OR 97526 • Phone: (541) 474-5740
                                                            www.grantspass.k12.or.us/North Fax: (541) 474-5739

Nit             a                                                                                                         PRINCIPAL
                                                                                                                 Tommy Blanchard
       ors-r0
                                                                                                                      VICE PRINCIPAL
                                                                                                                       Bill Glad ch
                                                                                                                      VICE PRINCIPAL
                                                                                                                     Rachel Damian©
                                                                                                                        COUNSELORS
                                                                                                                           Eli Bland
                                                                                                                     Diana Tonnesen

 April 5, 2021




                                                                    HAND DELIVERED


 Dear Katie Medart:

  This letter is to formally notify you that you are being placed on paid leave effective today, April
  5, 2021, pending investigation into allegations of inappropriate behavior. You will be permitted to
  be at the District for interviews.

  A meeting will be scheduled at which time you will have the opportunity to present your side of
  the story. This leave in no way is to be construed that you are guilty of said allegations. You will
  be notified when we have scheduled the date and time of the meeting.


  Sincerely,



  Tommy Blanchard
  Principal


      cc: Kirk Kolb
          Mickey Jarvis
          Personnel File
          Payroll




                Developing our Unique potential as a community of   responsible and resourceful lifelong learners.
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       EXHIBIT
       EXHIBIT C
               C
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       EXHIBIT
       EXHIBIT D
               D
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  From:    Office of the Superintendent office_of_the_superintendent@grantspass.k12.or.us
                                            ffice_of_the_superintendent@grantspass.k12.or.us
Subject:   We are GP; We ALL Belong
  Date:    April 6, 2021 at 4:31 PM
     To:   Office of the Superintendent office_of_the_Superintendent@grantspass.k12.or.us
                                            ;e_of_the_Superintendent@grantspass.k12.or.us


       D7 Family,

       I am writing today to address reports of a "movement" circulating on social media that is
       in direct conflict with the values of Grants Pass School District 7.

       To be very clear, we do not support or endorse this message.

       District 7 is unequivocally committed to providing welcoming and safe learning
       environments for all students, including our LGBTQ students. In Grants Pass schools,
       we ALL belong, regardless of race, religion, gender, sex, or ability.

       Please contact me or our Human Resources Director, Danny Huber-Kantola, with any
       additional concerns or needed support.

       Thank you,

       Kirk T. Kolb
       Superintendent
       Grants Pass SD #7
       725 NE Dean Drive
       Grants Pass, OR 97526
       541-474-5700
       www.wearegp.com
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       EXHIBIT
       EXHIBIT E
               E
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  From:    Office of the Superintendent Office_of_the_Superintendent@grantspass.kl2.or.us
                                        Office_of_the_Superintendent@grantspass.k12.or.us
Subject:   We are GP; We All Belong
  Date:    April 7, 2021 at 4:21 PM
     To:   Grants Pass SD 7 Recipients recipients@grantspass.parentlink.net


       Scroll down to read in Spanish - Desplacese
                                        Desplácese hacia abajo para leer
                                                                    leer en
                                                                         en español.
                                                                            esparlol.

       Grants Pass staff, students, and families,

       You may have heard about social media postings discussing LGBTQ policies with reference to schools. We are aware of complaints
       that two staff members made these postings. At this time, an investigation is underway, and the individuals are not at work.

       Grants Pass School District 7 is committed to providing welcoming and safe learning environments for all students, including our
       LGBTQ students. In Grants Pass schools, we ALL belong, regardless of race, religion, gender, sex, sexual orientation or ability.

       We have policies in place to support safe environments for students, including All Students Belong (Policy ACB) and our Equity,
       Diversity, and Inclusion Resolution (2021-03). We will continue protecting the well-being of all students in our schools, and all
       complaints alleging violations of District policies are taken seriously and thoroughly investigated.

       Thank you,

                                          familias de Grants Pass,
       El personal, los estudiantes y las families

       Es posible que haya escuchado sobre publicaciones en las redes sociales que discuten las politicas
                                                                                                políticas de LGBTQ con referencia a las
       escuelas. Somos conscientes de las quejas de que dos miembros del personal hicieron estas publicaciones. En este momento, se
       está Ilevando
       este llevando a cabo una investigacion
                                investigación y las personas no estan
                                                                están trabajando.

       El Distrito Escolar 7 de Grants Pass se compromete a proporcionar entornos de aprendizaje seguros y acogedores para todos los
       estudiantes, incluidos nuestros estudiantes LGBTQ. En las escuelas Grants Pass, TODOS pertenecemos, sin importer
                                                                                                                 importar raza, religion,
                                                                                                                                religión,
       género, sexo o capacidad.
       genet°,

                     políticas para apoyar entornos seguros para los estudiantes, incluidos todos los estudiantes pertenecen (Politica
       Contamos con politicas                                                                                                   (Política ACB)
                 Resolución de Equidad
       y nuestra Resolucion     Equidad, Diversidad e Inclusion
                                                      Inclusión (2021-03). Continuaremos protegiendo el bienestar de todos los estudiantes
       en nuestras escuelas, y todas las quejas que alegan violaciones de las politicas
                                                                              políticas del Distrito se toman en serio y se investigan a fondo.

       Gracias,

       Kirk T. Kolb

       Superintendent

       Grants Pass School District 7

       You are receiving this email because of your relationship with Grants Pass SD 7. If you wish to stop receiving email
       updates sent through the Blackboard service, please unsubscribe.
       Grants Pass SD 7 I| 725 NE Dean Drive, Grants Pass, OR 97526 I| 541-474-5700
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        EXHIBIT
        EXHIBIT F
                F
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 I-----                                                 --- II                       Code: GBG
                                                                                  Adopted: 6/14/88
      Grants Pass School District 7                                     Revised/Readopted: 2/24/04
                                                                             Orig. Code(s): GBG




                                  Staff Participation in Political Activities


Employees may exercise their right to participate fully in affairs of public interest on a local, county, state
and national level on the same basis as any citizen in a comparable position in public or private
employment and within the law.

All district employees are privileged within the limitations imposed by state and federal laws and
regulations to choose either side of a particular issue and to support their viewpoints as they desire by vote,
discussion or the persuasion of others. Such discussion and persuasion, however, will not be carried on
during the performance of district duties, except in open discussion during classroom lessons that center on
a consideration of all candidn «s for a particular office or various sides of a particular political or civil
issue.

On all controversial issues, employees must designate that the viewpoints they represent on the issues are
                                                         district’s official viewpoint.
personal viewpoints and are not to be interpreted as the district's

No employee will use district facilities, equipment or supplies in connection with political campaigning,
nor will any employee use anytime during the working day for campaign purposes.

END OF POLICY


Legal Reference(s):

       ORS Chapter 244
       ORS 260.432

       Oregon Constitution, Article XV, Section 8.

Cross Reference(s):

      INB - Studying Controversial Issues
      INI3




                                                                                                             1-1
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       EXHIBIT
       EXHIBIT G
               G
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Grants Pass School District 7
Code:                 GBG
Adopted:              6/14/88
Revised/Readopted:    2/24/04; 4/27/21
Orig. Code:           GBG

                              Staff Participation in Political Activities
“Employees” shall include all District employees (including administrators, certified employees, classified
"Employees"
employees and part-time employees) while acting within the scope of their employment or on behalf of the
District, contractors working for the District under District contracts on District premises while performing
work for the District, and District volunteers while on District premises or engaged in a District-sponsored
activity.

“Speech” shall mean any oral or written statements made by an employee in the course of his or her
"Speech"
District duties, including, but not limited to, the display of posters, flyers, clothing or apparel or buttons,
stickers or other accessories, which contain a message related to controversial political or civil issues,
ballot measures, electoral issues or candidates for an elected position.

“District facilities"
"District facilities” shall include, but shall not be limited to, all District buildings, District grounds and
parking lots, District transportation vehicles, District sponsored computer networks and e-mail systems,
District sponsored social media accounts, District or school sponsored events and District-sponsored
virtual classrooms. Board Member e-mail addresses shall not be considered "District “District facilities”
                                                                                              facilities" for
purposes of this policy.

“District Equipment and Supplies”
"District                Supplies" shall include, but not be limited to, District computers, printers,
copiers, mailing or e-mail address lists for students or families, District provided uniforms or sporting
equipment, stationary, or other personal property which is owned by the District or provided to students or
employees by the District for a school-sponsored event.

“Political or civil issue”
"Political          issue" shall include, but not be limited to, any political or civil issue for which there is
more than one reasonable interpretation or position and on which reasonable persons may disagree. A
controversial civil issue shall specifically include issues which appear likely to create controversy among
students, employees or the public, or which the District determines may be disruptive to its educational
mission or instruction. In determining whether a civil issue is controversial, the district shall consider
whether the speech is consistent with district policy and resolutions.

Employees may exercise their right to participate fully in affairs of public interest on a local, county, state
and national level on the same basis as any citizen in a comparable position in public or private
employment and within the law.

All district employees are privileged within the limitations imposed by state and federal laws and
regulations to choose either side of a particular issue and to support their viewpoints as they desire by vote,
discussion or the persuasion of others. Such discussion and persuasion, however, will not be carried on
during the performance of district duties, except as described in Policy INB. When engaged in off duty
activities, on all controversial issues, employees must designate that the viewpoints they represent on the
                                                                    district’s official viewpoint.
issues are personal viewpoints and are not to be interpreted as the district's

                                                                                                           – GBG
                                                               Staff Participation in Political Activities —
                                                                                                              1-2
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No employee will use district facilities, computer networks or e-mail systems, equipment or supplies in
connection with political campaigning, nor will any employee use any time during the working day for
campaign purposes. While on District premises or acting within the scope of employment, no employee
shall display or engage in speech supporting a candidate for elected office or supporting one side of any
political or controversial civil issue.

END OF POLICY


Legal Reference(s):
Legal Reference(s):

ORS Chapter 244                       ORS 260.432

OR. CONST.,
OR. CONST., art. XV, § 8.


Cross Reference(s):

INB - Studying Controversial Issues




                                                                                                        – GBG
                                                            Staff Participation in Political Activities —
                                                                                                           2-2
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       EXHIBIT
       EXHIBIT H
               H
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                                                                                      Code:    INB
                                                                                   Adopted:    6/14/88
     Grants Pass School District 7                                               Readopted:    2/24/04
                                                                              Orig. Code(s):   INB




                                    Studying Controversial Issues


Training for effective citizenship is accepted as one of the major goals of our public schools. Our
instructional program developed to achieve this purpose properly places great emphasis upon teaching
about our American heritage, the rights and privileges we enjoy as citizens and the citizenship
responsibilities that must be assumed in maintaining our American way of life.

In training for effective citizenship, it is frequently necessary for students to study issues that are
controversial. In considering such issues, it shall be the purpose of our schools to recognize the student's
                                                                                                       student’s
right and/or obligation to:

1.    Study any controversial issue concerning which (at his/her level) the student should begin to have an
      opinion;

2.    Have free access to all relevant information, including the materials that circulate freely in the
      community;

3.    Study under competent instruction in an atmosphere of freedom from bias and prejudice;

4.    Form and express his/her own judgments on controversial issues without thereby jeopardizing
      his/her relations with teachers or the school;

5.    Recognize that reasonable compromise is often an important facet in the decision making in our
      society;

6.    Respect minority opinion.

Controversial issues, as well as controversial instructional methods, materials and resource personnel
associated with them, by definition generate dissension. There is also an inherent risk that such dissension
may escalate into antagonism which may be sufficient to disrupt the educational process. Members of the
professional staff are expected to be sensitive to student, staff and community attitudes, to carefully weigh
the risks against the significance and educational merit of the issues, methods, materials and personnel
involved and, when doubt remains, they are to seek the counsel of their supervisors.

END OF POLICY


Legal Reference(s):

      ORS 336.067                            OAR 581-022-1020
                                             OAR 581-022-1910


                                                   (continued)                                                1-2
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                                                                      Studying Controversial Issues —
                                                                                                    – INB
                                                                                               (continued)



      United States Constitution, Amendment 1.
                                            I.
      Oregon Constitution, Article 1.

Cross Reference(s):

      IB - Freedom of Expression
      B3
      IICB - Community Resource Persons




                                                                                                      2-2
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         EXHIBIT
         EXHIBIT II
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  From:
  Fn.,.    Kevin Bishop KBishop@grantspass.k12.or.us
Subject:
Subject    Re: Posters and other items that may be considered controversial political or civil issues
   Date:
   Date    March 31, 2021 at 3:40 PM
     To:   Michael Endicott MENDICOTT@grantspass.k12.or.us,
                                         /4                    , Kirk Kolb KKOLB@grantspass.k12.or.us
                                                                              OLB@grantspass.k12.or.us
    Cc:
    Cc     d7allstaff d7allstaff@grantspass.k12.or.us
           cf7allstaff        if@grantspass.k12.or.il

       First off Black Lives Matter is on its face a racist statement

       Get Outlook for iOS

       From: Michael Endicott <MENDICOTT@grantspass.k12.or.us>
       Sent: Wednesday, March 31, 2021 1:44:41 PM
       To: Kirk Kolb <KKOLB@grantspass.k12.or.us>
       Cc: d7allstaff <d7allstaff@grantspass.kl2.or.us>
                      <d7allstaff@grantspass.k12.or.us>
       Subject: RE: Posters and other items that may be considered controversial political or
       civil issues
        Mr. Kolb,
        Mr.  Kolb,
       II read
          read your
               your message   and believe
                    message and   believe youyou when
                                                  when you
                                                       you say
                                                           say this
                                                               this District
                                                                    District is committed equity
                                                                             is committed  equity and
                                                                                                  and
        belonging for
       belonging       all students,
                   for all students, but
                                     but II feel compelled to
                                            feel compelled to point
                                                              point out
                                                                    out my
                                                                        my concerns
                                                                             concerns to you and
                                                                                      to you and our
                                                                                                  our
        colleagues, about some
        colleagues, about   some of  the statements
                                 of the  statements made
                                                     made therein.
                                                           therein.

       With
       With respect:
            respect:

       First, I'll say
       First, I'll say Black
                        Black Lives
                               Lives Matter
                                      Matter is an uplifting
                                             is an uplifting and
                                                             and wholesome
                                                                 wholesome message
                                                                           message and
                                                                                   and way
                                                                                       way of
                                                                                           of
       thinking that
       thinking    that is
                        is perfectly
                           perfectly appropriate
                                     appropriate for
                                                  for our
                                                      our classrooms.
                                                          classrooms.

      You mentioned
      You   mentioned that
                         that Blue
                               Blue Lives
                                      Lives Matter
                                            Matter is
                                                   is aa counter
                                                         counter movement
                                                                  movement to    Black Lives
                                                                              to Black           Matter, II agree
                                                                                        Lives Matter,       agree
      that it
      that    is aa counter
           it is    counter movement.
                             movement. But But we
                                               we have
                                                  have toto ask
                                                            ask ourselves
                                                                 ourselves why.
                                                                           why. Blue
                                                                                  Blue lives   have always
                                                                                       lives have             and
                                                                                                     always and
      explicitly   mattered throughout
      explicitly mattered     throughout our   county's history.
                                           our county's   history. We  teach our
                                                                   We teach  our children
                                                                                  children toto respect
                                                                                                respect and
                                                                                                         and
      trust police
      trust police officers
                     officers from
                               from aa very
                                       very early
                                            early age.
                                                  age. Police   officers are
                                                        Police officers      part of
                                                                         are part    the great
                                                                                  of the  great goes-without-
                                                                                                 goes-without-
      saying idea
      saying         that all
               idea that  all lives matter. Blue
                              lives matter. Blue Lives
                                                  Lives have    always mattered
                                                          have always   mattered in  the way
                                                                                  in the  way that
                                                                                                that the
                                                                                                     the
      dominant     culture values
      dominant culture     values lives.   But Black
                                    lives. But Black Americans
                                                       Americans areare objectively
                                                                        objectively not
                                                                                     not aa part
                                                                                            part of
                                                                                                 of that  goes-
                                                                                                    that goes-
      without-saying ideal
      without-saying            and the
                         ideal and   the examples  are legion.
                                         examples are   legion.

       So  why is
       So why   is Blue
                   Blue Lives    Matter aa counter
                          Lives Matter              movement? And
                                            counter movement?           why does
                                                                   And why            that make
                                                                              does that    make Black
                                                                                                  Black Lives
                                                                                                          Lives
       Matter controversial?
       Matter                    There is
               controversial? There         no comparison
                                         is no comparison between
                                                             between Black
                                                                       Black Lives
                                                                              Lives Matter
                                                                                        Matter and
                                                                                                and Blue
                                                                                                    Blue Lives
                                                                                                           Lives
       Matter, it
       Matter, it is
                  is aa false equivalence. Black
                        false equivalence.   Black people
                                                    people are
                                                             are members
                                                                 members of of aa race
                                                                                  race that
                                                                                         that has
                                                                                              has experienced
                                                                                                  experienced
       racism  and discrimination
       racism and                     for 400
                     discrimination for    400 years
                                                years on  the North
                                                      on the  North American
                                                                     American continent        while police
                                                                                  continent while     police have
                                                                                                              have
       not. Being
       not. Being aa police
                       police officer
                              officer is
                                      is aa career choice being
                                            career choice  being Black
                                                                  Black is
                                                                         is not.  If aa police
                                                                            not. If     police officer
                                                                                               officer is
                                                                                                        is
       persecuted for
       persecuted        being aa police
                    for being     police officer
                                          officer that
                                                  that person,
                                                       person, after
                                                                after availing
                                                                      availing themselves
                                                                                 themselves of of all
                                                                                                  all available
                                                                                                      available
       remedies,   can choose
       remedies, can     choose to
                                 to do
                                    do something
                                       something else.
                                                    else. A  Black person
                                                          A Black   person cannot      choose to
                                                                            cannot choose      to not  be black
                                                                                                  not be   black in
                                                                                                                 in
       the face
       the      of persecution.
           face of  persecution.

       II am
          am very
              very concerned
                   concerned about
                                 about the
                                       the statement
                                           statement that
                                                        that it
                                                             it would
                                                                would be
                                                                       be hard
                                                                          hard for   the District
                                                                                 for the District to
                                                                                                   to "object"
                                                                                                      "object" to
                                                                                                               to
        speech that
       speech   that is  "similar" or
                      is "similar" or "responsive"
                                      "responsive" to to Black
                                                         Black Lives
                                                                 Lives Matter.
                                                                        Matter. These
                                                                                 These are
                                                                                         are vague   terms that
                                                                                             vague terms   that do
                                                                                                                do
        not justify curtailing
        not justify              anyone's 1st
                    curtailing anyone's   1st Amendment
                                              Amendment rights.rights. And
                                                                       And II am
                                                                               am trying
                                                                                  trying to
                                                                                          to think
                                                                                             think of
                                                                                                    of similar
                                                                                                       similar or
                                                                                                               or
        responsive speech
       responsive    speech that
                             that would
                                   would agree
                                          agree with
                                                with Board
                                                        Board policy,
                                                                policy, but
                                                                        but II can't
                                                                               can't think
                                                                                     think of
                                                                                           of anything
                                                                                              anything that
                                                                                                         that
        would make
       would   make Black
                       Black lives
                              lives not matter, it
                                    not matter, it is
                                                   is aa one  sided issue,
                                                         one sided          there is
                                                                     issue, there     no other
                                                                                   is no        side, Black
                                                                                         other side,  Black Lives
                                                                                                             Lives
        Matter or
       Matter   or they
                   they don't.
                          don't.

       If we are to curtail our 1st Amendment rights I think we deserve an enumerated list of
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If we
If we are
      are to
          to curtail  our 1st
              curtail our     Amendment rights
                          1st Amendment   rights II think
                                                    think we
                                                          we deserve an enumerated
                                                             deserve an              list of
                                                                         enumerated list  of
objections, rather
objections,  rather than
                    than aa vague
                            vague statement
                                  statement that
                                            that Black
                                                 Black Lives   Matter is
                                                         Lives Matter is controversial.
                                                                         controversial.

Display of
Display  of the
             the phrase
                 phrase Black
                         Black Lives   Matter or
                                 Lives Matter  or Black
                                                  Black Lives      Matter symbols
                                                          Lives Matter      symbols in
                                                                                     in classrooms
                                                                                        classrooms dodo
not violate
not violate any
             any state
                  state policy
                        policy or
                               or law. Black Lives
                                  law. Black           Matter is
                                               Lives Matter     is supported
                                                                   supported byby the
                                                                                  the Oregon
                                                                                      Oregon School
                                                                                               School
Board Association
Board   Association among
                      among many
                               many other
                                     other Oregon
                                           Oregon education        groups. We
                                                     education groups.       We already
                                                                                already teach
                                                                                         teach about
                                                                                               about the
                                                                                                      the
civil rights
civil rights movement
             movement of  of the
                             the 60' and 70's,
                                 60' and       both sides
                                         70's, both   sides -- the
                                                               the right
                                                                    right side
                                                                          side and
                                                                               and the
                                                                                   the wrong
                                                                                       wrong side.
                                                                                               side. Let's
                                                                                                     Let's
be on
be on the
       the right
           right side
                 side of
                       of history
                          history during
                                  during this
                                         this civil
                                               civil rights
                                                     rights movement.
                                                             movement.

Instead  of quashing
Instead of  quashing Black
                      Black Lives   Matter posters
                              Lives Matter   posters because
                                                       because some
                                                                 some misunderstand
                                                                        misunderstand thethe message
                                                                                               message
and make
and make it it controversial,
               controversial, we
                              we should
                                 should use
                                          use it as aa tool
                                              it as    tool for
                                                            for education   and dialog.
                                                                education and    dialog. We
                                                                                          We need
                                                                                                need to
                                                                                                      to
stand four
stand        square behind
      four square   behind the
                            the civil
                                civil rights of our
                                      rights of  our students
                                                      students and
                                                                and they
                                                                     they should
                                                                           should see
                                                                                   see it.
                                                                                       it. II think
                                                                                              think this
                                                                                                    this
District is
District is capable
            capable of
                     of that.
                        that. After
                              After 400
                                    400 years
                                         years of
                                                of racism
                                                   racism wewe can   take the
                                                                 can take  the time
                                                                               time that
                                                                                     that is
                                                                                          is given
                                                                                              given us
                                                                                                     us to
                                                                                                         to
help rectify   as much of that injustice as  we  can.  Hiding   from  it as an institution
help rectify as much of that injustice as we can. Hiding from it as an institution is not theis not the
way.
way.

Thank you for listening,
Michael

Stay Safe

From: Kirk Kolb
Sent: Tuesday, March 30, 2021 9:46 AM
Subject: Posters and other items that may be considered controversial political or civil
issues

Good Morning D7 Family,

I am sending this message regarding a very difficult and emotive topic. I have had a few
                                  “Black Lives Matter"
people express a desire to put up "Black       Matter” posters in their classrooms and
have had legal counsel review and consult with the Board.

First, please know that The District is committed to equity and making sure that all
                                                                                 “All
students belong. I hope that effort has been made clear with the passage of our "All
           Belong” policy and our School Board Resolution on Equity, Diversity, and
Students Belong"
Inclusion.

While it is a fact that black lives do matter and discrimination against black students, or
students of any color, is absolutely prohibited, the issue with the phrase "Black
                                                                                “Black Lives
Matter”, is that it has become identified with a political/civil rights movement that has
Matter",
generated substantial controversy throughout Oregon and the country, including
spawning counter-movements such as the "Blue    “Blue Lives Matter"
                                                             Matter” and "All
                                                                         “All Lives Matter".
                                                                                    Matter”.
These movements and related posters and signs would also be considered controversial
civil issues as related and should not be displayed in classrooms or on school property.
                              “Black Lives Matter"
The concern is that once "Black             Matter” posters are posted, then it becomes
difficult for the District, under the First Amendment, to object to other posters which may
                                “Black Lives Matter"
be similar or responsive to "Black           Matter” or which cover controversial or disputed
subjects of a civil or political nature without engaging in viewpoint discrimination. Board
Policy GBG, as written, prohibits employees from expressing one-sided viewpoints on
controversial political or civil issues in the classroom. Although the phrase should
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controversial political or civil issues in the classroom. Although the phrase should
probably not be controversial, it nonetheless has created controversy, including in our
community. District Administration is currently reviewing Policy GBG with the Board and
with legal counsel, and the Board has been forwarded information from GPEA regarding
                                                         Administration’s role is to enforce
Black Lives Matter posters for consideration. District Administration's
policies while the ultimate interpretation and formation of District policy is up to the
School Board.

Please be reassured that it continues to be our highest priority to ensure all student feel
welcome and a part of our D7 family and we will not tolerate any form or racism or bias.

My sincerest appreciation,

Kirk

Kirk T. Kolb
Superintendent
Grants Pass SD #7
725 NE Dean Drive
Grants Pass, OR 97526
541-474-5700
www.wearegp.com

“Fostering
"Fostering Hope, Engagement, and
                             and Resiliency
                                 Resiliency for
                                            for the Community
                                                    Community of
                                                              of Grants Pass"
                                                                        Pass”
,4141E. Arto
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        EXHIBIT
        EXHIBIT J
                J
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  From: Kirk Kolb KKOLB@grantspass.k12.or.us
  Fr.,
Subject: Updated Board Policy
Subject
   Date: May 5, 2021 at 8:35 AM
   Date
       To:


      Good Morning D7 Family,

      The attached Board policy was revised and adopted by the Board last Tuesday. For
      clarification, this policy now allows for the OEA's
                                                    OEA’s Black Lives Matter poster to be present
      on the walls of your classrooms.

      The significant change to the policy is the following statement: “In'In determining
                                                                              determining whether
                                                                                           whether a
      civil
      civil issue is controversial, the district
                                        district shall
                                                 shall consider
                                                       consider whether
                                                                whether the speech is consistent
                                                                                       consistent with
                                                                                                   with
      district policy and
      district policy     resolutions.” It is deemed by the District that this poster is consistent
                      and resolutions_"
      with our Board Policy ACB   _ and the Board Resolution on Equity
                                                                   Equity, Diversity, and Inclusion.
                                                                                          iiR.Ausion.

      If you have further questions regarding what can and cannot be present in our schools,
      please inquire with your building administrator, our HR Director Dan Huber-Kantola, or
      myself.

      Please carefully consider when choosing items to display in your classroom. Our schools
      should not be a place of controversy nor a place of promoting one side of a political or
      civil issue. Items displayed in your classroom should have an inherent educational
      purpose tied directly to the education we provide and consistent with district policies or
      resolutions.

      Sincerely,
      Kirk

      Kirk T. Kolb
      Superintendent
      Grants Pass SD #7
      725 NE Dean Drive
      Grants Pass, OR 97526
      541-474-5700
      www.wearegp.com

      “Fostering                   and Resiliency
      "Fostering Hope, Engagement, and Resiliency for
                                                  for the Community
                                                          Community of
                                                                    of Grants Pass"
                                                                              Pass”
       istie A
            61)

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        GBG.doc
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